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 5                               UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
 6                                     GREENSBORO DIVISION

 7    IN RE:                              )
                                          )
 8    DYNAMIC INTERNATIONAL               )           Case No. 17-10814
      AIRWAYS, LLC                        )           Chapter 11
 9                                        )
                  Debtor.                 )
10    ____________________________________)

11

12   DISCLOSURE STATEMENT TO ACCOMPANY DEBTOR’S THIRD AMENDED PLAN
                           OF REORGANIZATION
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 1                                        APPENDIX

 2   EXHIBIT “1”: DEBTOR’S THIRD AMENDED PLAN OF REORGANIZATION

 3   EXHIBIT “2”: LIQUIDATION ANALYSIS

 4   EXHIBIT “3”: PLAN FINANCIAL PROJECTIONS

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 1                                                      I.
                                                   INTRODUCTION
 2
              On July 19, 2017 (the “Petition Date”), Dynamic International Airlines, LLC (“Debtor”)
 3
     filed its voluntary petition under title 11, chapter 11 of the United States Code (the “Bankruptcy
 4
     Code”)1 with the United States Bankruptcy Court for the Middle District of North Carolina (the
 5
     “Bankruptcy Court”) to commence the above-captioned case (the “Chapter 11 Case”).
 6
              Debtor has prepared this Disclosure Statement in connection with the solicitation of votes
 7
     on Debtor’s Third Amended Plan of Reorganization (the “Plan”) filed December 14, 2017,
 8
     proposed by Debtor to treat the Claims of Creditors and Equity Securities in the Chapter 11
 9
     Case.
10
              CAPITALIZED TERMS USED BUT NOT DEFINED IN THIS DISCLOSURE
11
     STATEMENT HAVE THE MEANINGS ASCRIBED TO SUCH TERMS IN THE PLAN.
12
     IN THE EVENT OF A CONFLICT OR DIFFERENCE BETWEEN THE DEFINITIONS
13
     USED IN THIS DISCLOSURE STATEMENT AND IN THE PLAN, THE DEFINITIONS
14
     CONTAINED IN THE PLAN SHALL CONTROL.
15
              The Exhibits to this Disclosure Statement included in the Appendix are incorporated into,
16
     and are a part of, this Disclosure Statement. The Plan is attached hereto as Exhibit “1.” Any
17
     interested party desiring further information should contact:
18

19               Garman Turner Gordon LLP                                   Bell, Davis & Pitt, P.A.
                  Gerald M. Gordon, Esq.                                    Walter W. Pitt, Jr., Esq.
20                Teresa Pilatowicz, Esq.                                     100 N Cherry Street
21               650 White Drive, Ste. 100                            Winston Salem, North Carolina 27101
                 Las Vegas, Nevada 89119                                  Telephone: (336) 722-3700
22               Telephone: (725) 777-3000                              Email: wpitt@belldavispitt.com
                 Email: ggordon@gtg.legal
23              Email: tpilatowicz@gtg.legal
24

25

26
     1
27     All references to “Chapter” and “Section” hereinafter shall be to the Bankruptcy Code; all references to a
     “Bankruptcy Rule” shall refer to the Federal Rules of Bankruptcy Procedure; and all references to a “Local Rule”
28   shall refer to the Local Rules of Practice for the United States Bankruptcy Court, Middle District of North Carolina.

                                                              4

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 1            Interested parties may also obtain further information from the Bankruptcy Court at the

 2   following website: http://www.ncmb.uscourts.gov. Each Holder of a Claim entitled to vote on

 3   the Plan should read this Disclosure Statement, the Exhibits hereto including the Plan, and the

 4   instructions accompanying the Ballots in their entirety before voting on the Plan.               These

 5   documents contain important information concerning the classification of Claims and Equity

 6   Securities for voting purposes and the tabulation of votes.

 7                                 II.
       INFORMATION REGARDING THE PLAN AND THIS DISCLOSURE STATEMENT
 8
              The following are answers to common questions about a Chapter 11 reorganization:
 9
     1. What is Chapter 11?
10
              Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code.
11
     Under Chapter 11, a debtor is authorized to reorganize its business for the benefit of itself, its
12
     creditors, and equity interest holders. The commencement of a Chapter 11 case creates an estate
13
     that is comprised of all of the legal and equitable interests of the debtor as of the filing date. The
14
     Bankruptcy Code provides that the debtor may continue to operate its business and remain in
15
     possession of its property as a “debtor-in-possession.”
16
     2. What is the objective of a Chapter 11 bankruptcy case?
17
              The objective of a Chapter 11 case is the confirmation (i.e. approval by the Bankruptcy
18
     Court) of a plan of reorganization. Here, Debtor commenced its Chapter 11 Case in order to
19
     complete a reorganization of its liabilities through a plan of reorganization, with a goal of
20
     providing the best prospects for a distribution to the Holders of Allowed Claims.
21
     3. What is a plan of reorganization?
22
              A plan describes in detail (and in language appropriate for a legal contract) the means for
23
     satisfying claims against, and equity interests in, a debtor.
24
     4. What happens after a plan is filed?
25
              After a plan has been filed, the holders of claims and equity interests that are impaired (as
26
     defined in Section 1124 of the Bankruptcy Code) and receiving some cash and/or property on
27
     account of such claims or equity interests are permitted to vote to accept or reject the plan.
28

                                                       5

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 1   5. What is a disclosure statement and its purpose?

 2            Before a debtor or other plan proponent can solicit acceptances of a plan, Section 1125 of

 3   the Bankruptcy Code requires the debtor or other plan proponent to prepare a disclosure

 4   statement containing adequate information of a kind, and in sufficient detail, to enable those

 5   parties entitled to vote on the plan to make an informed voting decision about whether to accept

 6   or reject the plan.

 7            The purpose of this Disclosure Statement is to provide sufficient information about the

 8   debtor and the plan to enable holders of impaired claims to make an informed voting decision

 9   about whether to accept or reject the plan.

10   6. What will happen after the Bankruptcy Court approves this Disclosure Statement?

11            This Disclosure Statement will be used to solicit acceptances of the Plan only after the

12   Bankruptcy Court has found that this Disclosure Statement provides adequate information in

13   accordance with Section 1125 of the Bankruptcy Code and has entered an order approving this

14   Disclosure Statement. Approval of the Disclosure Statement by the Bankruptcy Court is not an

15   opinion or ruling on the merits of the Plan and it does not mean that the Plan has been or will be

16   approved by the Bankruptcy Court.

17   7. Who may vote to accept or reject a plan?

18            A claim is defined by the Bankruptcy Code to include a right to payment from a debtor.

19   In order to vote on the Plan, a Creditor must have an Allowed Claim. The solicitation of votes

20   on the Plan will be sought only from Holders of Allowed Claims whose Claims are Impaired and

21   who will receive property or rights under the Plan. As explained further below, to be entitled to

22   vote, a Person must be a Holder of a Claim that is both an Allowed Claim and Impaired.

23   8. Do I have an Allowed Claim?

24            You have an Allowed Claim if: (i) you or your representative timely files a proof of

25   Claim and no objection has been filed to your Claim within the time period set for the filing of

26   such objections; (ii) you or your representative timely files a proof of Claim and an objection is

27   filed to your Claim upon which the Bankruptcy Court has ruled and allowed your Claim; (iii)

28   your Claim is listed by the Debtor in its Schedules or any amendments thereto (which are on file

                                                      6

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 1   with the Bankruptcy Court as a public record) as liquidated in amount and undisputed and no

 2   objection has been filed to your Claim; or (iv) your Claim is listed by the Debtor in its Schedules

 3   as liquidated in amount and undisputed and an objection was filed to your Claim upon which the

 4   Bankruptcy Court has ruled to allow your Claim.              Under the Plan, the deadline for filing

 5   objections to Claims is thirty (30) calendar days following the Effective Date. If your Claim is

 6   not an Allowed Claim, it is a Disputed Claim and you will not be entitled to vote on the Plan

 7   unless the Bankruptcy Court temporarily or provisionally allows your Claim for voting purposes

 8   pursuant to Bankruptcy Rule 3018. If you are uncertain as to the status of your Claim or if you

 9   have a dispute with Debtor, you should check the Bankruptcy Court record carefully, including

10   Debtor’s Schedules, and seek appropriate legal advice. Neither Debtor nor its professionals can

11   advise you about such matters.

12   9. Is my Claim or Equity Security Impaired?

13            Impaired Claims include those whose legal, equitable, or contractual rights are altered by

14   the Plan, even if the alteration is beneficial to the Creditor, or if the full amount of the Allowed

15   Claim will not be paid under the Plan. Holders of Claims that are not Impaired under the Plan

16   will be deemed to have accepted the Plan pursuant to Section 1126(f) of the Bankruptcy Code,

17   and Debtor need not solicit acceptance of the Plan by Holders of such Unimpaired Claims.

18   Holders of Claims that are to receive nothing under the Plan will be deemed to have voted to

19   reject the Plan pursuant to Section 1126(g) of the Bankruptcy Code, and Debtor need not solicit

20   votes from such Holders.

21            Classes 1 and 3 are Unimpaired and deemed to accept the Plan, and therefore, will not

22   vote on the Plan.

23            Classes 2, 4, 5 and 6 are Impaired, and therefore, will vote on the Plan.

24            Class 7 will not receive anything under the Plan. Class 7 is thus Impaired and deemed to

25   reject the Plan, and therefore, will not vote on the Plan.

26   10. How generally is a plan approved?

27            In order for a plan to be confirmed, it must be accepted by at least one impaired class of

28   claims, excluding the affirmative votes of any insiders within that class. A class of claims is

                                                       7

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 1   deemed to have accepted the plan if and when allowed votes representing at least two-thirds in

 2   amount and a majority in number of the claims of the class actually voting cast votes in favor of

 3   the plan.

 4   11. What is the general construct of Debtor’s Plan?

 5            The primary objective of the Plan is to maximize returns to those Creditors entitled to

 6   recoveries from the Estate. Debtor desires to achieve this objective through reorganizing its

 7   business operations, settling its governmental obligations, settling alleged claims against the

 8   Released Parties, and obtaining exit financing to assist in the payment of Allowed Claims.

 9   12. Will Reorganized Debtor be able to meet the financial terms of the Plan?

10            If the Plan is confirmed, Debtor will continue operations and, together with the proposed

11   settlement with the Released Parties and the exit financing that provides, in part, the funding of

12   the Plan, will ensure that Reorganized Debtor can meet the financial terms of the Plan.

13   13. What happens at the Confirmation Hearing?

14            At the Confirmation Hearing, the Bankruptcy Court will consider whether the Plan

15   satisfies the requirements of the Bankruptcy Code.

16   14. What is the effect of Plan Confirmation?

17            Confirmation of a plan of reorganization by the bankruptcy court makes the plan binding

18   upon Debtor, any issuer of securities under the Plan, any person acquiring property under the

19   Plan, and every Creditor of Debtor, regardless of whether such creditor receives or retains any

20   property under the Plan. Subject to certain limited exceptions, and other than as provided in the

21   Plan itself or the Confirmation Order, the Confirmation Order discharges Debtor from any debt

22   that arose prior to the date of confirmation of the Plan and substitutes the obligations specified

23   under the Plan.

24   15. Has the Securities Exchange Commission reviewed and approved this Disclosure
         Statement?
25
              This Disclosure Statement has been prepared in accordance with Section 1125 of the
26
     Bankruptcy Code and Bankruptcy Rule 3016(b) and not necessarily in accordance with federal
27
     or state securities laws or other non-bankruptcy laws. This Disclosure Statement has not been
28

                                                      8

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 1   approved or disapproved by the United States Securities and Exchange Commission (the

 2   “SEC”), nor has the SEC passed upon the accuracy or adequacy of the statements contained

 3   herein.

 4   16. Can I rely upon the statements and financial information contained in this Disclosure
         Statement?
 5
               DEBTOR MAKES THE STATEMENTS AND PROVIDES THE FINANCIAL
 6
     INFORMATION CONTAINED HEREIN AS OF THE DATE HEREOF.                              UNLESS
 7
     OTHERWISE              SPECIFIED,      PERSONS        REVIEWING       THIS   DISCLOSURE
 8
     STATEMENT SHOULD NOT INFER THAT THE FACTS SET FORTH HEREIN HAVE
 9
     NOT CHANGED SINCE THE DATE THIS DISCLOSURE STATEMENT WAS
10
     INITIALLY PREPARED.
11
               DEBTOR’S        MANAGEMENT          HAS        REVIEWED      THE    FINANCIAL
12
     INFORMATION PROVIDED IN THIS DISCLOSURE STATEMENT.                            ALTHOUGH
13
     DEBTOR HAS ENDEAVORED TO ENSURE THE ACCURACY OF THIS FINANCIAL
14
     INFORMATION,             THE    FINANCIAL      INFORMATION         CONTAINED    IN,   OR
15
     INCORPORATED BY REFERENCE INTO, THIS DISCLOSURE STATEMENT HAS
16
     NOT BEEN AUDITED, UNLESS OTHERWISE STATED HEREIN.
17
     17. Can I rely upon the Disclosure Statement for other purposes?
18
               THE INFORMATION IN THIS DISCLOSURE STATEMENT IS INCLUDED
19
     HEREIN FOR PURPOSES OF SOLICITING ACCEPTANCES OF THE PLAN AND
20
     MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE
21
     HOW TO VOTE ON THE PLAN. THIS DISCLOSURE STATEMENT THEREFORE
22
     DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED AS, AN ADMISSION OF
23
     FACT OR LIABILITY, A STIPULATION, OR A WAIVER IN ANY PROCEEDING
24
     OTHER THAN THE SOLICITATION OF ACCEPTANCES OF THE PLAN AND
25
     CONFIRMATION OF THE PLAN.                   FOR ALL PURPOSES OTHER THAN THE
26
     SOLICITATION            OF   ACCEPTANCES         OF    THE    PLAN,   THIS   DISCLOSURE
27
     STATEMENT              SHOULD   BE     CONSTRUED         AS   A   STATEMENT   MADE    IN
28

                                                    9

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 1   SETTLEMENT              NEGOTIATIONS         RELATED        TO     CONTESTED          MATTERS,

 2   ADVERSARY              PROCEEDINGS,      AND     OTHER       PENDING       OR     THREATENED

 3   LITIGATION OR ACTIONS.

 4   18. Who provided the information contained in this Disclosure Statement?

 5            This Disclosure Statement was prepared by Debtor’s management in conjunction with

 6   Debtor’s bankruptcy counsel, the law firms of Garman Turner Gordon LLP and Bell, Davis &

 7   Pitt, P.A.

 8   19. Should I consult with my own financial and legal advisors?

 9           This Disclosure Statement does not constitute legal, business, financial, or tax advice. All

10   persons desiring such advice or any other advice should consult with their own advisors.

11   20. I have heard statements from outside sources regarding the Plan. Can I rely on these
         statements?
12
              Debtor has not authorized any representations about the Plan, itself, or the value of its
13
     assets other than those set forth in this Disclosure Statement. Holders of Claims proceed at their
14
     own risk to the extent that they rely on any information, representations, or inducements made or
15
     given about the Plan that differ from, or are inconsistent with, the information contained herein
16
     and in the Plan.
17
     21. What if there is an inconsistency between this Disclosure Statement and the Plan?
18
              This Disclosure Statement summarizes certain provisions of the Plan and certain other
19
     documents and financial information that are incorporated by reference herein (collectively, the
20
     “Incorporated Documents”). The summaries contained herein are qualified in their entirety by
21
     reference to the Incorporated Documents. In the event of any inconsistency or discrepancy
22
     between a description in this Disclosure Statement and the actual content of any of the
23
     Incorporated Documents, the Incorporated Documents shall govern for all purposes.
24
                                             III.
25                               GENERAL OVERVIEW OF THE PLAN

26            The Plan generally provides for the repayment of Claims against Debtor as follows: (1)

27   Debtor will continue operations post-Effective Date to generate income to pay certain Allowed

28   Claims; (2) Debtor is seeking approval of exit financing that will provide sufficient funds to pay

                                                      10

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 1   certain Allowed Claims; (3) Debtor is seeking approval of a settlement agreement with the DOJ

 2   regarding the claims of the Agencies (defined in the Plan to include Transportation Security

 3   Agency, U.S. Department of Agriculture, and U.S. Customs and Border Protection) (the “Class 2

 4   and Class 6 Settlement Agreement”); and (4) Debtor is resolving any possible claims against the

 5   Released Parties (the “Settlement and Restructuring Agreement”) as defined in the Plan to

 6   generally include (i) Kenneth Woolley; (ii) Paul Kraus; (iii) KMW (as defined in the Plan); (iv)

 7   Jet Midwest (as defined in the Plan), and (v) the Released Parties’ current and former Affiliates,

 8   estates, heirs, managed accounts or funds, subsidiaries, officers, directors, principals, employees,

 9   agents,     financial   advisors,   attorneys,   accountants,     investment   bankers,   consultants,

10   representatives and other professionals, in each case in their capacity as such.

11             As it relates to the settlement of claims, the Class 2 and Class 6 Settlement Agreement

12   provides that (i) the Claim of the U.S. Department of Agriculture regarding the APHIS Claim

13   shall be bifurcated between an Allowed Secured Claim in the amount of $150,000 being treated

14   in Class 2 and the remainder as an Allowed General Unsecured Claim being treated in Class 5;

15   (ii) the Agencies’ Residual Governmental Unit Claims shall be treated in Class 6; and (iii) the

16   Agencies’ Governmental Unit Penalty Claims shall be included as Allowed General Unsecured

17   Claims in Class 5. The Settlement and Restructuring Agreement provides for 100% of the

18   Equity Securities of the Reorganized Debtor to be issued to Solitude as provided in Section 5.1.6

19   of the Plan and the Releases of the Released Parties as provided for in Section 9.6 of the Plan,

20   on the Effective Date in exchange for: (a) the Exit Loan Lender entering into the Exit Loan and

21   Exit Loan Documents and commencing funding as provided for therein; (b) the Discharge of

22   Woolley’s Pre-Petition Date Claims without receiving a Distribution related thereto; (c) the

23   treatment of the Woolley’s Secured Claim as an Allowed General Unsecured Claim to be

24   Discharged without a Distribution related thereto; (d) Solitude Strategies, LLC (“Solitude”)

25   exchanging all Claims related to the Solitude DIP Loans for the Equity Securities of Reorganized

26   Debtor; (e) KMW consenting to the assumption of the KMW Leases in accordance with Article

27   6 of the Plan; and (f) Kraus and Jet Midwest agreeing to the Discharge of all pre-Petition Date

28   Claims without receiving a Distribution related thereto.

                                                       11

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 1            Through either the Exit Loan or continued operations, Debtor and/or Reorganized Debtor

 2   (as applicable) will provide for payments of (1) the Allowed Class 2 U.S. Department of

 3   Agriculture Secured Claim through payment on the 10th business day after the Effective Date; (2)

 4   the Allowed Class 3 Priority Unsecured Claims through payment on the Initial Distribution Date;

 5   (3) the Allowed Class 4 Convenience Claims through payment over six months commencing on

 6   the Initial Distribution Date; (4) the Allowed Class 5 General Unsecured Claims through pro rata

 7   distributions from the Class 5 Distribution Amount to be distributed to the Disbursing Agent on

 8   the Effective Date; and (5) the Allowed Class 6 Residual Governmental Unit Claims through

 9   payment of $800,000 on the 10th business day after the Effective Date.

10            The following is a general overview of the provisions of the Plan, which Plan treatment is

11   discussed more fully herein and is qualified in its entirety by reference to the provisions of the

12   Plan itself.

13   A.       Classification of Claims.

14            Section 1123 of the Bankruptcy Code provides that a plan of reorganization shall classify

15   the claims of a debtor’s creditors and equity interest holders. In compliance therewith, the Plan

16   divides Claims into various Classes and sets forth the treatment for each Class. Debtor is also

17   required under Section 1122 of the Bankruptcy Code to place a Claim into a particular Class only

18   if such Claim is substantially similar to the other Claims in such Class. Debtor believes that the

19   Plan has classified all Claims in compliance with the provisions of Section 1122 of the

20   Bankruptcy Code, but it is possible that a Holder of a Claim will challenge the Plan’s

21   classifications and that the Bankruptcy Court will find that different classifications are required

22   in order for the Plan to be confirmed. In such event, Debtor reserves the right, to the extent

23   permitted by the Bankruptcy Code, to make reasonable modifications of the classifications under

24   the Plan to permit Confirmation of the Plan and to use the Plan acceptances received in this

25   solicitation for the purpose of obtaining the approval of the reconstituted Class or Classes of

26   which the accepting Holders are ultimately deemed members.

27            The Plan’s treatment of each classified Class of Claims is summarized in the following

28   table:

                                                      12

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 1

 2         Class         Description                    Summary of Treatment                             Estimated
                                                                                                          Claim2
 3       Class 1       Secured             Each Holder of a Secured Claim shall be left                    $0.003
                       Claims              Unimpaired by Reorganized Debtor.
 4

 5       Class 2       U.S.                In accordance with the Class 2 and Class 6                     $150,000
                       Department of       Settlement Agreement, the U.S. Department
 6                     Agriculture         of Agriculture shall receive in full and
                       Secured Claim       complete satisfaction of its Allowed Secured
 7                                         Claim $150,000 in Cash of the First Business
 8                                         Date following the tenth day after the
                                           Effective Date.
 9
         Class 3       Priority            Each Holder of an Allowed Priority                             $100,000
10                     Unsecured           Unsecured Claim shall be paid in full in Cash
                       Claims              on the Initial Distribution Date.
11

12       Class 4       Convenience         Each Holder of an Allowed Convenience                         $1,365,0005
                       Claims4             Claim, shall be paid in six equal monthly                      $430,0006
13                                         installments, commencing on the Initial
                                           Distribution Date, the lesser of the Allowed
14                                         amount of such Claim or $2,000.
15

16

17

18

19

20   2
       The estimated Claim amounts were compiled by combining the undisputed, liquidated, and non-contingent Claims
21   included in Debtor’s Schedules, as amended, and the proofs of Claim on file on or about December 11, 2017.
     Debtor may file objections to certain of the filed Proofs of Claim, as may other parties-in-interest. The allowance or
22   disallowance of such Claims will alter the aggregate amount of Allowed Claims. Nothing herein shall be deemed an
     acknowledgment of the amount or allowance of any asserted Claim; rather, Debtor hereby expressly reserves its
23   right to object to any and all asserted or scheduled Claims.
     3
        This total amount assumes approval of the Settlement and Restructuring Agreement, and therefore, no amount is
24   listed for Woolley’s secured claim.
     4
25    As provided for in Section 1122(b) of the Bankruptcy Code, a General Unsecured Claim for which the Allowed
     amount of such General Unsecured Claim is less than or equal to $2000 or an Allowed General Unsecured Claim for
26   which the Holder thereof makes the Convenience Class Election.
     5
         This amount represents the total value of estimated Holders electing treatment under Class 4.
27   6
       This amount represents the total estimated pay-out when Creditors electing treatment as convenience claims are
28   reduced to $2,000.


                                                                13

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 1       Class 5      General             Each Holder of an Allowed General                               $40,000,000
                      Unsecured           Unsecured Claim shall receive its pro rata
 2                    Claims7             share of the Class 5 Distribution Amount,
                                          $2,750,000 less all costs and expenses of the
 3
                                          Committee professional fees and expenses
 4                                        and the fees and expenses of the Disbursing
                                          Agent, to be distributed to the Disbursing
 5                                        Agent.
 6       Class 6      Residual            In accordance with the Class 2 and Class 6                       $800.0009
 7                    Governmental        Settlement Agreement, the Agencies shall
                      Unit Claims8        receive in full and complete satisfaction of
 8                                        their Allowed Governmental Unit Residual
                                          Claims the sum of $800,000 in Cash in the
 9                                        first Business Day following the tenth day
                                          after the Effective Date.
10

11       Class 7      Pre-Effective The Equity Securities shall be cancelled and                               N/A
                      Date Equity Holders of Class 7 Equity Securities shall not
12                    Securities    receive any distribution on account of such
                                    Equity Interests
13

14
     B.        Non-Classified Claims.
15
           1. Allowed Administrative Claims.
16
               Pursuant to Section 1123(a)(1), Allowed Administrative Claims are not designated as a
17
     Class. The Holders of such unclassified Claims shall be paid in full under the Plan consistent
18
     with the requirements of Section 1129(a)(9)(A) and are not entitled to vote on the Plan. Pursuant
19
     to Section 331 of the Bankruptcy Code, Debtor’s duly-retained professionals are able to seek the
20

21

22   7
       A Claim that is not secured by a Lien or other charge against or interest in property in which the Estate has an
     interest and is not (i) a Section 507(a)(2) or 507(a)(3) Claim, (ii) an Administrative Claim, (iii) a Priority Tax Claim,
23   (iv) a Priority Unsecured Claim, or (v) a Residual Governmental Unit Claim. General Unsecured Claims shall also
     include all Claims arising under Section 502(g) of the Bankruptcy Code and Governmental Unit Penalty Claims.
24   Pursuant to the Settlement and Restructuring Agreement the Woolley Secured Claim will be a General Unsecured
     Claim and the Claims of Woolley (including the Woolley Secured Claim), Kraus and Jet Midwest will be General
25   Unsecured Claims and treated as provided for in Section 4.5.3. of this Plan.

26   8
      All pre-Petition Date Claims of Governmental Units which are neither Priority Tax Claims nor Governmental Unit
     Penalty Claims but are subject to the Class 2 and Class 6 Settlement Agreement.
27
     9
         This amount represents the agreed amount to be paid for Residual Governmental Unit Claims.
28

                                                               14

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 1   allowance and payment of their incurred fees and costs and may do so prior to the Confirmation

 2   Hearing.

 3            Each Allowed Administrative Claim shall be paid by Reorganized Debtor or the

 4   Disbursing Agent, as applicable, upon the latest of: (i) the Effective Date or as soon thereafter as

 5   is practicable; (ii) such date as may be fixed by the Bankruptcy Court, or as soon thereafter as

 6   practicable, (iii) the fourteenth (14th) Business Day after such Claim is Allowed, or as soon

 7   thereafter as practicable; and (iv) such date as the Holder of such Claim and Reorganized Debtor

 8   shall agree upon. With respect to payment of the Allowed Professional Fees of the Committee,

 9   (i) the Debtor shall pay the fees approved prior to the Effective Date, and (ii) the Disbursing

10   Agent shall pay the fees approved after the Effective Date.

11            Debtor anticipates that Garman Turner Gordon LLP (“GTG”), Debtor’s bankruptcy

12   counsel, will seek the final approval and payment of approximately $450,000 in fees and

13   expenses on or around the Effective Date of the Plan. Debtor further anticipates that Debtor’s

14   local counsel, Bell, Davis & Pitt, P.A. will seek the final approval of approximately $100,000 in

15   fees, expenses on or around the Effective Date. In addition to Debtor’s counsel fees, Debtor

16   retained MJAC, LLC as financial advisor, and various special counsel and tax advisors. Debtor

17   has been paying these fees as due, with interim approval, and does not anticipate significant

18   balances due as of the Effective Date

19            The Unsecured Creditors Committee (“Committee”) is expected to seek approval of the

20   fees and expenses of its Professionals, including counsel, Saul Ewing and Poyner Spruill, in the

21   total amount of $400,000, and fees and expenses for its financial advisor, Alix Partners, in the

22   total amount of $200,000, for total Committee professional expenses of $600,000. These fees

23   will ultimately be paid from the Class 5 Distribution Amount.

24            The foregoing are only estimates and may increase or decrease depending on the timing

25   of the Plan’s Effective Date and the number and extent of the contested matters arising in the

26   Chapter 11 Case. All requests for payment of Administrative Claims against Debtor and all final

27   applications for allowance and disbursement of Professional Fees must be filed by the

28   Administrative Claims Bar Date or the Holders thereof shall be forever barred from asserting

                                                     15

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 1   such Administrative Claims against Debtor and Reorganized Debtor. All Professional Fees

 2   applications must be in compliance with all of the terms and provisions of any applicable order

 3   of the Bankruptcy Court, including the Confirmation Order, and all other orders governing

 4   payment of Professional Fees. Unless otherwise ordered by the Bankruptcy Court, from and

 5   after the Effective Date, no Professional shall be required to file fee applications with the

 6   Bankruptcy Court and Reorganized Debtor may pay all Professionals in the ordinary course for

 7   fees and expenses incurred after the Effective Date.

 8        2. Allowed Priority Tax Claims.

 9            Each Allowed Priority Tax Claim shall be paid in full in Cash by the Reorganized Debtor

10   in equal monthly installments beginning the latest of: (i) the Effective Date or as soon thereafter

11   as is practicable; (ii) such date as may be fixed by the Bankruptcy Court, or as soon thereafter as

12   practicable, (iii) the fourteenth (14th) Business Day after such Priority Tax Claim is Allowed, or

13   as soon thereafter as practicable; and (iv) such date as the Holder of such Priority Tax Claim and

14   Reorganized Debtor shall agree upon and on the same day of each successive month for a period

15   ending not later than five (5) years after the Petition Date. Until the Allowed Priority Tax Claim

16   is paid in full, the unpaid balance shall accrue statutory interest from the Effective Date fixed at

17   the applicable federal or state statutory rate in effect with respect to such Priority Tax Claim on

18   the Petition Date. Debtor estimates Priority Tax Claims will total approximately $6,250,000.

19   C.       Treatment of Classified Claims.

20        1. Class 1 – Secured Claims. Each Allowed Secured Claim, if any, shall, in full and final

21   satisfaction of such Claim, be paid in accordance with its terms, or if none, then in full in cash by

22   Reorganized Debtor upon the latest of: (i) the Effective Date or as soon thereafter as practicable;

23   (ii) such date as may be fixed by the Bankruptcy Court; (iii) the first Business Day following the

24   fourteenth (14th) day after such Claim is Allowed; and (iv) such date as agreed upon by the

25   Holder of such Claim and the Debtor, and after the Effective Date, by Reorganized Debtor.

26        2. Class 2 – U.S. Department of Agriculture Secured Claim. In accordance with the

27   Class 2 and Class 6 Settlement Agreement, the U.S. Department of Agriculture shall receive in

28   full and complete satisfaction of its Allowed Secured Claim One Hundred and Fifty Thousand

                                                      16

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 1   (150,000) Dollars in Cash of the First (1st) Business Date following the tenth (10th) day after the

 2   Effective Date.

 3       3. Class 3 – Priority Unsecured Claims. Each Allowed Priority Unsecured Claim, if any,

 4   shall, in full and final satisfaction of such Claims, be paid in full in Cash on the latest of: (i) the

 5   Initial Distribution Date, or as soon thereafter as is practical; (ii) such date as may be fixed by the

 6   Bankruptcy Court, or as soon thereafter as is practicable; (iii) the fourteenth (14th) Business Day

 7   after such Claim is Allowed, or as soon thereafter as is practicable; or (iv) such date as the

 8   Holder of such Claim and Debtor or Reorganized Debtor, as applicable, have agreed or shall

 9   agree, plus pre-Petition Date interest due under applicable bankruptcy or non-bankruptcy law

10   and claimed in a Proof of Claim by such Holder to the extent approved by the Bankruptcy Court

11   or as included in the Schedules by the Debtor.

12       4. Class 4 – Convenience Claims. Except to the extent that a Holder of an Allowed

13   Convenience Claim agrees to less favorable treatment, each Holder of an Allowed Convenience

14   Claim shall, in full and final satisfaction of such Allowed Convenience Claim be paid in 6 equal

15   monthly installments commencing on the Initial Distribution Date, the lesser of (i) the Allowed

16   amount of such Claim, or (ii) Two Thousand Dollars ($2,000).

17       5. Class 5 – General Unsecured Claims. Except to the extent that a Holder of an Allowed

18   General Unsecured Claim agrees to less favorable treatment:

19            1.       Each Holder of an Allowed General Unsecured Claim, shall, in full and final

20   satisfaction of such Claim, be paid in Cash its Pro Rata share of the Class 5 Distribution Amount.

21            2.       Deducted from the Class 5 Distribution Amount shall be (i) all costs and expenses

22   of the Disbursing Agent and the Disbursing Agent Account, and (ii) the Allowed Professional

23   Fees of the Creditor Committee approved after the Effective Date.

24            3.       On the Effective Date, provided that the Settlement and Restructuring Agreement

25   is approved and the Plan as confirmed is consistent with the relief provided for in the Settlement

26   and Restructuring Agreement, the Claims of Woolley, Kraus and Jet Midwest and the KMW

27   Cure payments shall be subordinated to the payment of all other Allowed General Unsecured

28   Claims and unclassified Allowed Claims and shall not receive any Distribution under the Plan.

                                                       17

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 1       6. Class 6 – Governmental Unit Residual Claims. In accordance with the Class 2 and

 2   Class 6 Settlement Agreement, the Agencies shall receive in full and complete satisfaction of

 3   their Allowed Governmental Unit Residual Claims the sum of Eight Hundred Thousand

 4   (800,000) Dollars in Cash in the first (1st) Business Day following the tenth (10th) day after the

 5   Effective Date.

 6       7. Class 7– Equity Securities. On the Effective Date the Equity Securities of the Debtor

 7   shall be cancelled and Holders of Class 7 Equity Securities shall not receive any Distribution on

 8   account of such Equity Interests.

 9                                                IV.
                                              DISCLAIMER
10
              In formulating the Plan, Debtor relied on financial data derived from their books and
11
     records. Debtor represents that as of the date of this Disclosure Statement, everything stated in
12
     this Disclosure Statement is true to the best of their knowledge and belief. However, Debtor
13
     cannot and does not confirm the current accuracy of the statements appearing in this Disclosure
14
     Statement.
15
              The discussion in this Disclosure Statement regarding Debtor may contain “forward-
16
     looking statements,” as that term is used in the Private Securities Litigation Reform Act of 1995.
17
     Such statements consist of any statement other than one of historical fact, and can be identified
18
     by the use of forward-looking terminology such as “may,” “expect,” “believe,” “anticipate,”
19
     “estimate,” “likely,” “probable,” or “continue” or the negative thereof or other variations thereof
20
     or comparable terminology. All such forward-looking statements are speculative, and there are
21
     risks and uncertainties that could cause actual events or results to differ materially from those
22
     referred to in such forward-looking statements.         The liquidation analysis and distribution
23
     projections are estimates only, and the timing and amounts of actual distributions may be
24
     affected by many factors that cannot be predicted.         Therefore, any analysis, estimates, or
25
     recovery projections may not turn out to be accurate.
26
              NOTHING IN THIS DISCLOSURE STATEMENT IS, OR SHALL BE DEEMED,
27
     AN ADMISSION OR STATEMENT AGAINST INTEREST BY DEBTOR FOR
28

                                                     18

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 1   PURPOSES OF ANY PENDING OR FUTURE LITIGATION MATTER OR

 2   PROCEEDING.

 3            ALTHOUGH THE ATTORNEYS AND OTHER PROFESSIONALS EMPLOYED

 4   BY DEBTOR HAVE ASSISTED IN PREPARING THIS DISCLOSURE STATEMENT

 5   BASED UPON FACTUAL INFORMATION AND ASSUMPTIONS RESPECTING

 6   FINANCIAL, BUSINESS, AND ACCOUNTING DATA FOUND IN THE BOOKS AND

 7   RECORDS OF DEBTOR, THEY HAVE NOT INDEPENDENTLY VERIFIED SUCH

 8   INFORMATION AND MAKE NO REPRESENTATIONS AS TO THE ACCURACY

 9   THEREOF.           THE ATTORNEYS AND OTHER PROFESSIONALS EMPLOYED BY

10   DEBTOR SHALL HAVE NO LIABILITY FOR INFORMATION CONTAINED IN, OR

11   OMITTED FROM, THIS DISCLOSURE STATEMENT.

12            DEBTOR AND ITS PROFESSIONALS HAVE MADE A DILIGENT EFFORT TO

13   IDENTIFY IN THIS DISCLOSURE STATEMENT AND IN THE PLAN PENDING

14   LITIGATION CLAIMS, PROJECTED CAUSES OF ACTION, AND OBJECTIONS TO

15   CLAIMS. HOWEVER, NO RELIANCE SHOULD BE PLACED ON THE FACT THAT

16   A PARTICULAR LITIGATION CLAIM, PROJECTED CAUSE OF ACTION, OR

17   OBJECTION TO A CLAIM IS OR IS NOT IDENTIFIED IN THIS DISCLOSURE

18   STATEMENT OR THE PLAN. DEBTOR AND/OR REORGANIZED DEBTOR MAY

19   SEEK TO INVESTIGATE, FILE, AND PROSECUTE LITIGATION CLAIMS,

20   PROJECTED CAUSES OF ACTION, AND OBJECTIONS TO CLAIMS AFTER THE

21   CONFIRMATION DATE, EFFECTIVE DATE, OR SUBSTANTIAL CONSUMMATION

22   DATE, IRRESPECTIVE OF WHETHER THIS DISCLOSURE STATEMENT OR THE

23   PLAN IDENTIFIES SUCH CLAIMS, CAUSES OF ACTION, OR OBJECTIONS TO

24   CLAIMS.

25                                   V.
       SUMMARY OF DEBTOR’S BUSINESS, AND KEY EVENTS LEADING TO AND OF
26                          THE CHAPTER 11 CASE

27   A.       Debtor’s Operations

28        1. Debtor is a Virginia limited liability company formed in 2010 that operates in High Point,

                                                     19

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 1   North Carolina. Debtor is owned by members Commercial Aircraft Services Holdings, LLC,

 2   NVLV Management LLC, and the F. Paul Ohadi Trust u/t/d 12/15/99.

 3       2. Debtor’s ultimate principals are Paul Kraus, through his ownership of Commercial

 4   Aircraft Services Holdings, LLC, and Kenneth M. Woolley, through his ownership of NVLV

 5   Management, LLC. The business was acquired in 2013.

 6       3. Debtor owns and operates a full-service aviation enterprise, and is a licensed and

 7   certificated air carrier authorized by the U.S. Department of Transportation (the “DOT”) and the

 8   U.S. Federal Aviation Administration (the “FAA”). Debtor holds a Part 121 Certificate (large

 9   aircraft) and operates as a supplemental air carrier, providing charter and contract commercial

10   passenger air travel services to the general public.

11       4. Debtor’s fleet of aircraft includes the following six Boeing 767s (the “Leased Aircraft”),

12   which complete international flights between United States cities and territories and foreign

13   countries:

14                     A. A Boeing 767-23B bearing serial number 23974 and U.S. Registration Mark
                          N253MY leased from KMW Leasing IV, LLC;
15
                       B. A Boeing 767-246 bearing serial number 23213 and U.S. Registration Mark
16                        N767DA leased from KMW Leasing IX, LLC;
17
                       C. A Boeing 767-336 bearing serial number 24339 and U.S. Registration Mark
18                        N796MY leased from KMW Leasing N796JM, LLC;

19                     D. A Boeing 767-336 bearing serial number 25443 and U.S. Registration Mark
                          N254MY leased from KMW Leasing VII, LLC;
20
                       E. A Boeing 767-336 bearing serial number 24343 and U.S. Registration Mark
21                        N740JM leased from KMW Leasing X, LLC
22                     F. A Boeing 767-300ER bearing serial number 24342 and U.S. Registration
23                        Mark N793JM leased from KMW Leasing X, LLC

24            5.       As of the Petition Date, Debtor operated scheduled charter service between the

25   United States and locations such as China, Guyana, Saipan, and Ecuador. Following the Petition

26   Date, Debtor changed its operations to focus on what are generally known as ACMI (Aircraft

27   Charter Maintenance Insurance) Contracts. Since on or about October 5, 2017, Debtor has

28   operated exclusively using ACMI contracts.

                                                      20

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 1   B.       Debtor’s Financial Condition as of the Petition Date.

 2            6.       Debtor’s debt as of the Petition Date, other than vendor payables and arbitration

 3   awards and judgments, was primary limited to loan obligations owed to Kraus and Woolley.

 4   Debtor has no secured debt other that in favor of Woolley mentioned below.

 5            7.       As of the Petition Date, Debtor had approximately $12.1 Million in obligations to

 6   Woolley for moneys loaned, secured by an assignment of Debtor’s accounts receivable,

 7   perfected pursuant to a UCC-1 financing statement filed in Virginia in August 2016.

 8            8.       Woolley is also the manager and member of KMW which were collectively owed

 9   more than $10,500,000 in unpaid rent for the Leased Aircraft accruing since December 2015.

10   C.       The Events Necessitating the Bankruptcy Filing.

11            9.       Debtor has consistently sought to retain high quality and experienced individuals

12   to control the operations and finances of Debtor. However, over the past several years, Debtor

13   has encountered significant challenges in finding and retaining qualified employees.

14            10.      For example, since 2013, Debtor has had three chief executive officers, four chief

15   operating officers, and three chief financial officers. While such actions have not impacted the

16   ultimate financial stability or safety of Debtor’s operations, it has led to significant cash losses.

17   These management changes also resulted in different accounting and operations tracking systems

18   which has caused some confusion and some items to be overlooked and not properly handled.

19            11.      Despite these losses and changes, Debtor’s principals have remained committed

20   to funding Debtor and pursuing the Plan so that operations can continue, employees can retain

21   their jobs, and creditors can be paid.

22            12.      Immediately prior to the Petition Date, Debtor retained MJAC L.L.C. d/b/a

23   Allison Consulting (“MJAC”), A North Carolina Limited Liability Company. MJAC provides

24   financial and operations counseling to national and local businesses (specializing in turnarounds

25   and performance improvement). MJAC was subsequently retained in the Chapter 11 Case to

26   assist the company in evaluating its long-term viability and to advise management as to short-

27   term issues relating to cash flow, profitability, operations and finance.

28

                                                       21

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 1            13.      MJAC’s review revealed a series of challenges that required Debtor to seek the

 2   protections afforded by the Bankruptcy Code to allow Debtor a chance to take control of and

 3   reorganize its existing financings and operations.

 4            14.      These challenges include:

 5                     a. Debtor is involved in a series of arbitrations and litigation related to its 2014
                          contract with Air India, Ltd. (“Air India”) concerning a charter service for the
 6                        2014 Haj Pilgrimage to Mecca. While Debtor performed under the contract,
                          full payment was not provided resulting in several disputes.
 7

 8                            1. Initially, Debtor filed a lawsuit in the United States District Court for
                                 the Southern District of New York against Air India. Over Debtor’s
 9                               objection, Debtor was forced to engage in arbitration in India, which
                                 resulted in an approximately $11 million arbitration award against
10                               Debtor. Debtor is in the process of appealing the arbitration award in
                                 India to the High Court of Delhi.
11
                              2. The lack of payment by Air India to Debtor resulted in arbitration
12
                                 demands being filed by three parties to whom Debtor was allegedly
13                               required to make payments: BKP Enterprise (“BKP”), Expim
                                 International (“Expim”), and Worldwide Charter Group
14                               (“Worldwide,” and together with BKP and Expim, the “Arbitration
                                 Creditors”).
15
                              3. BKP and Expim obtained a combined arbitration award in Canada in a
16                               combined approximate amount of $3.5 million (the “BKP and Expim
17                               Award”). While Debtor has filed a notice of appeal and intent to
                                 challenge the BKP and Expim Award, it was nonetheless confirmed
18                               and judgment entered by the United States District Court for the
                                 Middle District of North Carolina on May 31, 2017.
19
                              4. Worldwide obtained an arbitration award in Canada in the
20                               approximate amount of $900,000 (the “Worldwide Award”).
21
                       b. PMC Aviation 2012-1 LLC (“PMC”) obtained a judgment against Debtor in
22                        the amount of $1,190,807.24 entered in the Circuit Court of Rockingham
                          County in Virginia on or about June 26, 2017 (the “PMC Judgment”). PMC
23                        commenced aggressive collection efforts on the PMC Judgment and, on July
                          18, 2017, garnished certain of Debtor’s bank accounts.
24
                       c. Pas Consulting Group, LLC (“Pas”) obtained a judgment against Debtor in the
25                        amount of $151,743.50 entered in the United States District Court for the
26                        Southern District of Florida on or about May 25, 2017 (the “Pas Judgment”).

27                     d. Debtor has other vendors that have, in the past, gone unpaid which has
                          resulted in, among other things, garnishments against Debtor’s bank accounts.
28                        Although Debtor has worked through these garnishments, Debtor needed

                                                        22

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 1                          additional time to review any other outstanding liabilities and determine a
                            plan for repayment.
 2
     D.       Debtor’s Post-Petition Date Operations
 3
              15.      Debtor has continued operations as a debtor in possession following the Petition
 4
     Date. Debtor has continued to fly aircraft, though has changed its business model from ticketed
 5
     passenger flights, which caused significant drain on Debtor’s resources, to ACMI contracts, as
 6
     discussed above. While Debtor’s post-Petition Date operations have not been without challenge,
 7
     Debtor’s principals have remained committed to funding operations to ensure a successful
 8
     operation.
 9
              16.      As a result. as of the date of this Disclosure Statement, Debtor is continuing
10
     operations and has generally remained current on post-Petition Date obligations.
11
              17.      Furthermore, as part of its pre-Petition Date services, Debtor collected revenue for
12
     tickets for flights that were to be flown at a future date. As of the Petition Date, the amount of
13
     the outstanding obligation pre-Petition Date customer obligations was $7,984,493.06.                 This
14
     amount was approximately $3,000,000 more than the amount that Debtor held in escrow
15
     accounts. Through its post-Petition Date operations, Debtor successfully reduced its pre-Petition
16
     Date customer obligations significantly, thereby reducing priority obligations of the Estate
17
     therefore increasing potential distributions for remaining creditors.
18
     E.       Debtor’s Assets and Liabilities.
19
              1.       Assets
20
              18.      As of the Petition Date, Debtor’s assets consisted mainly of approximately
21
     $1,500,810 in accounts receivable, approximately $150,000 in miscellaneous airplane inventory,
22
     approximately $3,900,000 in escrow balance funds and reserves, and a litigation claim against
23
     Air India valued at approximately $8,000,000 (the “Air India Claim”). Although Debtor is
24
     confident it could ultimately be successful if the Air India Claim were pursued, the matter
25
     involves costly and likely protracted litigation that would cause a significantly less net recovery.
26
              2.       Liabilities
27
              19.      As of the Petition Date, Debtor’s liabilities consisted of four categories: (1)
28

                                                         23

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 1   judgments and arbitration awards; (2) trade debt; (3) tax debt and governmental claims; and (4)

 2   debt generally obtained through loans or services by insiders to include Woolley, KMW, and Jet

 3   Midwest.

 4            20.      Debtor’s three largest judgments and arbitration awards include an approximately

 5   $10,500,000 arbitration award in favor of Air India; an approximately $3,500,000 arbitration

 6   award in favor of B.K.P. and Expim, and an approximately $1,203,000 judgment in favor of

 7   PMC.

 8            21.      Debtor’s trade debt amounts to approximately $22,000,000 and is generally for

 9   operations including various airport fees, fuel and flight services, and various other operational

10   expenses.

11            22.      Debtor also has incurred unpaid pre-Petition Date taxes and governmental claims

12   owed to the IRS, North Carolina Department of Revenue, NYS Department of Financing, US

13   Department of Agriculture, Transportation Security Administration, and Customs and Border

14   Protection collectively in excess of $11,000,000.

15            23.      Finally, Debtor owes approximately $12,047,918.67 to Woolley on a secured

16   basis for monies loaned; $10,535,749.18 to KMW for unpaid lease payments; $6,657,997.14 to

17   Jet Midwest Entities for goods and services provided (collectively, the “Insider Claims”).

18   F.       The Settlement Agreements

19            1. The Class 2 and Class 6 Settlement Agreement

20            24.      The Agencies have asserted various non-priority tax claims against Debtor related

21   to operations since 2015. Generally, these claims fall into three categories: (1) a secured APHIS

22   Claim of $150,000 and an unsecured APHIS Claim of approximately $175,000; (2)

23   Governmental Penalty Claims; and (3) Residual Governmental Unit Claims, which are claims

24   that do not fall into the two prior categories nor are priority Claims.

25            25.      These claims total approximately $4,289,000. In order to resolve these claims,

26   Debtor, Woolley, and the DOJ have entered into the Class 2 and Class 6 Settlement Agreement,

27   subject to the requisite DOJ approval, which provides for (1) an allowed secured APHIS Claim

28   in the amount of $150,000, which will be paid in full on the 10th business days after the Effective

                                                      24

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 1   Date; (2) for the governmental penalty claims and the APHIS unsecured Claim to be included in

 2   the Class 5 General Unsecured Claims, entitled to its pro rata Distribution from the Class 5

 3   Distribution Fund; and (3) for the Residual Governmental Unit Claims in Class 6, which shall be

 4   paid through a $800,000 payment on the 10th business day after the Effective Date.

 5            2. The Settlement and Restructuring Agreement

 6            26.      Although not formally filed, the Committee asserts that potential claims (the

 7   “Committee Claims”) exist against the Released Parties. The Committee Claims generally assert

 8   mismanagement and breaches of fiduciary duties in connection with Debtor’s operations since

 9   2015, and avoidance of payments and security interests obtained by the Released Parties during

10   that same time period. For example, through the Committee Claims, the Committee could seek:

11   (1) to avoid Woolley’s approximately $12,000,000 secured claim based on an alleged lack of

12   security agreement or, in the alternatively as preference payments; (2) for avoidance of

13   approximately $775,000 in payments to Woolley, approximately $1,000,000 in payments to Jet

14   Midwest, approximately $200,000 to Swift Air, and approximately $40,000 to Kraus as

15   avoidable transfers; (3) to subordinate KMW, Woolley, Kraus, and Jet Midwest’s claims based

16   on contract or alleged inequitable conduct that purportedly led to Debtor’s insolvency; (4)

17   recharacterization of Woolley’s and Kraus’ loans to Debtor as capital contributions; (5) for a

18   judgment for breach of fiduciary duty based on their alleged mismanagement of Debtor; and (6)

19   avoidance of a $522,923 payment to Wells Fargo allegedly on Woolley’s behalf, $681,239

20   payment to Bank of America allegedly on Woolley’s behalf, and an approximately $3,100,000

21   payments to World Fuel and Mercury allegedly on Jet Midwest’s behalf.

22            27.      The Released Parties have asserted defenses to all Claims including, among other

23   things, that Woolley’s security interest was properly recorded and valid; the payments to

24   Woolley, Kraus, and their related entities during the preference period are not avoidance as not

25   being transfers of Debtor’s property and/or new value having been provided; there has been no

26   inequitable conduct on behalf of the Released parties and managerial decisions made by Kraus

27   were made with proper business judgment; the loans to Debtor were properly documents and

28   commercially reasonable, and any alleged payments on Woolley’s and Jet Midwest’s behalf

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 1   were not transfers of Debtor’s property and/or made in the ordinary course.

 2            28.      Generally, through the Committee Claims, the Committee believes it can (1) seek

 3   to recover approximately $6 million paid to or on behalf of the Insiders; (2) disallow,

 4   subordinate, and/or recharacterize approximately $30 million in Insider Claims; and (3) obtain an

 5   unknown amount of damages against Woolley and/or Kraus for alleged breach of fiduciary duty.

 6   Notwithstanding, the Committee also acknowledges that any amounts ultimately recovered

 7   through litigation will be first used to pay litigation costs, then will be applied to any remaining

 8   administrative costs and then to the Priority Tax Claim, leaving little if any moneys available for

 9   General Unsecured Claims and Convenience Claims.

10            29.      While the Released Parties deny any wrongdoing and, as set forth above, dispute

11   the validity of the Committee Claims against them, the Released Parties nonetheless understand

12   that the Committee Claims are assets of the Estate and may be asserted. In order to fully and

13   finally resolve the Committee Claims, Debtor, on the one hand, and the Released Parties, on the

14   other hand, have agreed to the terms of the Settlement and Restructuring Agreement which

15   provides that, in exchange for:

16                     a. the Exit Loan Lender entering into the Exit Loan and Exit Loan Documents

17                          and commencing funding as provided for therein;

18                     b. the subordination and Discharge of Woolley’s pre-Petition Date Claims

19                          without receiving a Distribution related thereto;

20                     c. the treatment of the Woolley’s Secured Claim as an Allowed General

21                          Unsecured Claim, to be subordinated and Discharged without a Distribution

22                          related thereto;

23                     d. Solitude exchanging all Claims related to the Solitude DIP Loans for the

24                          Equity Securities of Reorganized Debtor;

25                     e. KMW consenting to the assumption of the KMW Leases in accordance with

26                          Article 6 of the Plan; and

27                     f. Kraus and Jet Midwest agreeing to the subordination and Discharge of all pre-

28                          Petition Date Claims without receiving a Distribution related thereto,

                                                         26

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 1   100% of the Equity Securities of the Reorganized Debtor will be vested in Solitude and Released

 2   Parties will be released from all claims which could be asserted by or on behalf of the Debtor as

 3   set forth in Section 9.6 of the Plan.

 4            30.      The Committee has reviewed the proposed terms of the Settlement and

 5   Restructuring Agreement and agrees that the Settlement and Restructuring Agreement provides a

 6   greater recovery for Creditors than what is likely to be obtained in the Committee further pursues

 7   the Committee Claims.

 8   G.       Significant Events During the Chapter 11 Case.

 9            1. Significant Early Motions in the Main Case.

10            31.      At the outset of the Chapter 11 Case, Debtor filed numerous motions,

11   subsequently approved, to facilitate the Chapter 11 Case, including regarding administrative

12   procedures, employment of professionals, and DIP financing. Among these motions, Debtor

13   requested relief including:

14            (1) the employment of Garman Turner Gordon LLP as Debtor’s’ lead bankruptcy
                  counsel;
15
              (2) the employment of Bell, Davis & Pitt, P.A. as Debtor’s local bankruptcy counsel;
16
              (3) the approval of initial post-petition financing in the amount of $800,000;
17

18            (4) the use of pre-petition bank accounts;

19            (5) authority to pay its employees;

20            (6) authority to honor its pre-petition obligations; and

21            (7) an order determining that adequate assurances had been paid to utility companies.

22            32.      Consistent therewith, concurrently with the filing of the Voluntary Petition, the
23   Debtor filed its (1) Application By Debtor in Possession to Employ Attorneys; (2) Emergency
24   Motion for Order Authorizing Maintenance of Prepetition Cash Management System and
25   Maintenance of Prepetition Bank Accounts; (3) Emergency Motion for Order: (I) Authorizing
26   Debtor to Pay Wages, Salaries, Benefits, and Other Employee Obligations; and (II) Authorizing
27   and Directing Financial Institutions to Honor and Process Checks and Transfers Related to
28

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 1   Such Obligations; (4) Emergency Motion Pursuant to 11 U.S.C. §§ 105(a) and 366 For and

 2   Order Determining that Adequate Assurance has been Provided to the Utility Companies; (5)

 3   Motion for Order (I) Authorizing the Debtor to Pay and Honor Prepetition Obligations to

 4   Customers and (II) Authorizing and Directing the Financial Institutions to Honor and Process

 5   Checks and Transfers Related to Such Obligations; (6) Debtor’s Emergency Motion Seeking

 6   Interim and Final Orders: (1) Authorizing Debtor to Obtain Post-Petition Financing, (2)

 7   Granting Liens and Superpriority Administrative Expense, and (3) Setting and Prescribing the

 8   Form and Manner of Notice for a Final Hearing (the “Initial DIP Motion”). See ECF Nos. 5,

 9   11, 12, 13, 14, and 16. Each of these motions were subsequently granted by the Court. See ECF

10   Nos. 92, 93, 99, 102, 105 and 182.

11             2. Debtor’s Post-Petition Date Challenges.

12            33.      On July 21, 2017, within days of the Petition Date, PMC filed a Motion to

13   Convert The Case from Chapter 11 to Chapter 7. See ECF No. 35. The Motion has been

14   continued on the Court’s docket, but PMC offered to withdraw the Motion without prejudice.

15            34.      Following the Motion to Convert, on July 28, 2017, the Bankruptcy Administrator

16   filed a Motion for Appointment of Chapter 11 Trustee (the “Motion to Appoint”). See ECF No.

17   80. While the Motion to Appoint has been continued on the Court’s docket, the BA has not

18   actively pursued the Motion to Appoint.

19            35.      On August 3, 2017, the Committee was appointed, and is comprised of Air India,

20   BKP, AEGFUELS, Gulf Regents, LLC, McCarter & English, Worldwide Charter Group, and Jet

21   Midwest International Co, Ltd. See ECF No. 98. Later, PMC was added as an ex officio member

22   of the Committee. See ECF No. 121.

23            36.      The Committee has pursued various discovery of the Debtor and Woolley and has

24   been actively engaged in the Chapter 11 Case.

25            37.      In addition to its administrative challenges, Debtor has encountered various

26   operational issues that have required additional funding. As a result, Debtor has sought, and

27   obtained approval of, three additional debtor-in-possession financing requests in the amount of

28

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 1   $2,355,369, plus an increase of up to $160,000; $500,00; and $2,500,000, respectively. See ECF

 2   Nos. 185, 258, 344.

 3                                                  V.
                                        ADDITIONAL PLAN PROVISIONS
 4
     A.        Plan Implementation Occurring on the Effective Date. On the Effective Date, except
 5
     as otherwise provided, without any further action by Debtor or Reorganized Debtor, all of
 6
     Debtor’s assets shall vest in Reorganized Debtor and the following events shall occur in the
 7
     following sequence:
 8

 9           1.        The Settlement Agreements shall be executed.

10           2.        The Exit Loan Documents shall be executed by the Reorganized Debtor and the
                       Exit Loan Lender, as applicable, and the Exit Loan Note shall be delivered to the
11                     Exit Loan Lender. The initial funding shall be funded.
12
             3.        All Litigation Claims shall be assigned and transferred to Reorganized Debtor.
13
             4.        The Class 5 Distribution shall be made to the Disbursing Agent for deposit into
14                     the Disbursing Agent Account.

15           5.        Any Initial Distributions required to be made to the Holders of Allowed Claims
                       on the Effective Date shall be made.
16

17   B.        Executory Contracts and Unexpired Leases.
18        1. Executory Contracts.
19             Except for Executory Contracts and Unexpired Leases specifically addressed in the Plan,
20   assumed pursuant to prior order of the Bankruptcy Court, including but not limited to the Sale
21   Order, or set forth on the schedule of Assumed Executed Contracts and Unexpired Leases
22   attached to the Plan as Schedule 6.1 (which may be supplemented and amended up to the date
23   the Bankruptcy Court enters the Confirmation Order), all Executory Contracts and Unexpired
24   Leases that exist on the Confirmation Date shall be deemed rejected by Debtor on the Effective
25   Date.
26             Debtor seeks to assume the leases with KMW for its six Boeing 767 aircraft, all of which
27   are necessary for the continued operations of Reorganized Debtor.
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 1       2. Approval of Assumption or Rejection.

 2            Entry of the Confirmation Order shall constitute as of the Effective Date: (i) approval,

 3   pursuant to Bankruptcy Code Section 365, of the rejection by Reorganized Debtor of each

 4   Executory Contract and Unexpired Lease to which Debtor is a party that is not listed on Schedule

 5   6.1 to the Plan, not otherwise provided for in the Plan, and neither assigned, assumed and

 6   assigned, nor rejected by separate order of the Bankruptcy Court prior to the Effective Date; and

 7   (ii) assumption by Debtor of each Executory Contract and Unexpired Lease to which Debtor is a

 8   party that is listed on Schedule 6.1. Upon the Effective Date, each counter party to an assumed

 9   Executory Contract or Unexpired Lease listed shall be deemed to have consented to an

10   assumption contemplated by Section 365(c)(1)(B) of the Bankruptcy Code, to the extent such

11   consent is necessary for such assumption. To the extent applicable, all Executory Contracts or

12   Unexpired Leases of Reorganized Debtor assumed pursuant to this Article 6 shall be deemed

13   modified such that the transactions contemplated by the Plan shall not be a “change of control,”

14   regardless of how such term may be defined in the relevant Executory Contract or Unexpired

15   Lease and any required consent under any such Executory Contract or Unexpired Lease shall be

16   deemed satisfied by confirmation of the Plan.

17       3. Cure of Defaults.

18            Reorganized Debtor shall Cure any defaults respecting each Executory Contract or

19   Unexpired Lease assumed pursuant to Section 6.1 of the Plan upon the latest of: (i) the Effective

20   Date or as soon thereafter as practicable; (ii) such dates as may be fixed by the Bankruptcy Court

21   or agreed upon by Debtor, and after the Effective Date, Reorganized Debtor; or (iii) the

22   fourteenth (14th) Business Day after the entry of a Final Order resolving any dispute regarding:

23   (a) a Cure amount; (b) the ability of Debtor or Reorganized Debtor to provide “adequate

24   assurance of future performance” under the Executory Contract or Unexpired Lease assumed

25   pursuant to the Plan in accordance with Section 365(b)(1) of the Bankruptcy Code; or (c) any

26   matter pertaining to assumption, assignment, or the Cure of a particular Executory Contract or an

27   Unexpired Lease.

28            Debtor owes for pre-petition amounts and post-petition amounts due on the KMW

                                                     30

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 1   Leases. Debtor anticipates that it will be able to negotiate a resolution of the cure amounts that

 2   will not interrupt post-Effective Date operations.

 3        4. Objection to Cure Amounts.

 4            Any party to an Executory Contract or Unexpired Lease who objects to the Cure amount

 5   determined by Debtor to be due and owing must file and serve an objection on Debtor’s counsel

 6   no later than thirty (30) days after the Effective Date. Failure to file and serve a timely objection

 7   shall be deemed consent to the Cure amounts paid by Debtor in accordance with Section 6.3 of

 8   the Plan. If there is a dispute regarding: (i) the amount of any Cure payment; (ii) the ability of

 9   Reorganized Debtor to provide “adequate assurance of future performance” under the Executory

10   Contract or Unexpired Lease to be assumed or assigned; or (iii) any other matter pertaining to

11   assumption, the Cure payments required by Section 365(b)(1) of the Bankruptcy Code will be

12   made following the entry of a Final Order resolving the dispute and approving the assumption.

13        5. Confirmation Order.

14            The Confirmation Order will constitute an order of the Bankruptcy Court approving the

15   assumptions described in this Article 6 pursuant to Section 365 of the Bankruptcy Code as of the

16   Effective Date. Notwithstanding the forgoing, if, as of the date the Bankruptcy Court enters the

17   Confirmation Order, there is pending before the Bankruptcy Court a dispute concerning the Cure

18   amount or adequate assurance for any particular Executory Contract or Unexpired Lease, the

19   assumption of such Executory Contract or Unexpired Lease shall be effective as of the date the

20   Bankruptcy Court enters an order resolving any such dispute and authorizing assumption by

21   Debtor.

22        6. Bar Date.

23            All proofs of Claims with respect to Claims arising from the rejection of any Executory

24   Contract or Unexpired Lease shall be filed no later than thirty (30) calendar days after the

25   Effective Date. Any Claim not filed within such time shall be forever barred.

26   C.       Manner of Distribution of Property Under the Plan.

27        1. Distribution. Distributions to Holders of Class 5 Allowed Claims shall be the

28            responsibility of the Disbursing Agent, and Reorganized Debtor shall be responsible for

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 1            making the balance of Distributions described in the Plan. Reorganized Debtor and

 2            Disbursing Agent, as applicable, may make such Distributions before the allowance of

 3            each Claim has been resolved if Reorganized Debtor has a good faith belief that the

 4            Disputed Claims Reserve is sufficient for all Disputed Claims. Except as otherwise

 5            provided in the Plan or the Confirmation Order, the Cash necessary for Reorganized

 6            Debtor to make payments pursuant to the Plan may be obtained from existing Cash

 7            balances or the Exit Loan, and the Cash necessary for Disbursing Agent to make

 8            payments pursuant to the Plan shall be obtained from the Disbursing Agent Account

 9     2.     Reserves. Disbursing Agent shall establish and maintain the Disputed Claim Reserve

10            with respect to Class 5 General Unsecured Claims, and Reorganized Debtor shall

11            establish and maintain the Disputed Claim Reserve for the balance of the Claims.

12     3.     Statements. Reorganized Debtor shall maintain a record of the names and addresses of

13            all Holders of Allowed Claims as of the Effective Date for purposes of mailing

14            Distributions to them, and shall provide a copy to the Disbursing Agent. Reorganized

15            Debtor and the Disbursing Agent may rely on the name and address set forth in Debtor’s

16            Schedules and/or Proofs of Claim and the ledger and records regarding Holders of Equity

17            Securities as of the Record Date as being true and correct unless and until notified

18            otherwise in writing. Reorganized Debtor shall file all tax returns and other filings with

19            governmental authorities on behalf of Reorganized Debtor and the Assets it holds. The

20            Disbursing Agent shall be responsible for any tax returns and other filings with

21            governmental authorities with regard to the Assets it holds.

22     4.     Further Authorization. Debtor and Reorganized Debtor shall be entitled to seek such

23            orders, judgments, injunctions, and rulings as it deems necessary to carry out the

24            intentions and purposes, and to give full effect to the provisions of the Plan.

25   D.       Conditions Precedent to Confirmation and the Effective Date.

26     1.     Condition Precedent to Confirmation.           The Confirmation Order shall have been

27            entered and be in form and substance reasonable acceptable to Debtor.
       2.     Conditions Precedent to Effectiveness. The following are conditions precedent to the
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 1            occurrence of the Effective Date:

 2                 a. The Confirmation Order shall be a Final Order, except that Debtor reserves the
                       right to cause the Effective Date to occur notwithstanding the pendency of an
 3
                       appeal of the Confirmation Order;
 4
                   b. All documents necessary to implement the transactions contemplated by the Plan
 5
                       shall be in form and substance reasonable acceptable to Debtor;
 6                 c. The Settlement and Restructuring Agreement shall be in form and substance
 7                     reasonably acceptable to Solitude, Woolley and the Debtor, and the Settlement

 8                     and Restructuring Agreement shall have been executed;
                   d. The Class 2 and Class 6 Settlement and Agreement shall be in form and substance
 9
                       reasonably acceptable to the DOJ, Woolley, and the Debtor, and the Class 2 and
10
                       Class 6 Settlement Agreement shall have been executed;
11
                   e. The Exit Loan Documents shall be in form and substance reasonably acceptable
12                     to Woolley and the Debtor, and the Exit Loan Documents shall have been
13                     executed;
14                 f. The initial advance under the Exit Loan shall have been funded; and

15                 g. The Class 5 Distribution Amount shall have been distributed to the Disbursing
                       Agent for deposit into the Disbursing Agent Account.
16
     E.        Objections to Claims or Equity Securities.
17
       1.     Filing of Objections to Claims. After the Effective Date, objections to Claims shall be
18
              made and objections to Claims made previous thereto shall be pursued by Reorganized
19
              Debtor or any other party properly entitled to do so under the Bankruptcy Code. Any
20
              objections to Claims made after the Effective Date shall be filed and served not later than
21
              the first Business Day that is thirty (30) calendar days after the Effective Date; provided,
22
              however, that such period may be extended by order of the Bankruptcy Court.
23
       2.     Resolution of Objections After Effective Date. From and after the Effective Date,
24
              Reorganized Debtor may litigate to judgment, propose settlements of, or withdraw
25
              objections to, all pending or filed Disputed Claims and may settle or compromise any
26
              Disputed Claim without notice and a hearing and without approval of the Bankruptcy
27
              Court.
28

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 1     3.     Distributions and Disputed Claims Reserve. In order to facilitate Distributions to

 2            Holders of Allowed Claims, and if and to the extent there are Disputed Claims or

 3            Disputed Equity Securities in any Class, Reorganized Debtor or the Disbursing Agent, as

 4            applicable, shall set aside in a designated reserve account the payments or Distributions

 5            applicable to such Disputed Claims as if such Disputed Claims were Allowed Claims,

 6            pending the allowance or disallowance of such Disputed Claims.             In the event

 7            Reorganized Debtor or the Disbursing Agent, as applicable, wishes to deposit or hold a

 8            lesser amount than required herein and is unable to reach an agreement with the Holder

 9            of the Disputed Claim on the amount to be deposited or held, the Bankruptcy Court shall

10            fix the amount after notice and hearing. Upon Final Order with respect to a Disputed

11            Claim, the Holder of such Disputed Claim, to the extent it has been determined to be an

12            Allowed Claim, shall receive as soon as reasonably practical that payment or Distribution

13            to which it would have been entitled if the portion of the Claim so allowed had been

14            allowed as of the Effective Date.

15     4.     Late-Filed Claims. No Proof of Claim filed after the Bar Date or, as applicable, the

16            Administrative Claim Bar Date, shall be allowed, and all such Proofs of Claim are hereby

17            disallowed in full. After the Bar Date or the Administrative Bar Date, as applicable, no

18            Creditor shall be permitted to amend any Claim or Proof of Claim to increase the claimed

19            amount and any such amendment shall be disallowed to the extent of the late-filed

20            increase in the claimed amount. Notwithstanding the above, the United States reserves

21            the right to amend or file a Claim or Proof of Claim after the applicable Bar Date

22            consistent with applicable law and the Class 2 and Class 6 Settlement Agreement.

23   F.       Miscellaneous Plan Provisions.

24        1. Post-Effective Date Treatment of Taxes Due United States. From and after the

25            Effective Date:

26            a. The Reorganized Debtor shall (i) segregate and hold separate and apart all moneys

27            withheld from employees or collected from others for Taxes under any internal revenue

28            laws of the United States, (ii) deposit the moneys so withheld or collected in a separate

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 1            bank account in trust for the United States not later than within the calendar week next

 2            after such collecting and withholding, (iii) pay from the separate bank account to the

 3            Internal Revenue Service Insolvency Manager or a delegate as identified in writing by the

 4            Internal Revenue Service, the proper amounts at the time and in the manner prescribed by

 5            applicable internal revenue laws; (iv) timely file all state and federal tax returns required

 6            of the Reorganized Debtor under non-Bankruptcy Code law and regulations; and (v) not

 7            grant a Lien nor create a priority as to payment in the moneys collected for Taxes due the

 8            United States.

 9            b. Any refunds or other credits to which the Reorganized Debtor may become entitled for

10            any reason before payment in full of the Allowed Priority Tax Claims to be paid pursuant

11            to Section 2.3 of the Plan may be credited or applied to the last payment required to be

12            made on the Allowed Priority Tax Claims.

13            c. If the Reorganized Debtor fails to make any payment required pursuant to Section 2.3

14            of the Plan, fails to comply with Section 5.5.1(i), (ii), (iii) or (iv) of the Plan within 21

15            days of the due date for such action, or if the Reorganized Debtor violates Section

16            5.5.1(v) of the Plan, then the IRS Insolvency Manager or delegate may, in his or her sole

17            discretion, declare in writing the Reorganized Debtor in default of the provisions of

18            Sections 2.3 and 5.5 of the Plan. In the event that the Reorganized Debtor fails to cure the

19            default within 21 days of receipt of the writing, the IRS Insolvency Manager or delegate

20            may, in his or her sole discretion, accelerate and declare as immediately due and owing

21            the remaining balance of the Allowed Priority Tax Claim together with any unpaid post-

22            Effective Date Taxes. The Internal Revenue Service may collect any amounts due and

23            owing through the administrative collection provisions of the Internal Revenue Code or

24            by any other procedure authorized by law.

25     2.     Effectuating Documents; Further Transactions; Timing. Debtor and Reorganized

26            Debtor are each authorized to execute, deliver, file, or record such contracts, instruments,

27            releases, and other agreements or documents and to take such actions as may be

28            necessary or appropriate to effectuate and further evidence the terms and conditions of

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 1            the Plan and any securities issued, transferred, or canceled pursuant to the Plan. All

 2            transactions that are required to occur on the Effective Date under the terms of the Plan

 3            shall be deemed to have occurred simultaneously. Debtor and Reorganized Debtor are

 4            authorized and directed to do such acts and execute such documents as are necessary to

 5            implement the Plan.

 6     3.     Exemption From Transfer Taxes. Pursuant to Section 1146 of the Bankruptcy Code:

 7            (i) the issuance, distribution, transfer, or exchange of Estate property; (ii) the creation,

 8            modification, consolidation, or recording of any deed of trust or other security interest,

 9            the securing of additional indebtedness by such means or by other means in furtherance

10            of, or connection with the Plan or the Confirmation Order; (iii) the making, assignment,

11            modification, or recording of any lease or sublease; or (iv) the making, delivery, or

12            recording of a deed or other instrument of transfer under, in furtherance of, or in

13            connection with, the Plan, Confirmation Order, or any transaction contemplated above, or

14            any transactions arising out of, contemplated by, or in any way related to the foregoing

15            shall not be subject to any document recording tax, stamp tax, conveyance fee,

16            intangibles or similar tax, mortgage tax, stamp act or real estate transfer tax, mortgage

17            recording tax, or other similar tax or governmental assessment and the appropriate state

18            of local government officials or agents shall be, and hereby are, directed to forego the

19            collection of any such tax or assessment and to accept for filing or recordation any of the

20            foregoing instruments or other documents without the payment of any such tax or

21            assessment.

22     4.     Revocation or Withdrawal of the Plan.            Debtor reserves the right to revoke or

23            withdraw the Plan at any time prior to its substantial consummation. If the Plan is

24            withdrawn or revoked, then the Plan shall be deemed null and void and nothing contained

25            herein shall be deemed to constitute a waiver or release of any Claims by or against

26            Debtor or any other Person nor shall the withdrawal or revocation of the Plan prejudice in

27            any manner the rights of Debtor or any Person in any further proceedings involving

28            Debtor. In the event the Plan is withdrawn or revoked, nothing set forth herein shall be

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 1            deemed an admission of any sort and the Plan and any transaction contemplated thereby

 2            shall be inadmissible into evidence in any proceeding.

 3     5.     Binding Effect. The Plan shall be binding upon, and shall inure to the benefit of Debtor,

 4            Reorganized Debtor, and the Holders of all Claims and Equity Securities and their

 5            respective successors and assigns.

 6     6.     Governing Law. Except to the extent that the Bankruptcy Code or other federal law is

 7            applicable or as provided in any contract, instrument, release, or other agreement entered

 8            into in connection with the Plan or in any document which remains unaltered by the Plan,

 9            the rights, duties, and obligations of Debtor, Reorganized Debtor, and any other Person

10            arising under the Plan shall be governed by, and construed and enforced in accordance

11            with, the internal laws of the State of North Carolina without giving effect to North

12            Carolina’s choice of law provisions.

13     7.     Modification of Payment Terms. Reorganized Debtor reserves the right to modify the

14            treatment of any Allowed Claim in any manner adverse only to the Holder of such

15            Allowed Claim at any time after the Effective Date upon the prior written consent of the

16            Holder whose Allowed Claim treatment is being adversely affected.

17     8.     Providing for Claims Payments. Distributions to Holders of Allowed Claims shall be

18            made by Reorganized Debtor or the Disbursing Agent, as applicable: (i) at the addresses

19            set forth on the proofs of Claim filed by such Holders (or at the last known addresses of

20            such Holders if no proof of Claim is filed or if Debtor has been notified of a change of

21            address); (ii) at the addresses set forth in any written notices of address changes delivered

22            to Reorganized Debtor after the date of any related proof of Claim; or (iii) at the

23            addresses reflected in the Schedules if no proof of Claim has been filed and Reorganized

24            Debtor has not received a written notice of a change of address.           If any Holder’s

25            distribution is returned as undeliverable, no further distributions to such Holder shall be

26            made unless and until Reorganized Debtor or the Disbursing Agent, as applicable, is

27            notified of such Holder’s then-current address, at which time all missed Distributions

28            shall be made to such Holder without interest. Amounts in respect of undeliverable

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 1            Distributions made through Reorganized Debtor or the Disbursing Agent, as applicable,

 2            shall be returned to Reorganized Debtor or the Disbursing Agent, as applicable, until

 3            such Distributions are claimed. Amounts in respect of undeliverable Distributions made

 4            through Reorganized Debtor or the Disbursing Agent, as applicable, shall be paid to the

 5            Clerk of the Bankruptcy Court pursuant to Bankruptcy Rule 3011, as in the case of a

 6            Chapter 7 liquidation.      Nothing contained in this Plan shall require Debtor or

 7            Reorganized Debtor to attempt to locate any Holder of an Allowed Claim.

 8     9.     Set Offs. Debtor and Reorganized Debtor may, but shall not be required to, set off or

 9            recoup against any Claim and the payments or other distributions to be made pursuant to

10            the Plan in respect of such Claim (before any distribution is made on account of such

11            Claim or Equity Security), claims of any nature whatsoever that the applicable Debtor or

12            Reorganized Debtor may have against the Holder of such Claim to the extent such Claims

13            may be set off or recouped under applicable law, but neither the failure to do so nor the

14            allowance of any Claim hereunder shall constitute a waiver or release by Debtor or

15            Reorganized Debtor of any such Claim that it may have against such Holder.

16     10.    Notices. Any notice required or permitted to be provided under the Plan shall be in

17            writing and served by either: (i) certified mail, return receipt requested, postage prepaid;

18            (ii) hand delivery; or (iii) reputable overnight courier service, freight prepaid, to be

19            addressed as follows:

20
     If to Debtor:                             Dynamic International Airways, LLC
21                                             Attn: Raymond Lawlor
                                               4310 Regency Drive, Suite 100
22                                             High Point, NC 27265
23                                             Tel: (262) 521-1100
                                               Email: rlawlor@flydya.com
24

25

26

27

28

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 1   With a copy to:                           Garman Turner Gordon
                                               Attn: Gerald M. Gordon, Esq.
 2                                             650 White Drive, Suite 100
                                               Las Vegas, NV 89119
 3
                                               Tel: (725) 777-3000
 4                                             Email: ggordon@gtg.legal

 5                                             and

 6                                             Bell, Davis & Pitt, P.A.
                                               Attn: Walter W. Pitt, Jr., Esq.
 7                                             PO Box 21029
                                               Winston-Salem, NC 27120-1029
 8                                             Tel: (336) 714-4110
                                               Email: WPitt@belldavispitt.com
 9
                                               and
10

11                                             Northen Blue, LLP
                                               Attn: John A. Northen, Esq.
12                                             1414 Raleigh Road, Suite 435
                                               Chapel Hill, NC 27517
13                                             Tel: (919) 968-4441
                                               Email: jan@nbfirm.com
14

15       11. Severability. If any provision of the Plan is determined by the Bankruptcy Court to be

16            invalid, illegal, or unenforceable or the Plan is determined to be not confirmable pursuant

17            to Section 1129 of the Bankruptcy Code, the Bankruptcy Court, at the request of Debtor

18            shall have the power to alter and interpret such term to make it valid or enforceable to the

19            maximum extent practicable, consistent with the original purpose of the term or provision

20            held to be invalid, void, or unenforceable, and such term or provision shall then be

21            applicable as altered or interpreted. Notwithstanding any such holding, alteration, or

22            interpretation, the remainder of the terms and provisions of the Plan shall remain in full

23            force and effect and will in no way be affected, impaired, or invalidated by such holding,

24            alteration, or interpretation.    The Confirmation Order shall constitute a judicial

25            determination and shall provide that each term and provision of the Plan, as it may have

26            been altered or interpreted in accordance with the foregoing, is valid and enforceable

27            pursuant to its terms.

28       12. Withholding and Reporting Requirements.             In connection with the Plan and all

                                                      39

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 1            instruments and securities issued in connection therewith and Distributions thereon,

 2            Reorganized Debtor shall comply with all withholding and reporting requirements

 3            imposed by any federal, state, local, or foreign taxing authority and all Distributions

 4            hereunder shall be subject to any such withholding and reporting requirements.

 5            Reorganized Debtor shall be authorized to take any and all action that may be necessary

 6            to comply with such withholding and recording requirements. Notwithstanding any other

 7            provision of the Plan, each Holder of an Allowed Claim that has received a distribution

 8            pursuant to the Plan shall have sole and exclusive responsibility for the satisfaction or

 9            payment of any tax obligation imposed by any governmental unit, including income,

10            withholding, and other tax obligation on account of such distribution.

11       13. Modification and Amendment. Prior to Confirmation, Debtor may alter, amend, or

12            modify the Plan under Section 1127(a) of the Bankruptcy Code at any time. After the

13            Confirmation Date and prior to substantial consummation of the Plan as defined in

14            Section 1101(2) of the Bankruptcy Code, Debtor may, under Section 1127(b), (c), and (d)

15            of the Bankruptcy Code, alter, amend, or modify the Plan or institute proceedings in the

16            Bankruptcy Court to remedy any defect or omission or reconcile any inconsistencies in

17            the Plan, the Disclosure Statement, or the Confirmation Order, to make appropriate

18            adjustments and modifications to the Plan or the Confirmation Order as may be necessary

19            to carry out the purposes and effects of the Plan so long as such proceedings do not

20            materially adversely affect the treatment of Holders of Claims under the Plan.

21                                            VII.
                                POST-EFFECTIVE DATE OPERATIONS
22
              A.       Vesting of Assets. Subject to the provisions of the Plan and as permitted by
23
     Section 1123(a)(5)(B) of the Bankruptcy Code, the Assets, including the Litigation Claims and
24
     right, title, and interest being assumed by Reorganized Debtor in the assumed Executory
25
     Contracts, shall be transferred to Reorganized Debtor on the Effective Date. As of the Effective
26
     Date, all such property shall be free and clear of all Liens, Claims, and Equity Securities except
27
     as otherwise provided herein. On and after the Effective Date, Reorganized Debtor may operate
28

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 1   its business and may use, acquire, and dispose of property and compromise or settle any Claim

 2   without the supervision of or approval of the Bankruptcy Court and free and clear of any

 3   restrictions of the Bankruptcy Code or the Bankruptcy Rules, other than restrictions expressly

 4   imposed by the Plan or the Confirmation Order.

 5            B.       Preservation and Settlement of Litigation Claims. In accordance with Section

 6   1123(b)(3) of the Bankruptcy Code, and except as otherwise expressly provided herein, all

 7   Litigation Claims shall be assigned and transferred to Reorganized Debtor pursuant to Section

 8   5.1 of the Plan. Reorganized Debtor, as the successor in interest to Debtor and the Estate, may

 9   and shall have the exclusive right to sue on, settle, or compromise any and all Litigation Claims,

10   including derivative actions existing against Debtor on the Effective Date. Notwithstanding,

11   however, all Avoidance Actions are waived and extinguished as of the Effective Date.

12            C.       Discharge. On the Effective Date, except as otherwise provided in the Plan, the

13   Debtor shall be discharged from any and all unclassified Claims and Claims in Classes 1, 2, 3, 4,

14   5, and 6, and Equity Securities in Class 7 to the fullest extent provided in sections 524 and 1141

15   of the Bankruptcy Code. The Discharge shall be to the fullest extent provided under section

16   1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code, and, except as otherwise

17   expressly provided by the Plan or the Confirmation Order, all consideration distributed under the

18   Plan and shall be in exchange for, and in complete satisfaction, settlement, discharge, and release

19   of, all Claims and Equity Securities of any kind or nature whatsoever against the Debtor or any

20   of its assets or properties, and regardless of whether any property shall have been distributed or

21   retained pursuant to the Plan on account of such Claims and Equity Securities. Except as

22   otherwise expressly provided by the Plan or the Confirmation Order, upon the Effective Date as

23   to unclassified Claims and Claims in Classes 1, 2, 3, 4, 5, and 6, and Equity Securities in Class 7,

24   the Debtor shall be deemed discharged and released under and to the fullest extent provided

25   under section 1141(d)(1)(A) of the Bankruptcy Code from any and all Claims and Equity

26   Securities of any kind or nature whatsoever, including, but not limited to, demands and liabilities

27   that arose before the Confirmation Date, and all debts of the kind specified in section 502(g),

28   502(h), or 502(i) of the Bankruptcy Code. Nothing in the Plan or Confirmation Order shall

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 1   operate to expand the Debtor’s discharge as provided for in Section 9.3 of the Plan beyond those

 2   allowed by the Bankruptcy Code. Nothing in the Plan or Confirmation Order shall discharge any

 3   Claims of the United States arising after the Confirmation Date.

 4            D.       Compromise and Settlement. The allowance, classification, and treatment of all

 5   Allowed Claims and their respective Distributions under the Plan take into account and/or

 6   conform to the relative priority and rights of the Claims in each Class in connection with any

 7   contractual, legal, and equitable subordination rights relating thereto whether arising under

 8   general principles of equitable subordination, section 510(c) of the Bankruptcy Code, or

 9   otherwise. As of the Effective Date, any and all such rights described in the preceding sentence

10   will be settled, compromised, and released pursuant to the Plan and any and all such Causes of

11   Action related thereto are settled, compromised, and released pursuant hereto.

12            E.       Injunction. From and after the Effective Date, and except as provided in the

13   Plan and the Confirmation Order, all entities that have held, currently hold, or may hold a

14   Claim or an Equity Security or other right of an Equity Security Holder that is terminated

15   pursuant to the terms of the Plan are permanently enjoined from taking any of the

16   following actions on account of any such Claims or terminated Equity Securities or rights:

17   (i) commencing or continuing in any manner any action or other proceeding against

18   Reorganized Debtor or its property; (ii) enforcing, attaching, collecting, or recovering in

19   any manner any judgment, award, decree, or order against Reorganized Debtor or its

20   property; (iii) creating, perfecting, or enforcing any Lien or encumbrance against

21   Reorganized Debtor or its property; (iv) asserting a right of subrogation of any kind

22   against any debt, liability, or obligation due to Reorganized Debtor or its property; and (v)

23   commencing or continuing any action, in any manner or any place, that does not comply

24   with or is inconsistent with the provisions of the Plan or the Bankruptcy Code. Nothing in

25   the Plan or the Confirmation Order will enjoin, impair or otherwise preclude the United

26   States (1) from pursuing any criminal action or any police or regulatory actions; (ii) from

27   pursuing any liability to the United States that is not a Claim; (iii) from exercising any

28   rights of setoff or recoupment; and (v) from pursuing any claim of the United States arising

                                                     42

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 1   after the Confirmation Date.

 2            F.       Releases By Debtor. Pursuant to section 1123(b) of the Bankruptcy Code, for

 3   good and valuable consideration, including the release of Claims by and treatment of the

 4   KMW Leases, the Released Parties’ facilitation of the expeditious reorganization of Debtor

 5   and the implementation of the restructuring contemplated by the Plan, on and after the

 6   Effective Date, the Released Parties are deemed released and discharged by Debtor, the

 7   Reorganized Debtor, and the Estate from any and all claims, obligations, rights, suits,

 8   damages, Causes of Action, remedies and liabilities whatsoever, including any derivative

 9   claims asserted or which could be asserted on behalf of the Debtor, whether known or

10   unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity or

11   otherwise, that the Debtor, the Reorganized Debtor, or and the Estate would have been

12   legally entitled to assert in their own right (whether individually or collectively), based on

13   or relating to, or in any manner arising from, in whole or in part, Debtor, Debtor’s

14   restructuring, Debtor’s Chapter 11 Case, the purchase, sale or rescission of the purchase or

15   sale of any security of the Debtor or the Reorganized Debtor, the subject matter of, or the

16   transactions or events giving rise to, any Claim or Equity Security that is treated in the

17   Plan, the business or contractual arrangements between Debtor and any Released Party,

18   the restructuring of Claims and Equity Securities before or during the Chapter 11 Case,

19   the negotiation, formulation or preparation of the Plan, the Disclosure Statement or related

20   agreements, instruments or other documents, or any other act or omission, transaction,

21   agreement, event or other occurrence relating to the Debtor taking place on or before the

22   Confirmation Date of the Plan, other than claims or liabilities arising out of or relating to

23   any act or omission of a Released Party.

24            G.       Exculpation. Except as provided in this Plan, from and after the Effective

25   Date, neither the Debtor, Reorganized Debtor, Committee, KMW, Solitude, the

26   professionals employed on behalf of the Estate or the Creditor Committee, nor any of their

27   respective present or former members, directors, officers, managers, employees, advisors,

28   attorneys, or agents, shall have or incur any liability, including derivative claims, but

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 1   excluding direct claims, to any Holder of a Claim or Equity Security or any other party-in-

 2   interest, or any of their respective agents, employees, representatives, financial advisors,

 3   attorneys, or Affiliates, or any of their successors or assigns, for any act or omission in

 4   connection with, relating to, or arising out of (from the Petition Date through the Effective

 5   Date), the Chapter 11 Case, the pursuit of confirmation of the Plan, or the consummation

 6   of the Plan, except for gross negligence and willful misconduct, and in all respects shall be

 7   entitled to reasonably rely upon the advice of counsel with respect to their duties and

 8   responsibilities under the Plan or in the context of the Chapter 11 Case

 9            H.       Post-Confirmation Reporting and Quarterly Fees to the UST. Until the entry

10   of the final decree closing the Chapter 11 Case, Reorganized Debtor shall comply with the

11   Bankruptcy Code, Bankruptcy Rules, and Local Rule’s post-confirmation reporting

12   requirements. Additionally, Reorganized Debtor shall file post-confirmation quarterly operating

13   reports detailing receipts and disbursements (along with ending cash balance) for each calendar

14   quarter from the date of confirmation until dismissal, conversion, or entry of a final decree

15   closing the case no later than 20 days after the expiration of the reported quarter.

16                                               VIII.
                                       RETENTION OF JURISDICTION
17
               A.      Jurisdiction.   Notwithstanding the entry of the Confirmation Order and the
18
     occurrence of the Effective Date, the Bankruptcy Court shall retain such jurisdiction over the
19
     Chapter 11 Case and Reorganized Debtor after the Effective Date as is legally permissible,
20
     including jurisdiction to:
21
              1.       Allow, disallow, determine, liquidate, classify, estimate, or establish the priority
22
     or secured or unsecured status of any Claim or Disputed Claim, including the resolution of any
23
     request for payment of any Administrative Claim and the resolution of any and all objections to
24
     the allowance or priority of Claims or Disputed Claims;
25
              2.       Grant or deny any applications for allowance of compensation or reimbursement
26
     of expenses authorized pursuant to the Bankruptcy Code or the Plan for periods ending on or
27
     before the Effective Date;
28

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 1            3.       Resolve any matters related to the assumption, assignment, or rejection of any

 2   Executory Contract or Unexpired Lease to which Debtor or Reorganized Debtor are party and to

 3   hear, determine, and, if necessary, liquidate any Claims arising there from or Cure amounts

 4   related thereto;

 5            4.       Insure that distributions to Holders of Allowed Claims and Equities Securities are

 6   accomplished pursuant to the provisions of the Plan;

 7            5.       Decide or resolve any motions, adversary proceedings, contested or litigated

 8   matters, and any other matters and grant or deny any applications or motions involving Debtor or

 9   Reorganized Debtor that may be pending on the Effective Date or commenced thereafter as

10   provided for by the Plan;

11            6.       Enter such orders as may be necessary or appropriate to implement or

12   consummate the provisions of the Plan and all contracts, instruments, releases, and other

13   agreements or documents created in connection with the Plan or the Disclosure Statement or the

14   Confirmation Order, except as otherwise provided herein;

15            7.       Decide or resolve any cases, controversies, suits, or disputes that may arise in

16   connection with the consummation, interpretation, or enforcement of any Final Order, the Plan,

17   the Confirmation Order, or any Person’s obligations incurred in connection with the Plan or the

18   Confirmation Order;

19            8.       Modify the Plan before or after the Effective Date pursuant to Section 1127 of the

20   Bankruptcy Code and Section 11.1 of the Plan or modify any contract, instrument, release or

21   other agreement or document created in connection with the Plan, the Disclosure Statement, or

22   the Confirmation Order or the Reorganized Debtor; or remedy any defect or omission or

23   reconcile any inconsistency in any Final Order, the Plan, the Confirmation Order, or any

24   contract, instrument, release or other agreement or document created in connection with the Plan,

25   the Disclosure Statement, or the Confirmation Order, in such manner as may be necessary or

26   appropriate to consummate the Plan, to the extent authorized by the Bankruptcy Code;

27            9.       Issue injunctions, enter and implement other orders, or take such other actions as

28   may be necessary or appropriate to restrain interference by any person with consummation,

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 1   implementation, or enforcement of any Final Order, the Plan, or the Confirmation Order, except

 2   as otherwise provided herein;

 3             10.     Enter and implement such orders as are necessary or appropriate if a Final Order

 4   or the Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;

 5             11.     Determine any other matters that may arise in connection with or relate to the

 6   Plan, any Final Order, the Disclosure Statement, the Confirmation Order, or any contract,

 7   instrument, release, or other agreement or document created in connection with the Plan, the

 8   Disclosure Statement, any Final Order, or Confirmation Order, except as otherwise provided

 9   herein;

10             12.     Enter an order closing the Chapter 11 Case;

11             13.     Hear and decide Litigation Claims and continue to hear and decide pending

12   Litigation Claims and any other claim or cause of action of Debtor and Reorganized Debtor; and

13             14.     Decide or resolve any matter over which the Bankruptcy Court has jurisdiction

14   pursuant to Section 505 of the Bankruptcy Code.

15             Nothing in Article 10 of the Plan shall constitute a waiver by any Person of the right to

16   assert that the Bankruptcy Court lacks jurisdiction over any matter set forth in Article 10 of the

17   Plan.

18                                                    IX.

19                                 LIMITATIONS AND RISK FACTORS

20
               In addition to risks discussed elsewhere in this Disclosure Statement, the Plan and the
21
     transactions contemplated by the Plan involve the following limitations and risks, which should
22
     be taken into consideration.
23
               A.      Debtor Has No Duty to Update. The statements in this Disclosure Statement are
24
     made by Debtor as of the date hereof, unless otherwise specified herein. The delivery of this
25
     Disclosure Statement after that date does not imply that there has been no change in the
26
     information set forth herein since that date. Debtor has no duty to update this Disclosure
27
     Statement unless ordered to do so by the Bankruptcy Court.
28

                                                       46

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 1            B.       Information Presented Is Based on Debtor’s Books and Records and Is

 2   Unaudited. While Debtor has endeavored to present information fairly in this Disclosure

 3   Statement, there is no assurance that Debtor’s books and records upon which this Disclosure

 4   Statement is based are complete and accurate. Certain of the financial information contained

 5   herein has not been audited.

 6            C.       Projections and Other Forward-Looking Statements Are Not Assured and

 7   Actual Results Will Vary. Certain information in this Disclosure Statement is forward-looking,

 8   and contains estimates and assumptions that might ultimately prove to be incorrect, and

 9   projections that may differ materially from actual future results.       Debtor believes that the

10   projections of future performance upon which the treatments under the Plan are based are

11   reasonable and fairly represent the future performance of Debtor’s business operations.

12   However, there are uncertainties associated with all assumptions, projections, and estimates, and

13   they should not be considered assurances or guarantees of the amount of funds that will be

14   distributed, the amount of Claims in the various Classes that will be allowed, or the success or

15   results of Reorganized Debtor’s business operations.

16            D.       No Legal or Tax Advice Is Provided to You by This Disclosure Statement.

17   The contents of this Disclosure Statement should not be construed as legal, business, or tax

18   advice. Each Creditor or Holder of an Equity Interest should consult his, her, or its own legal

19   counsel and accountant as to legal, tax, and other matters concerning his, her or its Claim or

20   Equity Securities.

21            E.       No Admissions Made. Nothing contained herein shall constitute an admission of

22   any fact or liability by Debtor or any other party nor shall it be deemed evidence of the tax or

23   other legal effects of the Plan on Debtor or on Holders of Claims.

24            F.       No Waiver of Right to Object or Right to Recover Transfers and Estate

25   Assets. Unless specifically provided in the Plan, a Creditor’s vote for or against the Plan does not

26   constitute a waiver or release of any claims or rights of Debtor (or any other party-in-interest) to

27   object to that Creditor’s Claim, or recover any preferential, fraudulent, or other voidable transfer

28   of Estate assets, regardless of whether any claims or cause of action of Debtor or the Estate are

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 1   specifically or generally identified herein.

 2

 3                                 Bankruptcy Law Risks and Considerations.

 4

 5            G.       Confirmation of the Plan Is Not Assured. Although Debtor believes the Plan

 6   will satisfy all requirements for Confirmation, the Bankruptcy Court might not reach that

 7   conclusion. It is also possible that modifications to the Plan will be required for Confirmation

 8   and that such modifications would necessitate a resolicitation of votes. Confirmation requires,

 9   among other things, a finding by the Bankruptcy Court that it is not likely that there will be a

10   need for further financial reorganization and that the value of distributions to dissenting members

11   of Impaired Classes of Creditors and Holders of Equity Securities would not be less than the

12   value of distributions such Creditors and Holders of Equity Securities would receive if Debtor

13   was liquidated under Chapter 7 of the Bankruptcy Code (“Chapter 7”).             Although Debtor

14   believes that the Plan will not be followed by a need for further financial reorganization and that

15   dissenting members of Impaired Classes of Creditors and Holders of Equity Securities will

16   receive Distributions at least as great as they would receive in a liquidation under Chapter 7,

17   there can be no assurance that the Bankruptcy Court will conclude that these tests have been met.

18            H.       No Assurance of Approval of the Settlement Agreements. There is no

19   assurance that the Settlement Agreements will be approved, which is a condition precedent to

20   Plan confirmation. If the Settlement Agreements are not approved, there will be no Plan

21   confirmation and no Distributions as set forth in the Plan.

22            I.       The Effective Date or Substantial Consummation Date Might Be Delayed or

23   Never Occur.           There is no assurance as to the timing of the Effective Date, Substantial

24   Confirmation Date, or that it will occur. If the respective conditions precedent to the Effective

25   Date and Substantial Consummation Date do not occur, the Confirmation Order will be vacated.

26   In that event, the Holders of Claims and Equity Securities would be restored to their respective

27   positions as of the day immediately preceding the Confirmation Date, and Debtor’s obligations

28   for Claims and Equity Securities would remain unchanged as of such day (except to the extent of

                                                       48

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 1   any post-Effective Date payments).

 2            J.       The Projected Value of Estate Assets in the Event of Liquidation Might Not

 3   Be Realized. In the Best Interests Analysis, Debtor has projected the value of the Estate’s

 4   Assets that would be available for payment of expenses and Distributions to Holders of Allowed

 5   Claims as set forth in the Plan. Debtor has made certain assumptions, as described in the

 6   Liquidation Analysis that should be read carefully.

 7            K.       Allowed Claims in Various Classes May Exceed Projections. Debtor has also

 8   projected the amount of Allowed Claims in each Class in the Best Interests Analysis and in

 9   Section III(A). Certain Classes, and the Classes below them in priority, could be significantly

10   affected by the allowance of Claims in an amount that is greater than projected.

11            L.       No Representations Outside of this Disclosure Statement Are Authorized. No

12   representations concerning or related to Debtor, the Chapter 11 Case, or the Plan are authorized

13   by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure

14   Statement. Any representations or inducements made to secure your acceptance or rejection of

15   the Plan that are other than as contained in, or included with, this Disclosure Statement should

16   not be relied upon by you in arriving at your decision.

17

18                           X. FEDERAL INCOME TAX CONSEQUENCE

19            The Debtor as a limited liability company is a reporting entity with all U.S. federal

20   income tax consequences of the Plan being passed-through to Holders of Equity Securities.

21   However, with regard to Creditors, the consequences of the Plan may be complex and are subject

22   to substantial uncertainties due to the lack of definitive judicial and administrative authority in a

23   number of areas Debtor has not requested a ruling from the IRS or an opinion of counsel with

24   respect to any tax aspects of the Plan. Therefore, no assurance can be given as to the position the

25   IRS will take on the tax consequences of the transactions that are to occur in connection with the

26   Plan both as to Creditors and Holders of Equity Securities.

27            EACH HOLDER OF A CLAIM OR EQUITY SECURITY AFFECTED BY THE PLAN

28   SHOULD CONSULT ITS OWN TAX ADVISOR REGARDING THE SPECIFIC TAX

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 1   CONSEQUENCES OF THE PLAN WITH RESPECT TO THAT HOLDER’S CLAIM OR

 2   EQUITY SECURITY, INCLUDING UNDER ANY APPLICABLE STATE, LOCAL, OR

 3   FOREIGN LAW.

 4                                            XI.
                                    CONFIRMATION OF THE PLAN
 5
         A. Confirmation of the Plan.
 6
              Pursuant to Section 1128(a) of the Bankruptcy Code, the Bankruptcy Court will hold a
 7
     hearing regarding confirmation of the Plan at the United States Bankruptcy Court for the Middle
 8
     District of North Carolina, at the time and place specified in the Order approving the adequacy of
 9
     information contained in this Disclosure Statement and providing notice of certain deadlines and
10
     the confirmation hearing
11
         B. Objections to Confirmation of the Plan.
12
              Section 1128(b) provides that any party-in-interest may object to confirmation of a plan.
13
     Any objections to confirmation of the Plan must be in writing, must state with specificity the
14
     grounds for any such objections, and must be timely filed with the Bankruptcy Court and served
15
     upon counsel for Debtor at the following address:
16
                                        Garman Turner Gordon LLP
17                                       Teresa M. Pilatowicz, Esq.
                                         650 White Drive, Ste. 100
18                                       Las Vegas, Nevada 89119
19                                       Telephone: (725) 777-3000
                                        Email: tpilatowicz@gtg.legal
20
                                                    -and-
21
                                          Bell, Davis & Pitt, P.A.
22                                       Walter W. Pitt, Jr., Esq.
23                                            PO Box 21029
                                      Winston-Salem, NC 27120-1029
24                                       Telephone 336-714-4110
                                      Email: WPitt@belldavispitt.com
25

26            For the Plan to be confirmed, the Plan must satisfy the requirements stated in Section
27   1129. In this regard, the Plan must satisfy, among other things, the following requirements.
28

                                                     50

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 1       C. The Best Interest Test and Feasibility of the Plan.

 2            For the Plan to be confirmed, it must satisfy the requirements discussed below:

 3            1.       Best Interest Test.

 4            Pursuant to Section 1129(a)(7) of the Bankruptcy Code, for the Plan to be confirmed, it

 5   must provide Holders of Allowed Claims or Allowed Equity Securities with at least as much

 6   under the Plan as they would receive in a liquidation of Debtor under Chapter 7 of the

 7   Bankruptcy Code (the “Best Interest Test”). The Best Interest Test with respect to each Impaired

 8   Class requires that each Holder of an Allowed Claim or Allowed Equity Interest in such Class

 9   either: (i) accepts the Plan; or (ii) receives or retains under the Plan property of a value, as of the

10   Effective Date, that is not less than the value such Holder would receive or retain if Debtor were

11   liquidated under Chapter 7. The Bankruptcy Court will determine whether the value to be

12   received under the Plan by the Holders of Allowed Claims in each Class of Creditors or Holders

13   of Allowed Equity Securities equals or exceeds the value that would be allocated to such Holders

14   in a liquidation under Chapter 7. Debtor believes that the Plan meets the Best Interest Test and

15   provides value which is not less than what would be recovered by each Holder of an Impaired

16   Claim or Impaired Equity Interest in a Chapter 7 proceeding for Debtor.

17            2.       Liquidation Analysis.

18            The Liquidation Analysis attached as Exhibit “2” hereto summarizes Debtor’s best

19   estimate of recoveries by Creditors and Holders of Allowed Equity Securities in the event of

20   liquidation of Debtor as of November 8, 2017.

21            Generally, to determine what Holders of Allowed Claims and Allowed Equity Securities

22   in each Impaired Class would receive if Debtor was liquidated, the Bankruptcy Court must

23   determine what funds would be generated from the liquidation of Debtor’s Assets and properties

24   in a Chapter 7 liquidation case for Debtor, which for unsecured Creditors would consist of the

25   proceeds from the disposition of the Assets of Debtor, augmented by the unencumbered Cash

26   held by Debtor upon the completion of the liquidation. Such Cash amounts would be reduced by

27   the costs and expenses of the liquidation and by such additional Administrative Claims and Other

28

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 1   Priority Claims as may result from the Chapter 7 case and the use of Chapter 7 for the purpose of

 2   liquidation.

 3            In a Chapter 7 liquidation, holders of allowed claims receive distributions based on the

 4   liquidation of the non-exempt assets of a debtor. However, there are no exempt assets in the

 5   Chapter 11 Case, and, as such, the distributions would include the same Assets being collected

 6   and liquidated under the Plan, namely the interests of Debtor in the Assets. In this case, the

 7   Assets consists largely of the Debtor’s Claims against Debtor’s managers, which are being

 8   settled through the Plan. In a liquidation scenario, it is unclear whether a Chapter 7 Trustee

 9   would pursue the Debtor’s Claims or, if such claims were pursued, how much estate funds would

10   be spent in such pursuit.

11            Furthermore, the proceeds from the collection and sale of property of the Estate available

12   for distribution to Creditors would be first reduced by the satisfaction of any liens and security

13   interests in the Assets, costs of sale and litigation, any commission payable to the Chapter 7

14   trustee, the trustee’s attorneys’ and accounting fees, as well as the administrative costs of the

15   Chapter 7 estate. In a Chapter 7 case, the Chapter 7 trustee would be entitled to seek a sliding-

16   scale commission based upon the funds distributed by such trustee to secured creditors.

17            The distributions from the liquidation proceeds would be paid Pro Rata according to the

18   amount of the aggregate Claims held by each Creditor in each Chapter 7 case in accordance with

19   the distribution scheme of the Bankruptcy Code. Debtor believes that the most likely outcome

20   under Chapter 7 would be the application of the “absolute priority rule.” Under that rule, no

21   junior Creditor in a Chapter 7 case may receive any distribution until all senior Creditors are paid

22   in full, with interest, and no Holder of an Equity Security may receive any distribution until all

23   Creditors are paid in full.

24            3.       Feasibility.

25            The Bankruptcy Code requires that in order to confirm the Plan, the Bankruptcy Court

26   must find that Confirmation is not likely to be followed by liquidation or the need for further

27   financial reorganization of Debtor (the “Feasibility Test”). For the Plan to meet the Feasibility

28   Test, the Bankruptcy Court must find that Reorganized Debtor will possess the resources and

                                                       52

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 1   working capital necessary to meet their obligations under the Plan. In this case, the Plan requires

 2   approval of a Settlement and Restructuring Agreement that will provide for, among other things,

 3   Exit Financing sufficient to pay the Administration Class, Class 3 Allowed Priority Class, and

 4   Class 5 Distribution Amount. The Settlement and Restructuring Agreement will be approved as

 5   part of Confirmation, making feasibility, at least with respect to that certain Initial Distributions

 6   certain. The remaining Initial Distributions and payments following the Initial Distributions will

 7   be paid by post-Effective Date Operations.         The three-year Projections, attached hereto as

 8   Exhibit “3,” demonstrate sufficient funds to complete all subsequent distributions.

 9            At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan

10   satisfies the statutory requirements for Confirmation.

11            4.       Confirmation of the Plan Without Acceptance By All Impaired Classes: the
                       “Cramdown” Alternative.
12
              Section 1129(b) of the Bankruptcy Code provides that a plan of reorganization may be
13
     confirmed even if it has not been accepted by all impaired classes, as long as at least one
14
     impaired class of claims has accepted it. Consequently, the Bankruptcy Court may confirm the
15
     Plan at Debtor’s request notwithstanding the Plan’s rejection by Impaired Classes, as long as at
16
     least one Impaired Class has accepted the Plan and the Plan “does not discriminate unfairly” and
17
     is “fair and equitable” as to each Impaired Class that has not accepted it.
18
              A plan will be deemed fair and equitable as to a class of secured claims that rejects the
19
     plan if the plan provides: (i)(a) that the holders of claims in the rejecting class retain the lien
20
     securing those claims, whether the property subject to those liens is retained by the debtor or
21
     transferred to another entity, to the extent of the allowed amount of such claims, and (b) that
22
     each holder of a claim in such class receives on account of that claim deferred cash payments
23
     totaling at least the allowed amount of that claim of a value, as of the effective date of the plan,
24
     at least equal to the value of the holder’s interest in the estate’s interest in such property; (ii) for
25
     the sale, subject to Section 363(k) of the Bankruptcy Code, of any property that is subject to the
26
     liens securing the claims included in the rejecting class, free and clear of the liens, with the liens
27
     to attach to the proceeds of the sale, and the treatment of the liens on such proceeds as described
28

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 1   under clause (i) or (ii) of this paragraph; or (iii) for the realization by such holders of the

 2   indubitable equivalent of such claims.

 3            A plan is fair and equitable as to a class of unsecured claims that rejects the plan if the

 4   plan provides: (i) for each holder of a claim included in the rejecting class to receive or retain on

 5   account of such claim property that has a value, as of the effective date of the plan, equal to the

 6   allowed amount of such claim; or (ii) that the holder of any claim or interest that is junior to the

 7   claims of such rejecting class will not receive or retain on account of such junior claim or interest

 8   any property at all.

 9            5.       Accepting Impaired Class.

10            Since at least one Class of Claims is Impaired under the Plan, in order for the Plan to be

11   confirmed, the Plan must be accepted by at least one Impaired Class of Claims (not including the

12   acceptance votes of Insiders of Debtor). For an Impaired Class of Claims to accept the Plan,

13   those representing at least two-thirds in amount and a majority in number of the Allowed Claims

14   voted in that Class must be cast for acceptance of the Plan.

15                                            XII.
                                    ALTERNATIVES TO THE PLAN
16
              Debtor believes that the Plan provides Creditors the best and most complete form of
17
     recovery available. As a result, Debtor believes that the Plan serves the best interests of all
18
     Creditors and parties-in-interest in the Chapter 11 Case.
19
              In formulating and developing the Plan, Debtor explored numerous alternatives. Debtor
20
     believes not only that the Plan fairly adjusts the rights of various Classes of Creditors and
21
     enables the Creditors to realize the greatest sum possible under the circumstances, but also that
22
     rejection of the Plan in favor of some theoretical alternative method of reconciling the Claims of
23
     the various Classes would require, at the very least, an extensive and time-consuming negotiation
24
     process and would not result in a better recovery for any Class.
25
              Under the Bankruptcy Code, a debtor has an exclusive period of one hundred twenty
26
     (120) days and an additional vote solicitation period of sixty (60) days from the entry of the
27
     order for relief during which time, assuming that no trustee has been appointed by the
28

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 1   Bankruptcy Court, only a debtor may propose a plan of reorganization. After the expiration of

 2   the initial 180-day period and any extensions thereof, the debtor or any other party-in-interest

 3   may propose a different plan, unless the Bankruptcy Court has extended the exclusivity periods.

 4            If a plan of reorganization cannot be confirmed, a Chapter 11 case may be converted to a

 5   Chapter 7 case, in which a trustee would be elected or appointed to liquidate the assets of the

 6   debtor for distribution to creditors in accordance with the priorities established by the

 7   Bankruptcy Code. For a discussion of the effect that a Chapter 7 liquidation in the Chapter 11

 8   Case would have on recovery by Creditors, see Section XI.C.2. and Exhibit “2.”

 9            As previously stated, Debtor believes that liquidation under Chapter 7 would result in a

10   substantially reduced recovery of funds by the Creditors of the Estate because of: (i) additional

11   administrative expenses involved in the appointment of a trustee for Debtor and attorneys and

12   other professionals to assist such trustee; and (ii) additional expenses and Claims, some of which

13   would be entitled to priority, which would be generated during the liquidation. Accordingly,

14   Debtor believes that Holders of all Classes of Claims will receive substantially smaller

15   distributions in Chapter 7 liquidation than under the Plan and therefore encourage all Holders of

16   Impaired Claims that are entitled to vote on the Plan to cast ballots accepting the Plan.

17                                           XIII.
                            PREFERENCE AND OTHER AVOIDANCE ACTIONS
18
              A bankruptcy trustee (or the debtor as a debtor-in-possession) may avoid as a preference
19
     a transfer of property made by a debtor to a creditor on account of an antecedent debt while a
20
     debtor was insolvent, where that creditor receives more than it would have received in a
21
     liquidation of the entity under Chapter 7 had the payment not been made, if: (i) the payment was
22
     made within ninety (90) days before the date the bankruptcy case was commenced; or (ii) the
23
     creditor is found to have been an “insider,” as defined in the Bankruptcy Code, within one year
24
     before the commencement of the bankruptcy case. A debtor is presumed to have been insolvent
25
     during the ninety (90) days preceding the commencement of the case.
26
              A bankruptcy trustee (or the debtor as a debtor-in-possession) may avoid as a fraudulent
27
     transfer a transfer of property made by a debtor within two years (and under applicable
28

                                                      55

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 1   California law, four years) before the date the bankruptcy case was commenced if the debtor: (i)

 2   received less than reasonably equivalent value in exchange for such transfer; and (ii) was

 3   insolvent on the date of such transfer or became insolvent as a result of such transfer, such

 4   transfer left the debtor with an unreasonably small capital, or the debtor intended to incur debts

 5   that would be beyond the debtor’s ability to pay as such debts matured.

 6            Debtor does not believe any such viable actions with likely recovery exist and does not

 7   intend to pursue any such actions as part of the Plan.

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 2                                           XIV.
                                 RECOMMENDATION AND CONCLUSION
 3
               The Plan provides the best possible recovery for all parties-in-interest. Accordingly,
 4
     Debtor recommends that all Creditors who are entitled to vote on the Plan timely submit their
 5
     votes to accept the Plan.
 6
                       DATED this 15th day of December 2017
 7
                                                  DYNAMIC INTERNATIONAL AIRWAYS, LLC
 8                                                A Virginia limited liability company,
 9

10
                                                  __________________________
11                                                By: Ray Lawlor
                                                  Its: Chief Executive Officer
12

13
     Prepared and Submitted:
14
     GARMAN TURNER GORDON
15

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26

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 5
                                 UNITED STATES BANKRUPTCY COURT
 6                          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                       GREENSBORO DIVISION
 7
      IN RE:                               ))
 8                                         ))
      DYNAMIC INTERNATIONAL                )      Case No. 17-10814
 9    AIRWAYS, LLC                         )      Chapter 11
                                           ))
10                Debtor.                  ))
      ____________________________________))
11

12                   DEBTOR’S THIRD AMENDED PLAN OF REORGANIZATION
                     DEBTOR'S
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                                 Assumptionor        or Rejection
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          6.3. Cure          Defaults.Reorganized
                                                ReorganizedDebtor      Debtorshall  shallCure Cureany   anydefaults
                                                                                                                 defaultsrespecting
                                                                                                                                respecting each    each
22        Executory Contract or Unexpired Lease assumed pursuant to Section 6.1 of this Plan upon the
          latest of: (i) the Effective Date or as soon thereafter as practicable;            practicable; (ii) such dates as may be
23        fixed
          fixed by thethe Bankruptcy
                           Bankruptcy Court   Court or agreed agreed upon  upon by   by Debtor,
                                                                                           Debtor, and   and after
                                                                                                                 after thethe Effective
                                                                                                                                 Effective Date, Date,
          Reorganized Debtor; or (iii) the fourteenth (14m)             (14th) Business Day after the entry of a Final Order
24        resolving any dispute
          resolving        dispute regarding:
                                      regarding: (a)    (a) a Cure amount; (b) the ability of Debtor or Reorganized                   Reorganized
                                “adequate assurance of future performance"
          Debtor to provide "adequate                                             performance” under the Executory        Executory Contract
25        or Unexpired Lease assumed pursuant to this Plan in accordance with Section 365(b)(1) of the
          Bankruptcy Code;
          Bankruptcy     Code; or or (c) any matter pertaining pertaining to assumption,
                                                                                      assumption, assignment,
                                                                                                           assignment, or       or the
                                                                                                                                    the Cure
                                                                                                                                          Cure of a
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                      1             Dynamic
                                    Dynamic International      Airways, LLC,
                                                International Airways,   LLC, a Virginia limited liability
                                                                                                       liability company
                                                                                                                  company ("Debtor"),
                                                                                                                             (“Debtor”),
                            debtor and
                            debtor  and debtor-in-possession,
                                          debtor-in-possession, proposes
                                                                    proposesthisthisplan
                                                                                     plan of  reorganization (the
                                                                                           of reorganization       (the “Plan”)
                                                                                                                        "Plan") for   the
                                                                                                                                 for the
                      2     resolution of
                            resolution     Debtor’s outstanding
                                        of Debtor's    outstanding Claims
                                                                     Claims and    Equity Securities
                                                                              and Equity    Securities (as    these terms are defined
                                                                                                          (as these              defined
                            herein). All
                            herein).  AllCreditors,
                                           Creditors, Equity
                                                       Equity Security
                                                                Security Holders
                                                                          Holders (as both
                                                                                        both terms
                                                                                              terms are
                                                                                                      are defined
                                                                                                            defined herein),
                                                                                                                      herein), and other
                                                                                                                                    other
                      3     parties-in-interest  should  refer
                            parties-in-interest should refer toto the Disclosure   Statement   (as this
                                                                      Disclosure Statement (as this term term  is  defined  herein)
                                                                                                                            herein) for a
                      4     discussion of Debtor’s
                            discussion                history, assets, historical financial data, and for a summary and analysis
                                           Debtor's history,
                                                       related matters.
                            of this Plan and certain related             All Holders
                                                                matters. All   Holders of
                                                                                        of Claims
                                                                                           Claims against
                                                                                                    against and
                                                                                                              and Equity
                                                                                                                    Equity Securities in
                      5     Debtor are encouraged
                            Debtor       encouraged to read this Plan,
                                                                     Plan, the
                                                                            the Disclosure
                                                                                Disclosure Statement,
                                                                                             Statement, and the the related
                                                                                                                     related solicitation
                                                                                                                             solicitation
                            materials in their entirety before voting to accept or reject this Plan.
                      6
                                    Subject
                                    Subject to the restrictions
                                                   restrictions on modifications
                                                                   modifications set
                                                                                   set forth in Section 1127 of the
                                                                                                                the Bankruptcy
                                                                                                                    Bankruptcy
                      7     Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in Article 11 to
                                               expressly reserves
                            this Plan, Debtor expressly   reserves the
                                                                   the right to alter, amend,
                                                                                       amend, strike, withdraw,
                                                                                                      withdraw, or modify this
                      8
                            Plan one or more times before its substantial consummation.
                      9
                            1.      DEFINITIONS, RULES OF INTERPRETATION, AND COMPUTATION OF
                    10              TIME

                    11          1.1.        Definitions. For purposes of this Plan, except as expressly provided or unless the
                                     otherwise requires,
                            context otherwise   requires, all capitalized
                                                              capitalized terms not otherwise defined shall have the meaningsmeanings
                    12      ascribed to
                            ascribed  to them
                                         them in
                                               in this
                                                  this Article
                                                       Article 1.   Any term
                                                                1. Any   term used
                                                                              used in
                                                                                    in this
                                                                                        this Plan
                                                                                             Plan that
                                                                                                    that is
                                                                                                         is not
                                                                                                             not defined
                                                                                                                 defined herein, but is
                            defined in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to that
                    13
                                         Bankruptcy Code
                            term in the Bankruptcy     Code or
                                                             or the
                                                                 the Bankruptcy
                                                                     Bankruptcy Rules,
                                                                                 Rules, in in that
                                                                                               that order
                                                                                                    order ofof priority. Whenever the
                                                                                                               priority. Whenever
                    14      context requires, such terms shall include the plural as well as the singular, the masculine gender
                            shall include the feminine,
                                              feminine, and
                                                         and the
                                                               the feminine
                                                                   feminine gender
                                                                             gender shall
                                                                                     shall include
                                                                                            include the
                                                                                                      the masculine.
                                                                                                           masculine. As used in this
                    15      Plan, the following
                    16              1.1.1. Administrative
                                            Administrative Claim.
                                                                Claim. A Claim for any cost or expense of administration of the
                            Chapter 11 Case allowed under Sections 503(b) or 507(b) of the Bankruptcy Code and entitled to
                    17
                            priority under Section
                                            Section 507(a)(1)
                                                     507(a)(1) of  of the Bankruptcy
                                                                          Bankruptcy Code,
                                                                                         Code, including,
                                                                                               including, but
                                                                                                           but not
                                                                                                               not limited
                                                                                                                   limited to: (i) fees
                    18      payable pursuant to 28 U.S.C. § 1930; (ii) the actual  actual and necessary
                                                                                              necessary costs and expenses incurred
                                      Petition Date of
                            after the Petition        of preserving
                                                         preserving the the Estate,
                                                                             Estate, including
                                                                                      including wages,
                                                                                                wages, salaries,
                                                                                                        salaries, or commissions
                                                                                                                     commissions for
                    19      services rendered after the commencement of the Chapter 11 Case; (iii) all Taxes arising between
                            the Petition Date and the Effective Date, including those Taxes for which returns are not yet due,
                    20                   Professional Fees approved by the Bankruptcy
                            and (iv) all Professional                               Bankruptcy Court pursuant
                                                                                                       pursuant to interim and final
                            allowances. To
                            allowances.   To the
                                              the extent
                                                   extent that
                                                           that aa Claim
                                                                   Claim isis allowed
                                                                               allowed pursuant
                                                                                        pursuant to
                                                                                                 to Sections
                                                                                                    Sections 365(d)(3)
                                                                                                              365(d)(3) and (d)(5) of
                    21
                                Bankruptcy Code,
                            the Bankruptcy   Code, such
                                                     such Claim
                                                            Claim shall also be deemed
                                                                                     deemed an "Administrative
                                                                                                  “Administrative Claim"
                                                                                                                    Claim” under this
                    22      paragraph.

                    23                      Administrative Claim
                                    1.1.2. Administrative     Claim Bar
                                                                     Bar Date. The end of the first Business Day occurring on
                            or after the Thirtieth (30th) calendar day after the Effective Date.
                    24
                                  1.1.3. Affiliate.
                                  1.1.3. Affiliate.       This term has
                                                          This term has the
                                                                        the meaning
                                                                            meaning set forth in
                                                                                    set forth in Section
                                                                                                 Section 101(2)
                                                                                                         101(2) of
                                                                                                                of the
                                                                                                                    the
                    25      Bankruptcy Code.
                    26             1.1.4. Agencies.
                                   1.1.4.  Agencies. Collectively, the Transportation Security Agency, U.S. Department of
                    27      Agriculture, and U.S. Customs and Border Protection.

                    28
 Garman Turner
 Garman  Turner Gordon
                 Gordon
          LLP
          LLP
650 White
650 White Drive,
          Drive, Ste.
                 Ste. 100
                      100
  Las Vegas,
 Las  Vegas, NV
             NV 89119
                 89119
     725-777-3000
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                      1             1.1.5.
                                    1.1.5. Allowed
                                           Allowed Administrative
                                                     Administrative Claim.
                                                                        Claim. AnAn Administrative
                                                                                      Administrative Claim
                                                                                                       Claim asas to which no
                                                                                                                  to which
                            objection has been filed or, if an objection has been filed, has been resolved by the allowance of
                      2     such Administrative Claim by a Final Order of the Bankruptcy Court; or which requires payment
                            in the ordinary course and as to which there is no Final Order of the Bankruptcy
                                                                                                    Bankruptcy Court in effect
                      3     which prohibits any such payment.
                      4              1.1.6.
                                     1.1.6. Allowed
                                               Allowed Claim.
                                                          Claim. A Claim or any portion thereofthereof that
                                                                                                        that is
                                                                                                              is not
                                                                                                                 not aa Disputed
                                                                                                                        Disputed Claim:
                                                                                                                                  Claim: (i)
                      5              allowed pursuant:
                            that is allowed     pursuant: (w)(w) to
                                                                  to this Plan or Final
                                                                                     Final Order of the
                                                                                                     the Bankruptcy
                                                                                                          Bankruptcy Court,
                                                                                                                          Court, (x)
                                                                                                                                  (x) to any
                            stipulation executed
                                          executed prior
                                                      prior to the Confirmation Date and approved by the Bankruptcy Court, (y)
                      6        any stipulation
                            to any   stipulation with Debtor or Reorganized
                                                                       Reorganized Debtor,
                                                                                       Debtor, as applicable,
                                                                                                   applicable, executed
                                                                                                                  executed onon or after the
                            Confirmation Date and approved by the Bankruptcy Court, or (z) to any contract, instrument, or
                      7     other agreement entered into or assumed in connection herewith; (ii) proof of which, requests for
                            payment of which, or application
                                                        application for allowance
                                                                           allowance ofof which,
                                                                                          which, was
                                                                                                  was filed
                                                                                                      filed or deemed
                                                                                                                  deemed to be filed on or
                      8
                            before the Bar Date for filing proofs of Claim or requests   requests for payment of Claims of such type
                      9     against Debtor;
                            against   Debtor; or or (iii)
                                                    (iii) if
                                                          if no proof
                                                                 proof of Claim
                                                                             Claim is filed, which
                                                                                             which has been or hereafter
                                                                                                                      hereafter is listed
                                                                                                                                   listed by
                            Debtor in the Schedules as liquidated in amount and not disputed or contingent; and in the case
                    10      of (ii) or
                                    or (iii),
                                        (iii), no
                                               no objection
                                                   objection toto the
                                                                   the allowance
                                                                        allowance thereof
                                                                                    thereof has
                                                                                            has been
                                                                                                 been interposed
                                                                                                       interposed within
                                                                                                                      within the
                                                                                                                             the applicable
                                                                                                                                  applicable
                            period of limitation
                            period       limitation fixed          this Plan,
                                                       fixed by this     Plan, the
                                                                                the Bankruptcy
                                                                                    Bankruptcy Code, the Bankruptcy
                                                                                                                Bankruptcy Rules,
                                                                                                                              Rules, or the
                    11      Bankruptcy Court or the Bankruptcy Court has entered a Final Order Allowing all or a portion of
                            such Claim.
                    12

                    13              1.1.7. Allowed
                                    1.1.7.  Allowed Equity
                                                       Equity Security.
                                                              Security. An Equity Security as of the Record Date that: (i) is
                            allowed pursuant
                                     pursuant to this Plan; (ii) is not disputed
                                                                        disputed by Debtor or Reorganized Debtor, as the case
                    14      may be; or (iii) if aa Disputed
                                                   Disputed Equity
                                                            Equity Security, which Equity Security has been allowed in whole
                            or in part by Final Order of the Bankruptcy Court.
                    15
                                    1.1.8.
                                    1.1.8. APHIS.
                                           APHIS. The Animal Plant Health Inspection Service.
                    16
                                    1.1.9. Assets.
                                    1.1.9. Assets. All ofof the
                                                             the assets,
                                                                  assets, property,
                                                                           property, interests,
                                                                                      interests, and
                                                                                                 and effects,
                                                                                                     effects, real
                                                                                                              real and
                                                                                                                    and personal,
                                                                                                                         personal,
                    17
                            tangible and intangible, wherever situated, of Debtor, as they exist on the Effective Date.
                    18
                                    1.1.10. Avoidance                  avoidance, recovery, subordination,
                                            Avoidance Actions. All avoidance,                subordination, and other similar
                                                                                                                       similar
                    19      actions preserved for the Estate under the Bankruptcy Code, including but not limited to those set
                            forth in Sections 510, 541, 542, 543, 544, 545, 547, 548, 549, 550, 551, 553(b), and 724(a) of the
                    20      Bankruptcy Code,
                            Bankruptcy    Code, regardless
                                                regardless of
                                                            of whether
                                                               whether or
                                                                        or not
                                                                           not such action has been commenced
                                                                               such action           commenced prior
                                                                                                                  prior to the
                            Effective Date.
                    21
                                   1.1.11. Ballot. The form of ballot or ballots that will be
                                                                                           be distributed
                                                                                               distributed with the Disclosure
                                                                                                                    Disclosure
                    22
                            Statement to Holders of Claims entitled to vote under this Plan in connection with the solicitation
                    23      of acceptances of this Plan.

                    24              1.1.12. Bankruptcy Code. The Bankruptcy Reform Act of 1978, Title 11, United States
                            Code, as applicable to the Chapter 11 Case, as now in effect or hereafter amended, 11 U.S.C. §§
                    25      101, et seq.
                    26             1.1.13. Bankruptcy Court. The United States Bankruptcy Court for the Middle District
                               North Carolina
                            of North  Carolina having
                                               having jurisdiction
                                                       jurisdictionover
                                                                    overthe
                                                                          theChapter
                                                                             Chapter11 11Case
                                                                                           Caseand,
                                                                                                 and, to
                                                                                                       to the extent of
                                                                                                          the extent    the
                                                                                                                     of the
                    27
                            withdrawal of any reference under
                            withdrawal                  under Section
                                                              Section 157
                                                                      157 of Title 28 of the United States Code and/or the
                    28
 Garman Turner
 Garman  Turner Gordon
                 Gordon
          LLP
          LLP
650 White
650 White Drive,
          Drive, Ste.
                 Ste. 100
                      100
  Las Vegas,
 Las  Vegas, NV
             NV 89119
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     725-777-3000
      725-777-3000                                                                 2
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                      1     General Order
                            General  Order of      United States
                                            of the United  States District
                                                                   District Court for the
                                                                                      the Middle
                                                                                          Middle District
                                                                                                 District of
                                                                                                          of North
                                                                                                             North Carolina,
                                                                                                                   Carolina,
                            pursuant to Section 151 of Title 28 of the United States Code.
                      2
                                    1.1.14. Bankruptcy Rules. Collectively, the Federal Rules of Bankruptcy Procedure, as
                      3     applicable to the Chapter 11 Case, promulgated
                            applicable                         promulgated under
                                                                            under 28 U.S.C. § 2075 and the general,
                                                                                                              general, local,
                            and chamber rules of the Bankruptcy Court as applicable to the Chapter 11 Case, as now in effect
                      4
                            or hereinafter amended.
                      5
                                    1.1.15. Bar Date. The date or dates established by the Bankruptcy Court, the Bankruptcy
                      6     Code, and/or the Bankruptcy Rules
                                                         Rules for the filing of proofs of Claim for all Creditors,
                                                                                                         Creditors, excepting
                            therefrom, Administrative Claims.
                      7
                                   1.1.16. Business                            Saturday, Sunday,
                                           Business Day. Any day, other than a Saturday, Sunday, or "legal
                                                                                                    “legal holiday"
                                                                                                           holiday” (as
                      8     defined in Bankruptcy Rule 9006(a)).
                      9             1.1.17. Cash. The legal tender of the United States of America or the equivalent thereof,
                    10      including bank deposits, checks, negotiable instruments, wire transfers of immediately available
                            funds, or other cash equivalents.
                    11
                                     1.1.18. Causes
                                     1.1.18.  Causes of  Action. All
                                                      of Action.      All actions,
                                                                          actions, causes
                                                                                   causes ofof action,
                                                                                                action, Litigation
                                                                                                         Litigation Claims,
                                                                                                                     Claims, claims,
                                                                                                                              claims,
                    12      liabilities, obligations, rights,  suits, debts,  damages,   judgments,   remedies,    demands,
                            liabilities, obligations, rights, suits, debts, damages, judgments, remedies, demands, setoffs,   setoffs,
                            defenses, recoupments,
                            defenses,    recoupments, crossclaims,
                                                        crossclaims, counterclaims,
                                                                         counterclaims, third-party     claims, indemnity
                                                                                          third-party claims,     indemnity claims,
                                                                                                                              claims,
                    13      contribution claims
                            contribution    claims and        other claims
                                                   and any other     claims disputed
                                                                             disputed or
                                                                                      or undisputed,
                                                                                           undisputed, suspected
                                                                                                         suspected oror unsuspected,
                                                                                                                         unsuspected,
                            foreseen or unforeseen, direct or indirect, choate or inchoate, existing or hereafter arising, in law,
                    14
                            equity or otherwise, based in whole or in part upon any act or omission or other event occurring
                    15      prior to the Petition Date or during the course of the Chapter 11 Case.

                    16             1.1.19. Chapter 11 Case. The case under Chapter 11 of the Bankruptcy Code involving
                            Debtor, having
                            Debtor,  having case
                                             case number
                                                  number 17-10814,
                                                          17-10814, including
                                                                     including all
                                                                               all adversary
                                                                                    adversary proceedings
                                                                                               proceedings pending
                                                                                                           pending in
                    17      connection therewith.
                    18              1.1.20. Claim. Any right to payment from Debtor, whether  whether or not such right is reduced
                                judgment, liquidated,
                            to judgment,     liquidated, unliquidated,
                                                            unliquidated, fixed,
                                                                           fixed, contingent,
                                                                                   contingent, matured,
                                                                                                  matured, unmatured,
                                                                                                             unmatured, disputed,
                                                                                                                           disputed,
                    19
                            undisputed, legal, equitable,
                                                equitable, secured,
                                                             secured, or unsecured
                                                                         unsecured arising
                                                                                    arising at any time before the Effective Date
                    20         relating to any
                            or relating     any event
                                                 event that
                                                        that occurred
                                                              occurred before
                                                                        before the Effective
                                                                                    Effective Date,
                                                                                               Date, or any right to anan equitable
                                                                                                                           equitable
                            remedy for breach of performance
                                                    performance if such breach
                                                                           breach gives
                                                                                   gives rise to a right of payment
                                                                                                            payment from Debtor,
                    21      whether or
                            whether           such right
                                      or not such   right to
                                                           to an
                                                               anequitable
                                                                  equitable remedy
                                                                             remedy isis reduced
                                                                                          reduced to
                                                                                                   tojudgment,
                                                                                                      judgment, fixed,
                                                                                                                 fixed, contingent,
                                                                                                                         contingent,
                            matured, unmatured, disputed, undisputed, secured, or unsecured.
                    22
                                    1.1.21. Class. A category of Holders of Claims or Equity Securities as classified in this
                    23
                            Plan.
                    24
                                   1.1.22. Class
                                           Class 5 Distribution
                                                    Distribution Amount.
                                                                   Amount. Cash
                                                                              Cash in an amount
                                                                                         amount equal to TwoTwo Million
                                                                                                                  Million and
                    25      Seven
                            Seven Hundred
                                   Hundred andand Fifty yy Thousand
                                                            Thousand (2,750,000.00)
                                                                      (2,750,000.00) Dollars,
                                                                                     Dollars, less
                                                                                               less the aggregate
                                                                                                        aggregate amount
                                                                                                                   amount of
                            Allowed Professional   Fees
                                     Professional Fees   of the Creditor Committee  approved  and
                                                                         Committee approved and    paid prior to the Effective
                                                                                                                     Effective
                    26      Date, to be distributed
                            Date,       distributed to the Disbursing
                                                            Disbursing Agent
                                                                       Agent on the Effective
                                                                                     Effective Date to be deposited
                                                                                                           deposited into the
                            Disbursing Agent Account.
                    27

                    28
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                      1             1.1.23. Class
                                    1.1.23. Class 2 andand Class
                                                             Class 66Settlement
                                                                       Settlement Agreement.
                                                                                     Agreement. The       Class 22 and
                                                                                                   The Class       and Class
                                                                                                                         Class 6
                            Settlement
                            Settlement Agreement
                                        Agreement by by and
                                                          and between
                                                              between the Debtor, [Kenneth Woolley]
                                                                                              Woolley] and DOJ regarding the
                      2     Claims of the Agencies. Pursuant to the Class 2 and Class 6 Settlement Agreement, (i) the Claim
                                   U.S. Department
                            of the U.S.  Department of Agriculture
                                                          Agriculture regarding the APHIS Claim shall be bifurcated
                                                                                                             bifurcated between
                      3     an Allowed Secured Claim being treated
                                                                 treated in Class 2 and
                                                                                     and an
                                                                                         an Allowed
                                                                                            Allowed General
                                                                                                      General Unsecured
                                                                                                               Unsecured Claim
                      4     being treated in Class 5, (ii) the Agencies'
                                                               Agencies’ Residual
                                                                           Residual Governmental
                                                                                     Governmental Unit Claims shall be treated
                            solely in Class 6, and (iii) the Agencies'
                                                             Agencies’ Governmental
                                                                        Governmental Unit Penalty Claims shall be included as
                      5     Allowed General
                            Allowed   General Unsecured
                                                UnsecuredClaims
                                                             ClaimsininClass
                                                                        Class5.5. A copy
                                                                                    copy of the
                                                                                            the Class
                                                                                                Class 22 and
                                                                                                         and Class
                                                                                                             Class 66 Settlement
                                                                                                                      Settlement
                            Agreement will be attached to Plan Supplement.
                      6
                                     1.1.24. Collateral. All the collateral as described in the Loan Documents.
                      7
                                   1.1.25. Confirmation. The entry by the Bankruptcy Court of the Confirmation Order on
                      8     the docket of the Chapter 11 Case.
                      9
                                   1.1.26. Confirmation
                                           Confirmation Date. The The date upon
                                                                            upon which
                                                                                 which the
                                                                                        the Bankruptcy
                                                                                            Bankruptcy Court
                                                                                                       Court enters
                                                                                                             enters the
                                                                                                                    the
                    10      Confirmation Order on the docket of the Chapter 11 Case.

                    11             1.1.27. Confirmation Hearing. The duly-noticed initial hearing held by the Bankruptcy
                            Court to confirm this Plan pursuant to Section 1128 of the Bankruptcy Code, and any subsequent
                    12      hearing held by the Bankruptcy Court from time to time to which the initial hearing is adjourned
                            without further notice other than the announcement
                                                                  announcement of the adjourned dates at the
                                                                                                           the Confirmation
                                                                                                               Confirmation
                    13      Hearing or by a subsequent order of the Bankruptcy Court.
                    14
                                    1.1.28. Confirmation
                                            Confirmation Order. The order entered by the
                                                                                       the Bankruptcy
                                                                                           Bankruptcy Court
                                                                                                      Court confirming
                                                                                                            confirming
                    15      this Plan pursuant to Section 1129 of the Bankruptcy Code.

                    16            1.1.29. Contingent Claim. A Claim which is contingent, unmatured, or unliquidated on
                            or immediately before the Confirmation Date.
                    17
                                   1.1.30. Convenience                  provided for in
                                           Convenience Claim. As provided            in Section
                                                                                        Section 1122(b)
                                                                                                1122(b) of
                                                                                                        of the
                                                                                                            the Bankruptcy
                                                                                                                Bankruptcy
                    18      Code, a General
                                     General Unsecured
                                             Unsecured Claim
                                                         Claim for which the Allowed
                                                                               Allowed amount
                                                                                         amount of such
                                                                                                   such General
                                                                                                        General Unsecured
                                                                                                                 Unsecured
                            Claim is less than
                            Claim         than or
                                               or equal
                                                  equal to
                                                         to $2000
                                                             $2000 or
                                                                   or an
                                                                       anAllowed
                                                                           Allowed General
                                                                                   General Unsecured
                                                                                            Unsecured Claim for which the
                    19
                            Holder thereof makes the Convenience Class Election.
                    20
                                     1.1.31. Convenience
                                             Convenience Class    Election. The
                                                            Class Election.  The election
                                                                                 election on
                                                                                          on the
                                                                                             the Ballot
                                                                                                 Ballot by
                                                                                                        by aa Holder
                                                                                                              Holder of
                                                                                                                     of a
                    21      Allowed General Unsecured Claim greater than $2000 to participate in the Convenience Class in
                            full satisfaction of the Holder’s
                                                     Holder's Allowed General Unsecured Claim.
                    22
                                     1.1.32. Creditor. Any
                                                       Any Holder
                                                           Holder of   Claim, whether
                                                                  of a Claim, whether or not such
                                                                                             such Claim
                                                                                                  Claim is an
                                                                                                           an Allowed
                                                                                                              Allowed
                    23      Claim.
                    24
                                   1.1.33. Creditor Committee. The Official Committee of Unsecured Creditors appointed
                    25      pursuant to Section 1102(a)(1) of the Bankruptcy Code on August 3, 2017 [ECF 98].

                    26             1.1.34. Cure. The distribution on the Effective Date or as soon thereafter
                                                                                                    thereafter as practicable
                            of Cash,
                               Cash, or such
                                         such other
                                               other property
                                                     property as  may
                                                               as may  be agreed  upon
                                                                          agreed upon    by the parties or ordered
                                                                                            the  parties     ordered by the
                                                                                                                          the
                    27      Bankruptcy Court, with respect to the assumption of an Executory Contract or Unexpired Lease
                            pursuant to Section 365(b) of the Bankruptcy Code, or with respect to any other debt instrument,
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                      1                                  all unpaid
                            in an amount equal to: (i) all   unpaid monetary
                                                                     monetary obligations due under such executory contract or
                            unexpired lease or required to pay to bring current the debt instrument and thereby reinstate the
                      2     debt and return to the pre-default conditions to the extent such obligations are enforceable under
                            the Bankruptcy
                            the   Bankruptcy Code
                                               Code or   applicable non-bankruptcy
                                                     or applicable    non-bankruptcylaw;  law;and
                                                                                                and(ii)
                                                                                                    (ii) with
                                                                                                         with respect
                                                                                                              respect to       debt
                                                                                                                       to any debt
                      3     instrument,
                            instrument,  if a claim arises  from  a debtor’s  failure to perform  any  non-monetary
                                                                    debtor's failure to perform any non-monetary      obligation as
                      4     set forth in Sections 1124(2)(C) and 1124(2)(D) of the Bankruptcy Code, payment of the dollar
                            amount which compensates the Holder of such a claim for any actual pecuniary loss incurred by
                      5     such Holder as a result of any such failure and the dollar amount of the Claim that is established
                                 the Holder's
                            by the   Holder’s sworn
                                                sworn declaration
                                                        declaration and
                                                                      and accompanying
                                                                           accompanying admissible
                                                                                             admissible evidence
                                                                                                          evidence filed  with the
                                                                                                                    filed with  the
                      6     Bankruptcy Court
                            Bankruptcy    Court and
                                                  and served
                                                      served upon
                                                               upon Debtor’s
                                                                     Debtor's counsel
                                                                                counsel onon or  before such
                                                                                              or before       date ordered
                                                                                                         such date ordered by the
                            Bankruptcy Court for the filing of objections to the disclosure statement.
                      7
                                   1.1.35. Debtor.
                                   1.1.35.            DynamicInternational
                                            Debtor. Dynamic     International Airways,
                                                                                Airways, LLC.,
                                                                                           LLC., the debtor
                                                                                                     debtor and
                                                                                                            and debtor-in-
                                                                                                                 debtor-in-
                      8
                            possession in the Chapter 11 Case pursuant to Section 1108 of the Bankruptcy Code.
                      9
                                   1.1.36. DIP Loan Orders. Collectively, the (i) Interim Order (1) Authorizing Debtor to
                    10      Obtain  Post-Petition Financing,
                            Obtain Post-Petition    Financing, (2)
                                                                 (2) Granting
                                                                     Granting Administrative
                                                                                AdministrativeExpense,
                                                                                                Expense,andand (3)  Setting and
                                                                                                               (3) Setting
                            Prescribing  the  Form  and  Manner
                            Prescribing the Form and Manner Noticeof Notice for a  Further
                                                                                  Further  Hearing   [ECF  No. 99],  (ii) Second
                    11      Interim Order
                            Interim  Order (1)(1) Authorizing
                                                   Authorizing Debtor
                                                                Debtor toto Obtain
                                                                              Obtain Post-Petition
                                                                                      Post-Petition Financing,
                                                                                                      Financing, (2)
                                                                                                                  (2) Granting
                                                                                                                        Granting
                            Administrative Expense,
                            Administrative   Expense, and
                                                       and (3)
                                                           (3) Setting
                                                               Setting and
                                                                       and Prescribing
                                                                            Prescribing the
                                                                                         the Form
                                                                                             Form and
                                                                                                    and Manner
                                                                                                        Manner of
                                                                                                                of Notice
                                                                                                                    Notice for a
                    12                         [ECF No. 185], (iii) Third
                            Further Hearing [ECF                      Third Interim
                                                                             Interim Order       Authorizing Debtor
                                                                                     Order (1) Authorizing    Debtor to Obtain
                                                                                                                          Obtain
                    13      Post-Petition Financing,
                            Post-Petition  Financing, (2) Granting
                                                          Granting Administrative
                                                                     Administrative Expense,
                                                                                     Expense, and
                                                                                               and (3) Setting and Prescribing
                            the Form and Manner of Notice for a Further Hearing [ECF No. 258], and (iv) Fourth Interim
                    14      Order      Authorizing Debtor to Obtain
                            Order (1) Authorizing               Obtain Post-Petition
                                                                        Post-Petition Financing,
                                                                                       Financing, (2)
                                                                                                   (2) Granting
                                                                                                       Granting Administrative
                                                                                                                 Administrative
                            Expense, and (3) Setting and Prescribing the Form and Manner of Notice for a Further Hearing
                    15      [ECF No. 344].
                    16             1.1.37. Disbursing Agent. A Person designated
                                                                        designated by the Creditor Committee
                                                                                                   Committee to serve as
                            disbursing agent
                            disbursing agent under
                                             under this
                                                   this Plan                Disbursements to
                                                        Plan with regard to Disbursements to Holders
                                                                                             Holders of Class 4 Allowed
                                                                                                                Allowed
                    17
                            General Unsecured Claims.
                    18
                                   1.1.38. Disbursing Agent Account. The bank account established prior to the Effective
                    19      Date by the Disbursing
                            Date        Disbursing Agent
                                                    Agent into
                                                          into which
                                                               which the
                                                                      the Class
                                                                          Class 5 Distribution
                                                                                   Distribution Amount
                                                                                                 Amount isis deposited.
                                                                                                             deposited. The
                            Disbursing Agent Account shall be under the sole authority of the Disbursing Agent.
                    20
                                    1.1.39. Disclosure             The disclosure
                                            Disclosure Statement. The   disclosure statement
                                                                                   statement that
                                                                                              that relates
                                                                                                   relates to
                                                                                                            to this Plan, as
                                                                                                               this Plan,
                    21      amended, supplemented, or modified from time to time, describing this Plan that is prepared and
                    22      distributed in
                            distributed     accordance with,
                                         in accordance   with, among
                                                               among others,
                                                                     others, Sections
                                                                              Sections1125,
                                                                                        1125, 1126(b),
                                                                                               1126(b),andand 1145
                                                                                                               1145 of   the
                                                                                                                      of the
                            Bankruptcy Code, Bankruptcy Rule 3018, and other applicable law.
                    23
                                   1.1.40. Disputed
                                            Disputed Claim
                                                        Claim or Disputed Equity Security.  Security. A Claim or Equity
                                                                                                                     Equity Interest
                                                                                                                             Interest or
                    24      any portion thereof  that  is:  (i)  subject to timely    objection  interposed  by a Debtor,
                                         thereof that (i) subject to timely objection interposed by a Debtor, Reorganized  Reorganized
                            Debtor, or
                            Debtor,           party-in-interest entitled
                                     or any party-in-interest       entitledtoto file
                                                                                  file and   prosecute such
                                                                                        and prosecute    such objection
                                                                                                              objection in
                                                                                                                         in a Debtor's
                                                                                                                               Debtor’s
                    25      Chapter 11 Case, if at such time such objection
                                                                        objection has not been been withdrawn
                                                                                                    withdrawn or determined by Final
                            Order; or (ii) a Claim
                            Order;           Claim that
                                                     that is
                                                           is listed
                                                               listed by
                                                                      by aa Debtor
                                                                            Debtor as  as disputed,
                                                                                           disputed, unliquidated
                                                                                                     unliquidated or contingent
                                                                                                                      contingent in the
                    26
                            Schedules, with respect to which no proof of claim has been timely filed; provided, however, that
                    27          Bankruptcy Court
                            the Bankruptcy   Court may      estimate a Disputed
                                                     may estimate         Disputed Claim for purposes
                                                                                                   purposes of allowance
                                                                                                                allowance pursuant
                                                                                                                            pursuant to
                            Section 502(c)
                                    502(c) of
                                            of the
                                               the Bankruptcy
                                                   Bankruptcy Code.        The term
                                                                    Code. The    term "Disputed,"
                                                                                        “Disputed,” when used to modify a reference
                    28
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                      1     in this Plan to any Claim or Equity Interest (or Class of Claims or Equity Interest), shall mean a
                            Claim or Equity Interest (or any Claim or Equity Interest in such Class) that is a Disputed Claim
                      2         Disputed Equity
                            or Disputed    Equity Interest.
                                                   Interest. InIn the
                                                                   the event
                                                                       event there
                                                                             there is
                                                                                   is aa dispute
                                                                                         dispute as
                                                                                                 as to
                                                                                                     to classification
                                                                                                         classification or priority
                                                                                                                           priority of a
                            Claim or Equity Interest, it shall be considered a Disputed Claim or Disputed Equity Interest in
                      3     its entirety. Until
                                          Until such
                                                 such time
                                                       time as
                                                            as aa Contingent
                                                                  Contingent Claim
                                                                               Claim becomes
                                                                                      becomes fixed and absolute, such Claim shall
                      4     be treated as a Disputed Claim and not an Allowed Claim for purposes related to allocations and
                            distributions under this Plan.
                      5
                                    1.1.41. Disputed Claim Reserve. A reserve established by the Disbursing Agent or the
                      6     Reorganized Debtor, as applicable, to hold in one or more accounts Cash or other Assets equal to
                            the aggregate amount
                                           amount thereof
                                                   thereof that would
                                                                would have been distributed
                                                                                 distributed in accordance
                                                                                                accordance with
                                                                                                           with the
                                                                                                                the terms of
                      7     this Plan on account of a Disputed Claim.
                      8            1.1.42. Distributable Assets. Shall mean the Assets distributable to Allowed Claims and
                      9     unclassified Claims
                            unclassified Claims in   accordance with
                                                  in accordance with this         Reorganized Debtor
                                                                     this Plan by Reorganized   Debtor and the
                                                                                                             the Disbursing
                                                                                                                 Disbursing
                            Agent, as applicable.
                    10
                                  1.1.43. Distribution. Any distribution by Debtor, Reorganized Debtor or the Disbursing
                    11      Agent of Distributable
                                     Distributable Assets
                                                   Assets to
                                                          to the Holders
                                                                 Holders of Allowed Claims
                                                                                    Claims or Equity Securities
                                                                                                     Securities as
                                                                                                                as of the
                            Record Date.
                    12
                                    1.1.44. DOJ. The United States Department of Justice.
                    13
                                     1.1.45. Effective Date. The latest to occur of: (i) the first Business Day that is at least
                                                                                                                              least
                    14
                            fourteen (14) days after the Confirmation Date and on which no stay of the Confirmation
                                                                                                             Confirmation Order
                    15      is in effect; and (ii) the first (1st) Business Day on which all of the conditions set forth in Article
                            8 to this Plan have been satisfied or waived.
                    16
                                   1.1.46. Equity Security. An equity security as the term is defined in Section 101(16) of
                    17      the Bankruptcy Code and includes the membership interests in Debtor and any warrants, options,
                            redemption rights,
                            redemption   rights, dividend
                                                 dividend rights,
                                                           rights, liquidation
                                                                   liquidation preferences,
                                                                               preferences, rights
                                                                                            rights to
                                                                                                   to purchase
                                                                                                      purchase any such Equity
                    18      Security, or any other rights related thereto.
                    19
                                    1.1.47. Estate. The estate created for Debtor in the Chapter 11 Case pursuant to Section
                    20      541 of the Bankruptcy Code.

                    21            1.1.48. Executory                  contract to which
                                          Executory Contract. A contract         which Debtor
                                                                                       Debtor is
                                                                                              is a party that is subject
                                                                                                                 subject to
                            assumption or rejection under Section 365 of the Bankruptcy Code.
                    22
                                    1.1.49.  Exit Loan. The
                                    1.1.49. Exit          The advances
                                                               advances from
                                                                           from time
                                                                                 time to
                                                                                       to time
                                                                                          time by  the Exit
                                                                                               by the  Exit Loan
                                                                                                             Loan Lender
                                                                                                                    Lender to
                                                                                                                            to
                    23      Reorganized Debtor in accordance with and pursuant to this Plan in the amount necessary to pay
                    24                    Administrative Claims
                            all Allowed Administrative   Claims (except
                                                                 (except to the extent the Creditor Committee's
                                                                                                    Committee’s Professional
                                                                                                                  Professional
                            Fees are being paid from the Disbursing Agent Account) and Allowed Claims as provided for in
                    25      Class 4 or such additional amount as agreed to by Reorganized Debtor and the Exit Loan Lender.
                            On the Effective Date the Exit Loan Lender shall advance to the Reorganized Debtor the amount
                    26      necessary to pay the Allowed Administrative Claims, Allowed Claims in Class 2 and the Class 5
                            Distribution Amount.
                            Distribution             Subsequent to
                                           Amount. Subsequent            Effective Date,
                                                                  to the Effective  Date, the Exit
                                                                                               Exit Loan
                                                                                                    Loan Lender
                                                                                                          Lender shall
                                                                                                                   shall make
                                                                                                                         make
                    27      additional advances to the Reorganized Debtor sufficient in amount for the Reorganized Debtor
                    28          make all
                            to make    all payments
                                            payments required
                                                      required on
                                                                onAllowed
                                                                    Allowed Administrative
                                                                               Administrative Claims
                                                                                                Claims (except
                                                                                                        (except the
                                                                                                                 the Creditor
                                                                                                                      Creditor
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                      1     Committee’s Professional
                            Committee's   Professional Fees which will be paid from the Disbursing Agent Account), Class 2,
                            Class 6 and
                            Class     and Allowed
                                           Allowed Claims
                                                    Claims inin Class
                                                                 Class 33 which
                                                                             which become
                                                                                        become Allowed
                                                                                                 Allowed Claims
                                                                                                              Claims subsequent
                                                                                                                       subsequent to   the
                                                                                                                                    to the
                      2                                                       st                                   st
                            Effective
                            Effective Date.   Commencing on
                                       Date. Commencing     on the
                                                                the first
                                                                     first (1')
                                                                           (1 )Business
                                                                                  BusinessDay
                                                                                            Dayof of the
                                                                                                      the first  (1 ) full calendar month
                                                                                                           first (1st)
                            following the Effective Date, and on the first (1st) (1st) Business Day of each subsequent month up to
                      3     and through the Exit Loan Maturity Date, Reorganized Debtor shall pay to the Exit Loan Lender
                      4     monthly interest
                            monthly   interest payments
                                               payments on
                                                         on the
                                                            the outstanding
                                                                 outstanding balance
                                                                                   balance of
                                                                                            of the
                                                                                                the Exit
                                                                                                    Exit Loan
                                                                                                            Loan Note
                                                                                                                   Note at the Exit Loan
                                                                                                                                     Loan
                            Interest Rate. The unpaid balance of the Exit Loan Promissory Note shall be due and payable on
                      5     the Exit Loan Maturity Date.

                      6             1.1.50. Exit Loan Documents. The Exit Loan Agreement, Exit Loan Promissory Note,
                            Exit Loan Security Documents
                                                 Documents andand any related
                                                                       related documents
                                                                                documents toto be dated as of the Effective
                                                                                                                  Effective Date.
                      7     The Exit Loan Documents
                                             Documents shall
                                                         shall be substantially
                                                                   substantially in
                                                                                 in the form to be filed in the
                                                                                                            the Plan
                                                                                                                Plan Supplement
                                                                                                                     Supplement
                            no later than ten (10) days prior to the commencement of the Confirmation Hearing.
                      8

                      9             1.1.51. Exit Loan Interest Rate. The rate of six (6) percent per annum.

                    10             1.1.52. Exit Loan Lender. Woolley and/or each other Person as designated by Woolley
                            having a right of participation
                                              participation in, under,
                                                                under, or to the Exit Loan or any rights, title, or interest to or
                    11      under the Exit Loan Documents.
                    12              1.1.53. Exit Loan Note. The Promissory Note to be executed by Reorganized Debtor on
                            the Effective Date to evidence the Exit Loan.
                    13
                                    1.1.54. Exit Loan Maturity Date. Five (5) years from the Effective Date.
                    14

                    15              1.1.55.
                                    1.1.55. Final
                                             Final Order.
                                                    Order. An order, judgment,
                                                                          judgment, or other decree of the Bankruptcy
                                                                                                                   Bankruptcy Court, or
                            other court
                            other  court of competent
                                             competent jurisdiction,
                                                          jurisdiction, entered
                                                                         enteredonon the
                                                                                      the docket
                                                                                           docket of  of such
                                                                                                         such court,
                                                                                                                court, that
                                                                                                                       that has not been
                                                                                                                                      been
                    16      reversed, reconsidered,
                            reversed,  reconsidered, stayed,
                                                       stayed, modified,
                                                                 modified,oror amended,
                                                                                amended,that
                                                                                           thatisis in
                                                                                                     in full
                                                                                                        full force
                                                                                                             force and
                                                                                                                    and effect,
                                                                                                                         effect, and
                                                                                                                                 and as to
                            which order
                            which   order or   judgment: (i)
                                           or judgment:         the time
                                                            (i) the time toto appeal,
                                                                               appeal, seek
                                                                                        seek review
                                                                                               review or  or rehearing,
                                                                                                              rehearing, or petition
                                                                                                                              petition for
                                                                                                                                       for
                    17      certiorari has
                            certiorari  has expired
                                            expired and                                  petition for
                                                     and no timely filed appeal or petition        for review,
                                                                                                         review, rehearing,
                                                                                                                  rehearing, remand, or
                            certiorari is pending; (ii) any appeal taken or petition for certiorari or request for reconsideration
                    18
                            or further review or rehearing filed: (a) has been resolved by the highest court to which the order
                    19      or judgment was appealed or from which review, rehearing,
                                                                                    rehearing, or certiorari
                                                                                                      certiorari was sought;
                                                                                                                       sought; or (b) has
                            not yet been resolved by such highest court, but such order has not been stayed pending appeal.
                    20      Notwithstanding the foregoing,
                            Notwithstanding        foregoing, the Confirmation
                                                                    Confirmation Order shall specifically become  become a Final Order
                                                                  fourteen (14) days after
                            on the first Business Day that is fourteen                 after the
                                                                                              the entry
                                                                                                   entry ofof such
                                                                                                               such Confirmation
                                                                                                                     Confirmation Order
                    21      unless any appeal of such Confirmation Order was accompanied by a stay pending appeal.
                    22              1.1.56. General   Unsecured Claim. A Claim
                                            General Unsecured                     Claim that
                                                                                         that is not
                                                                                                  not secured
                                                                                                        secured by     Lien or
                                                                                                                  by a Lien   or other
                                                                                                                                  other
                    23      charge against
                                    against or interest
                                               interest in property
                                                           property in in which
                                                                          which the
                                                                                the Estate
                                                                                    Estate has
                                                                                           has an interest
                                                                                                    interest and
                                                                                                              and is not (i) a Section
                            507(a)(2) or
                            507(a)(2)  or 507(a)(3)
                                          507(a)(3) Claim,
                                                      Claim, (ii)
                                                               (ii) an
                                                                    an Administrative   Claim, (iii)
                                                                        Administrative Claim,    (iii) aa Priority
                                                                                                          Priority Tax
                                                                                                                   Tax Claim,
                                                                                                                        Claim, (iv)
                                                                                                                                 (iv) a
                    24      Priority Unsecured
                            Priority Unsecured Claim,
                                                  Claim, oror (v)     Residual Governmental
                                                              (v) a Residual    Governmental Unit
                                                                                                Unit Claim.       General Unsecured
                                                                                                        Claim. General     Unsecured
                            Claims shall also include all Claims arising under Section 502(g)502(g) of the Bankruptcy Code and
                    25      Governmental Unit Penalty Claims. Pursuant to the Settlement and Restructuring Agreement the
                            Woolley Secured
                            Woolley    Secured Claim
                                                 Claim will
                                                         will be       General Unsecured
                                                               be a General     Unsecured Claim
                                                                                            Claim and            Claims of
                                                                                                      and the Claims      of Woolley
                                                                                                                              Woolley
                    26      (including the
                            (including      Woolley Secured
                                        the Woolley    Secured Claim),
                                                                  Claim), Kraus
                                                                            Kraus and      Midwest will
                                                                                   and Jet Midwest       will be
                                                                                                              be General
                                                                                                                  General Unsecured
                                                                                                                           Unsecured
                    27      Claims and treated as provided for in Section 4.5.3. of this Plan.

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                      1            1.1.57. Governmental       The term
                                           Governmental Unit. The term shall
                                                                       shall have
                                                                             have the
                                                                                  the meaning
                                                                                      meaning set forth
                                                                                                  forth in
                                                                                                         in Section
                                                                                                             Section
                            101(27) of the Bankruptcy Code.
                       2
                                     1.1.58. Governmental Unit Claims. Any and all Claims of a Governmental Unit which
                       3             tax on
                            is (i) a tax on or
                                             or measured
                                                measured by by income
                                                                income oror gross
                                                                             gross receipts,
                                                                                   receipts, (ii)
                                                                                             (ii) aa property
                                                                                                     property tax,
                                                                                                              tax, (iii)
                                                                                                                    (iii) an
                                                                                                                          an employment
                                                                                                                             employment
                            tax   on  a  wage,  salary   or  commission
                            tax on a wage, salary or commission             of  a kind as specified in Section 507(a)(4) of the
                                                                                a  kind  as  specified    in Section    507(a)(4)     the
                      4
                            Bankruptcy Code,
                            Bankruptcy     Code,(iv)(iv) an
                                                          an excise
                                                             excise tax,
                                                                      tax, (v)
                                                                           (v) a customs
                                                                                  customs duty
                                                                                             duty arising
                                                                                                    arising out      the importation
                                                                                                             out if the    importation of
                       5    merchandise and
                            merchandise     and (vi)
                                                 (vi) a penalty
                                                        penalty related
                                                                  related to
                                                                          to (i) through
                                                                                 through (v) provided
                                                                                               provided it is in
                                                                                                               in compensation
                                                                                                                   compensation for an
                            actual pecuniary loss.
                       6
                                   1.1.59. Governmental
                                            Governmental UnitUnit Penalty Claims. Any and all all Claims
                                                                                                  Claims of
                                                                                                          of aa Governmental
                                                                                                                Governmental
                       7    Unit for penalties and similar assessments not in compensation for an actual pecuniary loss.
                       8            1.1.60. Holder. An entity holding an Equity Security or Claim.
                       9            1.1.61. Impaired. Impaired within the meaning of Section 1124 of the Bankruptcy Code.
                    10
                                   1.1.62. Initial Distribution Date. The first Business Day following the date that is thirty
                    11      (30) days after the Effective Date.

                    12           1.1.63. Jet
                                 1.1.63.      Midwest. Collectively,
                                         Jet Midwest.      Collectively, Jet
                                                                           Jet Midwest,
                                                                               Midwest, Inc.,
                                                                                          Inc., Jet Midwest Group
                                                                                                Jet Midwest  Group and   Jet
                                                                                                                     and Jet
                            Midwest Technik, each an affiliate of Kraus, but does not include Jet Midwest International.
                    13
                                   1.1.64. KMW. Collectively,  KMW Leasing
                                                 Collectively, KMW   Leasing IV,
                                                                             W, LLC, KMW Leasing IX, LLC, KMWKMW
                    14      Leasing
                            Leasing N796JM,
                                     N796JM, LLC,
                                             LLC, KMW
                                                  KMW Leasing
                                                          Leasing VII,
                                                                  VII, LLC,
                                                                       LLC, and
                                                                            and KMW
                                                                                 KMW Leasing
                                                                                      Leasing X,
                                                                                              X, LLC,
                                                                                                 LLC, each   lessor
                                                                                                      each a lessor
                            under the KMW Leases.
                    15

                    16             1.1.65. KMW Leases. The leased Boeing
                                                                      Boeing 767 aircraft   from KMW,
                                                                                   aircraft from KMW, being
                                                                                                       being a (i) Boeing
                            767-23B bearing serial number 23974 and U.S. Registration Mark N253MY leased from KMW
                    17              W, LLC;
                            Leasing IV, LLC; (ii)
                                              (ii) Boeing
                                                   Boeing 767-246
                                                          767-246 bearing serial number 23213 and U.S. Registration
                                                                                                        Registration Mark
                            N767DA leased from KMW Leasing IX, LLC; (iii) Boeing 767-336 bearing serial number 24339
                    18      and U.S. Registration
                                     Registration Mark N796MY     leased from KMW Leasing N796JM,
                                                         N796MY leased                          N796JM, LLC;
                                                                                                        LLC; (iv) Boeing
                            767-336 bearing serial number 25443 and U.S. Registration Mark N254MY leased from KMW
                    19      Leasing VII, LLC; (v) Boeing 767-336 bearing serial number 24343 and U.S. Registration Mark
                    20      N740JM leased from KMW Leasing X, LLC; and (vi) Boeing 767-300ER bearing serial number
                            24342 and U.S. Registration Mark N793JM leased from KMW Leasing X, LLC.
                    21
                                    1.1.66. Kraus. Paul Kraus, an individual.
                    22
                                  1.1.67. Lien. This term shall
                                                This term shall have
                                                                have the meaning
                                                                         meaning set forth in
                                                                                 set forth in Section
                                                                                              Section 101(37)
                                                                                                      101(37) of the
                                                                                                              of the
                    23      Bankruptcy Code.
                    24               1.1.68. Litigation Claims. All rights, claims, torts, liens, liabilities, obligations, actions,
                    25      causes of action, Avoidance
                            causes              Avoidance Actions
                                                            Actions except
                                                                     except as otherwise
                                                                                otherwise provided
                                                                                           provided for        this Plan,
                                                                                                      for in this   Plan, derivative
                                                                                                                          derivative
                            actions, proceedings, debts, contracts, judgments, damages and demands whatsoever in law or in
                    26      equity, whether known or unknown, contingent or otherwise, that Debtor or the Estate may have
                            against any Person,
                                          Person, including
                                                  including but
                                                            but not
                                                                not limited
                                                                    limited to,
                                                                            to, those
                                                                                those listed
                                                                                      listed on
                                                                                             on Schedule
                                                                                                Schedule 1.1.68
                                                                                                             1.1.68 hereto.
                                                                                                                     hereto. Failure
                    27      to list a Litigation Claim on Schedule 1.1.68 shall not constitute a waiver or release by Debtor or
                            Reorganized Debtor of such Litigation Claim.
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                      1           1.1.69. Other          Claim. A Secured
                                          Other Secured Claim.        Secured Claim
                                                                              Claim other
                                                                                    other than
                                                                                          than a Secured
                                                                                                 Secured Claim
                                                                                                         Claim held
                                                                                                               held by
                            Woolley or the U.S. Department of Agriculture.
                      2
                                   1.1.70. Person. AnAn individual,
                                                         individual, corporation,
                                                                      corporation, limited
                                                                                    limited liability
                                                                                               liability company,
                                                                                                          company, partnership,
                                                                                                                    partnership,
                      3     association, joint
                            association,       stock company,
                                         joint stock company, joint venture,
                                                                      venture, estate,
                                                                               estate, trust,
                                                                                        trust, unincorporated
                                                                                                unincorporated organization
                                                                                                                organization or
                            government, governmental unit, or any subdivision thereof or any other entity.
                      4

                      5             1.1.71. Petition Date. July 19, 2017, the date on which
                                                                                      which a voluntary
                                                                                              voluntary Chapter 11 petition
                            was filed by Debtor, thereby commencing the Chapter 11 Case.
                      6
                                   1.1.72. Plan. This first amended plan of reorganization, either in its present form or as it
                      7     may be amended,
                            may      amended, supplemented,
                                               supplemented, oror modified
                                                                  modified from
                                                                            from time
                                                                                  time to  time, including
                                                                                        to time,  including all exhibits
                                                                                                                  exhibits and
                            schedules annexed hereto or referenced herein.
                      8
                                    1.1.73. Plan Rate. The Federal judgment rate of interest as of the Petition Date.
                      9
                                    1.1.74.
                                    1.1.74. Plan
                                             PlanSupplement.
                                                 Supplement. The supplement to this Plan to be filed no later than 20 days
                    10
                                      the commencement
                            prior to the   commencement of
                                                        of the
                                                            the Confirmation
                                                                 Confirmation Hearing,
                                                                              Hearing, which
                                                                                       which shall
                                                                                              shall include
                                                                                                     include post-Effective
                                                                                                              post-Effective
                    11      Date operative documents, the Settlement and Restructuring Agreement,
                                                                                       Agreement, the Class 2 and Class 6
                            Settlement Agreement, and Exit Loan Documents.
                    12
                                    1.1.75. Priority Tax Claims. Any and all Governmental
                                                                                Governmental Unit Claims accorded priority
                    13      in right of payment under Section 507(a)(8) of the Bankruptcy Code.
                    14            1.1.76. Priority                                  Claims accorded
                                          Priority Unsecured Claims. Any and all Claims      accorded priority
                                                                                                      priority in right of
                                                                                                               in right
                            payment under Section 507(a) of the Bankruptcy Code except for Section 507(a)(8).
                    15

                    16              1.1.77. Professional Fees.
                                    1.1.77. Professional   Fees. The       Administrative Claims
                                                                   The Administrative                  for compensation
                                                                                              Claims for     compensation and
                                                                                                                            and
                            reimbursement submitted
                            reimbursement    submitted pursuant
                                                       pursuant to
                                                                 to Sections
                                                                    Sections 327,
                                                                                327, 328,
                                                                                     328, 330,
                                                                                          330, 331, or 503(b) of the Bankruptcy
                    17      Code of Persons: (i) employed pursuant to an order of the Bankruptcy Court under Sections 327,
                                    1102 of
                            328 or 1102   of the
                                              the Bankruptcy
                                                  Bankruptcy Code;
                                                             Code; oror (ii)
                                                                         (ii) for
                                                                               forwhom
                                                                                   whomcompensation
                                                                                          compensation and
                                                                                                         and reimbursement
                                                                                                              reimbursement has
                    18      been allowed by the Bankruptcy Court pursuant to Section 503(b) of the Bankruptcy Code or by
                            other Final Order.
                    19
                                    1.1.78. Proof of Claim. A proof of Claim filed by a Creditor in accordance with Section
                    20
                            501 of the Bankruptcy Code and Bankruptcy Rule 3001.
                    21
                                    1.1.79. Pro
                                            Pro Rata. The      ratio of an
                                                          The ratio     an Allowed
                                                                           Allowed Claim
                                                                                     Claim or
                                                                                           or Allowed
                                                                                              Allowed Equity
                                                                                                       Equity Security
                                                                                                              Security in
                                                                                                                       in a
                    22      particular class to the aggregate amount of all such Allowed Claims or Allowed Equity Securities
                            in any such Class.
                    23
                                   1.1.80. Record Date. The Confirmation Date for the purpose of determining the Holders
                    24      of Equity Securities.
                    25
                                    1.1.81. Reinstated or Reinstatement. These terms shall mean: (i) leaving unaltered the
                    26      legal,
                            legal, equitable,
                                   equitable, and
                                               and contractual
                                                   contractualrights
                                                                 rightsofofthe
                                                                            the Holder
                                                                                Holderof of aa Claim
                                                                                               Claim so     to leave
                                                                                                      so as to   leave such
                                                                                                                       such Claim
                                                                                                                             Claim
                            Unimpaired in
                            Unimpaired      accordance with
                                         in accordance   with Section
                                                               Section 1124
                                                                        1124 of the Bankruptcy
                                                                                      Bankruptcy Code; or (ii)(ii) notwithstanding
                                                                                                                   notwithstanding
                    27      any contractual provision
                                             provision or applicable
                                                          applicable law
                                                                      law that entitles
                                                                                entitles the Holder
                                                                                              Holder of such Claim to demand or
                            receive accelerated payment of such Claim after the occurrence of a default: (a) Curing any such
                    28
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                      1     default that occurred before or after the Petition Date, other than a default of a kind specified in
                            Section
                            Section 365(b)(2)
                                      365(b)(2) of
                                                of the Bankruptcy
                                                        Bankruptcy Code;
                                                                     Code; (b)
                                                                             (b) reinstating
                                                                                  reinstating the
                                                                                                the maturity
                                                                                                    maturity ofof such
                                                                                                                   such Claim
                                                                                                                         Claim as such
                      2     maturity existed
                            maturity   existed before
                                                before such
                                                        such default;
                                                              default; (c)
                                                                        (c) compensating
                                                                            compensatingthe     the Holder
                                                                                                    Holderof  of such
                                                                                                                  such Claim
                                                                                                                         Claim for   any
                                                                                                                                 for any
                            damages incurred
                            damages    incurred as
                                                 as a result of
                                                             of any
                                                                 any reasonable
                                                                      reasonable reliance
                                                                                    reliance by such
                                                                                                  such Holder
                                                                                                         Holder on on such
                                                                                                                       such contractual
                                                                                                                             contractual
                      3     provision or
                            provision       such applicable
                                         or such  applicable law;
                                                              law; and
                                                                    and (d) notnot otherwise
                                                                                      otherwise altering
                                                                                                  altering the
                                                                                                             the legal,
                                                                                                                   legal, equitable,
                                                                                                                           equitable, or
                      4     contractual rights to which such Claim entitles the Holder of such Claim; provided, however, that
                            any contractual right that does not pertain to the payment when due of principal and interest on
                      5          obligation on which such Claim is based,
                            the obligation                              based, including,
                                                                                including, but notnot limited
                                                                                                       limited to,
                                                                                                                to, financial
                                                                                                                     financial covenant
                                                                                                                               covenant
                            ratios, negative
                            ratios, negative pledge
                                              pledge covenants,
                                                       covenants, covenants,
                                                                   covenants, or     restrictions on
                                                                                 or restrictions       merger or consolidation,
                                                                                                   on merger         consolidation, and
                      6     affirmative covenants
                            affirmative   covenants regarding
                                                     regarding corporate
                                                                corporate existence
                                                                           existence prohibiting
                                                                                        prohibiting certain
                                                                                                      certain transactions
                                                                                                               transactions or actions
                            contemplated by this Plan, or conditioning such transactions
                            contemplated                                           transactions or actions on certain factors, shall
                      7     not be required in order to accomplish Reinstatement.
                      8
                                   1.1.82. Released Claims. The Claims of Woolley, Kraus and Jet Midwest
                                                                                                 Midwest released as
                      9     provided for in the Settlement and Restructuring Agreement.

                    10              1.1.83. Released
                                            Released Parties. The      Released Parties
                                                                 The Released    Parties include,
                                                                                          include,(i)   Woolley; (ii) Kraus;
                                                                                                   (i) Woolley;       Kraus; (iii)
                            KMW;
                            KMW;     (iv) Jet Midwest,
                                              Midwest,  and (v)  the  Released  Parties’ current  and  former Affiliates, estates,
                                                            (v) the Released Parties' current and former Affiliates, estates,
                    11      heirs, managed accounts or funds, subsidiaries, officers, directors, principals, employees, agents,
                            financial                                                                        representatives and
                            financial advisors, attorneys, accountants, investment bankers, consultants, representatives
                    12      other professionals, in each case in their capacity as such.
                    13
                                    1.1.84. Reorganized             Debtor as
                                            Reorganized Debtor. Debtor         reorganized pursuant
                                                                            as reorganized pursuant to
                                                                                                     to this Plan after
                                                                                                        this Plan after the
                                                                                                                        the
                    14      Effective Date by merger, consolidation, or otherwise.

                    15             1.1.85. Residual
                                   1.1.85. Residual Governmental
                                                       Governmental Unit      Claims. All
                                                                        Unit Claims.      All pre-Petition Date Claims
                                                                                              pre-Petition Date Claims of
                            Governmental    Units which
                            Governmental Units    which are
                                                          are neither
                                                              neither Priority
                                                                      Priority Tax Claims
                                                                                     Claims nor
                                                                                            nor Governmental
                                                                                                Governmental Unit
                                                                                                               Unit Penalty
                                                                                                                    Penalty
                    16      Claims but are subject to the Class 2 and Class 6 Settlement Agreement.
                    17              1.1.86. Schedules. The schedules
                                                           schedules of assets and liabilities
                                                                                   liabilities and any
                                                                                                   any amendments
                                                                                                       amendments thereto
                                                                                                                   thereto
                            filed by Debtor with the Bankruptcy Court in accordance with Section 521(1) of the Bankruptcy
                    18
                            Code.
                    19
                                    1.1.87. Secured Claim. A Claim that is secured by a Lien against property of the Estate
                    20             extent of the
                            to the extent     the value
                                                  value of
                                                         of any
                                                              any interest
                                                                   interest in
                                                                             in such
                                                                                 such property
                                                                                       property of
                                                                                                of the
                                                                                                    the Estate
                                                                                                        Estate securing
                                                                                                                securing such
                                                                                                                          such Claim,
                                                                                                                                Claim,
                            which Lien
                            which  Lien is valid,
                                            valid, perfected,
                                                   perfected, and     enforceable pursuant
                                                                 and enforceable     pursuant to
                                                                                               to applicable
                                                                                                   applicablelaw
                                                                                                               law or
                                                                                                                    or by
                                                                                                                       by reason
                                                                                                                           reason of
                                                                                                                                   of a
                    21      Bankruptcy Court
                            Bankruptcy    Courtorder,
                                                  order,oror to
                                                              to the
                                                                 the extent
                                                                      extent of        amount of such Claim
                                                                               of the amount             Claim subject
                                                                                                                  subject to  setoff in
                                                                                                                          to setoff
                            accordance with
                            accordance   with Section
                                               Section 553
                                                       553 of the Bankruptcy Code, in either case as determined
                                                                                                              determined pursuant to
                    22
                            Section 506(a) of the Bankruptcy Code.
                    23
                                    1.1.88. Settlement
                                            Settlement and Restructuring
                                                               Restructuring Agreement.
                                                                                Agreement. The Settlement
                                                                                                       Settlement and
                                                                                                                  and Restructuring
                                                                                                                        Restructuring
                    24      Agreement between Debtor, Solitude and the Released Parties, a copy of which will be included
                            in the Plan Supplement, which agreement provides for One Hundred (100) percent of the Equity
                    25      Securities of the Reorganized Debtor to be issued to Solitude as provided for in Section 5.1.6 and
                            the Releases of the Released Parties as provided for in Section 9.6 below, on the Effective Date
                    26      in exchange for; (a) the Exit Loan
                                                          Loan Lender     entering into
                                                                 Lender entering     into the
                                                                                            the Exit
                                                                                                Exit Loan
                                                                                                     Loan and Exit Loan Documents
                    27           commencing funding
                            and commencing     funding as
                                                        as provided
                                                           provided for
                                                                      for therein,;
                                                                           therein,; (b)
                                                                                      (b) the
                                                                                           the Discharge
                                                                                                Dischargeof   Woolley’s Pre-Petition
                                                                                                           of Woolley's  Pre-Petition
                            Date Claims without
                                          without receiving
                                                   receiving aa Distribution
                                                                Distributionrelated
                                                                              relatedthereto;
                                                                                        thereto;(c)
                                                                                                  (c) the treatment of the Woolley’s
                                                                                                                           Woolley's
                    28      Secured Claim as an Allowed General Unsecured Claim to be Discharged without a Distribution
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                      1     related thereto;
                            related thereto; (d)  Solitude exchanging
                                              (d) Solitude  exchanging allall Claims
                                                                              Claims related
                                                                                      related to
                                                                                               to the Solitude DIP
                                                                                                  the Solitude      Loans for the
                                                                                                               DIP Loans
                            Equity Securities
                                    Securities of Reorganized
                                                   Reorganized Debtor;
                                                                 Debtor; (e)
                                                                          (e) KMW consenting
                                                                                     consenting to the assumption of the KMW
                      2     Leases in accordance
                                      accordance with
                                                    with Article
                                                          Article 6 of this Plan; and (f) Kraus and Jet Midwest agreeing to the
                            Discharge of all
                                          all pre-Petition
                                               pre-Petition Date
                                                            Date Claims
                                                                 Claims without
                                                                          without receiving
                                                                                  receiving a Distribution related thereto.
                      3
                                  1.1.89. Solitude. Solitude Strategies, LLC, a Nevada limited liability company, of which
                      4
                            Woolley is the sole member and manager.
                      5
                                    1.1.90. Solitude
                                    1.1.90. Solitude DIP
                                                     DIP Loans. The      administrative loans
                                                                    The administrative  loans from
                                                                                              from Solitude
                                                                                                   Solitude to      Debtor
                                                                                                             to the Debtor
                      6     subject to Section 364(c)(1)
                            subject             364(c)(1) of the Bankruptcy
                                                                 Bankruptcy Court
                                                                            Court and approved
                                                                                       approved pursuant
                                                                                                 pursuant to
                                                                                                          to the DIP Loan
                            Orders.
                      7
                                   1.1.91. Taxes. All
                                                    All income,
                                                          income, gaming,
                                                                     gaming, franchise,
                                                                                franchise, excise,
                                                                                            excise, sales,
                                                                                                     sales, use,
                                                                                                             use,employment,
                                                                                                                    employment,
                      8     withholding, property,
                            withholding,  property, payroll,
                                                    payroll, or other taxes,
                                                                        taxes, assessments
                                                                               assessments of
                                                                                            of governmental
                                                                                               governmental charges,
                                                                                                                charges, together
                                                                                                                          together
                                                                                      similar amounts
                            with any interest penalties, additions to tax, fines, and similar amounts relating thereto, whether
                      9
                               not yet
                            or not yet assessed
                                        assessed or
                                                 or imposed,
                                                     imposed, collected
                                                                collected by,
                                                                            by, or      to any
                                                                                or due to  any federal,
                                                                                                federal, state,
                                                                                                         state, local
                                                                                                                 local or
                                                                                                                       or foreign
                                                                                                                           foreign
                    10      governmental authority.

                    11              1.1.92. Unexpired Lease. A lease of real property or personal property to which Debtor
                            is a party that is subject to assumption or rejection under Section 365 of the Bankruptcy Code.
                    12
                                  1.1.93. Unimpaired. This
                                                      This term
                                                           term has     meaning as
                                                                has the meaning    set forth
                                                                                as set forth in Section
                                                                                                Section 1124
                                                                                                        1124 of the
                                                                                                                the
                    13      Bankruptcy Code.
                    14              1.1.94. Virginia Code. The Commonwealth of Virginia Code.
                    15
                                    1.1.95. Virginia SOS. The Secretary of State of the Commonwealth of Virginia.
                    16
                                    1.1.96. Woolley. Kenneth Woolley, an individual.
                    17
                                1.2.        Computation of Time. In computing
                                            Computation                computing any period of time prescribed or allowed
                    18         this Plan,
                            by this  Plan, unless
                                           unless otherwise
                                                  otherwise expressly
                                                            expressly provided,
                                                                      provided, the provisions
                                                                                    provisions of Bankruptcy
                                                                                                  Bankruptcy Rule 9006(a)
                                                                                                                  9006(a)
                            shall apply.
                    19
                                1.3.         Rules of Interpretation. For purposes of this Plan only; (i) any reference in this
                    20
                            Plan to a contract, instrument, release, or other agreement or documents being in particular form
                    21             particular terms and conditions
                            or on particular               conditions means that such document
                                                                                            document shall be substantially
                                                                                                                  substantially in such
                            form or substantially on such terms and conditions;
                                                                           conditions; (ii) any reference
                                                                                                 reference in
                                                                                                            in this Plan to an existing
                    22      document or exhibit filed
                            document                filed or to be filed means such document
                                                                                         document or exhibit as it may have been or
                                      amended, modified, or supplemented;
                            may be amended,                     supplemented; (iii) unless otherwise specified,
                                                                                                           specified, all references in
                    23      this Plan
                            this Plan toto Sections,
                                            Sections, Articles,
                                                       Articles, Schedules
                                                                  Schedules andand Exhibits
                                                                                     Exhibits are
                                                                                               are references
                                                                                                    references to
                                                                                                                to Sections,
                                                                                                                    Sections, Articles,
                                                                                                                               Articles,
                            Schedules
                            Schedules andand Exhibits
                                              Exhibitsof  of or
                                                             or to this
                                                                    this Plan;
                                                                          Plan; (iv)
                                                                                 (iv) the
                                                                                       the words
                                                                                           words "herein,"
                                                                                                   “herein,” "hereof,"
                                                                                                              “hereof,” "hereto,"
                                                                                                                         “hereto,” and
                                                                                                                                    and
                    24
                            “hereunder” refer
                            "hereunder"    refer to this Plan in its entirety
                                                                       entirety rather than to a particular
                                                                                                  particular portion of this Plan; (v)
                    25      captions and headings to Articles and Sections are inserted for convenience of reference only and
                                     intended to be a part of or
                            are not intended                     or to
                                                                     to affect
                                                                        affect the
                                                                               the interpretation
                                                                                    interpretation of this Plan; and (vi) the rules of
                    26      construction and definitions set forth in Sections 101 and 102 of the Bankruptcy Code and in the
                            Bankruptcy Rules shall apply unless otherwise expressly provided.
                    27

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                      1         1.4.                             Schedules. All exhibits and schedules
                                           Exhibits and Plan Schedules.                            schedules attached
                                                                                                              attached to this Plan
                            are incorporated into and are a part of this Plan as if set forth in full herein.
                      2
                            2.      TREATMENT OF UNCLASSIFIED CLAIMS
                      3
                               2.1.        General. Pursuant
                                                        Pursuant to Section 1123(a)(1)
                                                                               1123(a)(1) of the Bankruptcy
                                                                                                   Bankruptcy Code,
                                                                                                                Code, the Claims
                                                                                                                           Claims
                      4     against Debtor  set forth in this  Article 2 are  not classified within any  Classes.
                            against Debtor set forth in this Article 2 are not classified within any Classes.     The   Holders of
                      5     such Claims are not entitled
                                                  entitled to
                                                           to vote
                                                              vote on
                                                                    on this
                                                                       this Plan.  The treatment
                                                                            Plan. The   treatment of the Claims set forth below is
                            consistent with the requirements of Section 1129(a)(9)(A) of the Bankruptcy Code.
                      6
                                 2.2.       Treatment
                                            Treatment of Administrative
                                                            Administrative Claims.
                                                                               Claims. Each       Allowed Administrative
                                                                                          Each Allowed     Administrative Claim
                                                                                                                            Claim
                      7     shall be paid by Reorganized Debtor or the Disbursing Agent, as applicable, upon the latest of:
                            (i) the Effective Date or as soon thereafter as is practicable; (ii) such date as may be fixed by the
                      8     Bankruptcy Court,
                            Bankruptcy    Court, or
                                                 or as soon thereafter as practicable, (iii) the fourteenth   (14th) Business Day
                                                                                                  fourteenth (14th)
                            after such Claim is Allowed, or as soon thereafter as practicable; and (iv) such date as the Holder
                      9
                            of such Claim and Reorganized Debtor shall agree upon. With respect to payment of the Allowed
                    10      Professional Fees
                            Professional  Fees of the Creditor Committee,
                                                               Committee, (i) the Debtor shall pay the fees approved prior to
                            the Effective Date, and (ii) the Disbursing Agent shall pay the fees approved after the Effective
                    11      Date.
                    12          2.3.         Treatment
                                             Treatment of Priority Tax Claims. Each Allowed Priority Tax Claim shall be
                            paid in full in Cash by the Reorganized Debtor in equal monthly installments beginning the latest
                    13           (i)the
                            of: (i)  theEffective
                                        Effective Date
                                                   Date or
                                                         or as
                                                            as soon
                                                               soon thereafter
                                                                       thereafter as
                                                                                  as is
                                                                                     is practicable;
                                                                                        practicable; (ii) such date as may be fixed by
                    14           Bankruptcy Court,
                            the Bankruptcy     Court, or as soon
                                                              soon thereafter
                                                                     thereafter as practicable,
                                                                                     practicable, (iii) the
                                                                                                        the fourteenth   (14th) Business
                                                                                                              fourteenth (14th) Business
                            Day after such Priority
                                              Priority Tax
                                                       Tax Claim
                                                             Claim isis Allowed,
                                                                        Allowed, oror as
                                                                                      as soon
                                                                                         soon thereafter
                                                                                               thereafter as practicable;
                                                                                                               practicable; and (iv) such
                    15      date as the Holder of such Priority Tax Claim and Reorganized Debtor shall agree upon and on
                            the same day of each successive month for a period ending not later than five (5) years after the
                    16      Petition Date.
                            Petition   Date. Until
                                             Until the  Allowed Priority
                                                    the Allowed    Priority Tax
                                                                              Tax Claim
                                                                                    Claim is   paid in full,
                                                                                            is paid      full, the
                                                                                                                the unpaid
                                                                                                                    unpaid balance
                                                                                                                            balance shall
                                                                                                                                     shall
                            accrue statutory interest from the Effective Date faxed at the applicable federal or state statutory
                    17
                            rate in effect with respect to such Priority Tax Claim on the Petition Date.
                    18
                               2.4.                                        Effective Date, the aggregate of the Solitude
                                            Solitude DIP Loans. On the Effective                                Solitude DIP
                    19      Loans
                            Loans shall
                                   shall be  converted into
                                          be converted into the right to receive
                                                            the right     receive one
                                                                                   one hundred
                                                                                       hundred (100)
                                                                                                 (100) percent
                                                                                                       percent of the
                                                                                                                  the Equity
                                                                                                                       Equity
                            Security in the Reorganized Debtor, calculated on a fully diluted basis.
                    20
                                2.5.        Requests for Payment.
                                            Requests        Payment. All requests
                                                                             requests for
                                                                                      for payment
                                                                                           payment ofof Administrative
                                                                                                         Administrative Claims
                                                                                                                          Claims
                    21      against Debtor
                            against  Debtor and all final
                                                     final applications
                                                           applications for
                                                                        for allowance
                                                                            allowance and
                                                                                       and disbursement
                                                                                            disbursement of Professional
                                                                                                              Professional Fees
                            must be filed
                            must      filed by
                                            by the
                                                the Administrative
                                                    Administrative Claims
                                                                    Claims Bar   Date or the
                                                                             Bar Date     the Holders
                                                                                              Holders thereof
                                                                                                        thereof shall be forever
                                                                                                                         forever
                    22
                                                          Administrative Claims against Debtor and the Reorganized
                            barred from asserting such Administrative                                      Reorganized Debtor.
                                                                                                                         Debtor.
                    23      All Professional Fees applications
                                                    applications must be in compliance
                                                                            compliance with
                                                                                        with all of the terms and provisions of
                            any applicable order of the Bankruptcy
                                                          Bankruptcy Court, including the Confirmation
                                                                                             Confirmation Order,
                                                                                                            Order, and all other
                    24      orders governing payment of Professional Fees. Unless otherwise ordered by the
                            orders  governing   payment  of  Professional Fees.  Unless otherwise   ordered      the Bankruptcy
                                                                                                                     Bankruptcy
                            Court, from and after the Effective Date, no professional shall be required to file fee applications
                    25                Bankruptcy Court and Reorganized
                            with the Bankruptcy                Reorganized Debtor
                                                                             Debtor may
                                                                                    may pay all professionals
                                                                                                  professionals in the ordinary
                                                                                                                        ordinary
                            course for fees and expenses incurred after the Effective Date.
                    26

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                      1     3.       DESIGNATION OF CLASSES OF CLAIMS AND EQUITY INTERESTS

                      2             Pursuant to this Plan and in accordance with Section 1123(a)(1) of the Bankruptcy Code,
                                             Creditors and
                            all Claims of Creditors      and the
                                                              the Holders
                                                                   Holders of of Equity
                                                                                 Equity Securities
                                                                                         Securities (except
                                                                                                     (except unclassified
                                                                                                              unclassified Claims) are
                      3     placed in the Classes described
                            placed                    described below.
                                                                  below. A  A Claim
                                                                               Claim or
                                                                                      or Equity
                                                                                          Equity Security
                                                                                                  Security is
                                                                                                           is classified
                                                                                                              classified in aa particular
                                                                                                                               particular
                            Class only to the extent that the Claim or Equity Security qualifies within the description of that
                      4     Class and is classified
                            Class           classified in other Classes
                                                                  Classes only
                                                                             only to the extent that any remainder
                                                                                                           remainder of the Claim or
                            Equity
                            Equity Security
                                     Security qualifies
                                                 qualifieswithin
                                                            withinthethedescription
                                                                          descriptionofofsuch
                                                                                           suchother
                                                                                                  otherClasses.
                                                                                                         Classes. A Claim
                                                                                                                      Claim or Equity
                                                                                                                                  Equity
                      5
                            Security
                            Security isis also  classified in
                                          also classified   in a particular
                                                                  particular Class
                                                                               Class only
                                                                                      only to      extent that such
                                                                                           to the extent        such Claim
                                                                                                                      Claim or Equity
                                                                                                                                  Equity
                      6     Security
                            Security is an Allowed
                                             Allowed Claim
                                                        Claim or Allowed
                                                                   Allowed Equity
                                                                               Equity Security
                                                                                       Security in
                                                                                                 in that
                                                                                                    that Class
                                                                                                         Class and has not been paid,
                            released, or
                            released,  or otherwise
                                           otherwise satisfied
                                                       satisfied prior
                                                                  prior to
                                                                         to the
                                                                             the Effective
                                                                                 Effective Date.   With respect
                                                                                           Date. With    respect to Classes
                                                                                                                     Classes of Claims
                                                                                                                                 Claims
                      7     described as Unimpaired
                                           Unimpaired under this Plan, except as otherwise provided under this Plan, nothing
                            shall affect
                            shall affect the rights
                                                rights and
                                                        and legal
                                                             legal and
                                                                    and equitable
                                                                          equitable defenses
                                                                                      defenses of
                                                                                                of Debtor
                                                                                                    Debtor and
                                                                                                             andReorganized
                                                                                                                  Reorganized Debtor
                                                                                                                                  Debtor
                      8     regarding such Claims classified as Unimpaired
                                                                      Unimpaired under
                                                                                     under this Plan, including but not limited to, all
                      9     rights in respect of legal and equitable defenses to setoff or recoupment against such Claims.

                    10           3.1.        Summary of Classification.

                    11       Class               Description
                                                 Descri • tion                            Treatment

                    12       Class 1             Other Secured Claims                     Unimpaired.
                                                                                            No Solicitation required.
                    13
                    14       Class 2             U.S. Department of Agriculture           Impaired
                                                 Secured Claim                              Solicitation required.
                    15
                             Class 3             Priority Unsecured Claims                Unimpaired.
                    16                                                                      No solicitation required.
                    17       Class 4             Convenience Claims                       Impaired
                    18                                                                      Solicitation required.
                             Class 5             General Unsecured Claims                 Impaired.
                    19                                                                      Solicitation required.
                    20
                             Class 6             Residual Governmental Unit               Impaired
                    21                           Claims                                     Solicitation required.

                    22       Class 7             Pre-Effective Date Equity Security       Impaired.
                                                                                            No solicitation required.
                    23

                    24           3.2.        Specific Classification.
                    25             3.2.1. Class
                                           Class 1: Other
                                                     Other Secured
                                                            Secured Claims.
                                                                     Claims. Class
                                                                              Class11consists
                                                                                       consists of
                                                                                                 ofthe
                                                                                                    theOther
                                                                                                         Other Secured
                                                                                                                Secured Claims.
                                                                                                                          Claims.
                            Each
                            Each Holder
                                  Holder of      Other Secured
                                          of an Other  Secured Claim
                                                                Claim shall be considered
                                                                                considered to be its its own
                                                                                                          own separate
                                                                                                               separate subclass
                                                                                                                         subclass
                    26
                            within Class 1, and each subclass shall be deemed to be a separate class for purposes of this Plan.
                    27      Debtor may add additional other Secured Creditors as an additional separate subclass.

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                      1             3.2.2. Class 2: U.S. Department
                                                            Department ofof Agriculture
                                                                            Agriculture Secured
                                                                                        Secured Claim.    Class. 22 consists
                                                                                                  Claim. Class.     consists of the
                            Secured Claim of the U.S. Department of   of Agriculture
                                                                         Agriculture pursuant
                                                                                     pursuant to
                                                                                               to 21
                                                                                                  21 U.
                                                                                                     U.S.C.136a(c)(5)
                                                                                                        S.C.136a(c)(5) providing
                       2    for a statutory Lien in certain personal property of the Debtor as of the Petition Date.
                       3                  Class 3: Priority
                                   3.2.3. Class     Priority Unsecured
                                                             Unsecured Claims. Class
                                                                               Class 33consists
                                                                                        consists of
                                                                                                 of the
                                                                                                     the Priority
                                                                                                          Priority Unsecured
                                                                                                                   Unsecured
                            Claims.
                      4

                       5            3.2.4. Class 4: Convenience Claims. Class
                                                                        Class 44 consists
                                                                                 consists of the Convenience Claims.

                       6           3.2.5. Class 5: General
                                                     General Unsecured
                                                             Unsecured Claims. Class
                                                                                Class 55consists
                                                                                         consists of
                                                                                                  of the
                                                                                                      the General
                                                                                                          General Unsecured
                                                                                                                  Unsecured
                            Claims but shall not include Holders of General Unsecured Claims which make the Convenience
                       7    Class Election.

                       8                 Class 6: Residual
                                  3.2.6. Class     ResidualGovernmental
                                                           Governmental Unit
                                                                        Unit Claims.
                                                                             Claims. Class 6 consists
                                                                                             consists of the
                                                                                                          the Residual
                                                                                                              Residual
                            Governmental Unit Claims.
                       9
                                           Class 7:
                                    3.2.7. Class       Pre-EffectiveDate
                                                  7: Pre-Effective    Date Equity
                                                                           Equity Securities.
                                                                                  Securities. Class
                                                                                              Class 77 consists
                                                                                                        consists of
                                                                                                                 of the
                                                                                                                     the Equity
                                                                                                                         Equity
                    10
                            Securities of Debtor prior to the Effective Date.
                    11
                            4.      DESIGNATION OF AND PROVISIONS FOR TREATMENT OF CLASSES OF
                    12              CLAIMS UNDER THIS PLAN

                    13           4.1.        Class 11 —
                                                      – Other
                                                          Other Secured
                                                                  Secured Claims. Each Allowed Other Secured Claim, if any,
                            shall, in full and final satisfaction of such Claim, be paid in accordance with its terms, or if none,
                    14      then in full in Cash
                                             Cash by Reorganized
                                                       Reorganized Debtor upon the latest of: (i) the Effective Date or as soon
                            thereafter as
                            thereafter  as practicable;
                                            practicable; (ii)
                                                          (ii) such
                                                               such date
                                                                     date as
                                                                          as may be fixed by the
                                                                                             the Bankruptcy
                                                                                                 Bankruptcy Court; (iii) the first
                    15      Business Day following the fourteenth (14th) day after such Claim is Allowed; and (iv) such date
                                        upon by the Holder
                            as agreed upon             Holder of such
                                                                    such Claim
                                                                          Claim and the
                                                                                    the Debtor,
                                                                                        Debtor, and after
                                                                                                    after the
                                                                                                          the Effective
                                                                                                              Effective Date,
                                                                                                                        Date, by
                    16
                            Reorganized Debtor.
                    17
                                Creditors in
                                Creditors     Class 1 are
                                           in Class    are Unimpaired
                                                            Unimpaired under
                                                                       under this Plan, deemed
                                                                                        deemed to have
                                                                                                     have accepted
                                                                                                           accepted this Plan
                                                                                                                           Plan
                    18      pursuant to section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.

                    19            4.2.               – U.S.
                                             Class 2 —  U.S.Department
                                                             Department of of Agriculture
                                                                              Agriculture Secured Claim. In accordance with
                                                       Settlement Agreement, the US. Department of Agriculture shall receive
                             the Class 2 and Class 6 Settlement
                    20       in full
                                 full and
                                       and complete
                                            complete satisfaction
                                                      satisfaction of its
                                                                       its Allowed
                                                                           Allowed Secured
                                                                                       Secured Claim
                                                                                                Claim One
                                                                                                       One Hundred
                                                                                                            Hundred and Fifty
                                                                                                                            Fifty
                                                                                       st
                             Thousand (150,000.00) Dollars in Cash on the firstfirst (1st)                                 (10th)
                                                                                     (1 ) Business Day following the tenth (10th)
                    21
                             day after the Effective Date.
                    22
                                           Department of Agriculture
                                  The U.S. Department    Agriculture is
                                                                     is Impaired
                                                                        Impaired under
                                                                                 under this
                                                                                       this Plan
                                                                                            Plan and
                                                                                                 and is entitled to vote on
                    23      this Plan

                    24             4.3.               – Priority
                                              Class 3 —  Priority Unsecured
                                                                   Unsecured Claims. Each Allowed Priority Unsecured Claim,
                             if any, shall, in full and final satisfaction of such Claims, be paid in full in Cash on the latest of:
                    25                Initial Distribution
                             (i) the Initial  Distribution Date,
                                                           Date, oror as soon thereafter
                                                                               thereafter as
                                                                                          as is practical;
                                                                                                practical; (ii)
                                                                                                           (ii) such
                                                                                                                such date
                                                                                                                      date as may be
                    26       fixed by the Bankruptcy Court, or as soon thereafter as is practicable;                            (14th)
                                                                                              practicable; (iii) the fourteenth (14th)
                             Business Day after such Claim is Allowed, or as soon thereafter as is practicable; or (iv) such
                             Business
                    27       date as the Holder of such Claim and Debtor or Reorganized Debtor, as applicable, have agreed
                             or shall
                                  shall agree,
                                         agree, plus
                                                 plus pre-Petition
                                                       pre-Petition Date
                                                                      Date interest
                                                                            interest due
                                                                                     due under
                                                                                           under applicable
                                                                                                   applicable bankruptcy
                                                                                                                bankruptcy or    non-
                                                                                                                             or non-
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                      1      bankruptcy law and claimed
                                                claimed in a Proof of Claim by such Holder to the extent
                                                                                                  extent approved by the
                             Bankruptcy Court or as included in the Schedules by the Debtor.
                      2
                                 Class 3 is Unimpaired under this Plan, and therefore, the Holders of Class 3 Claims, if any,
                      3     are deemed to have accepted this Plan and are not entitled to vote on this Plan.
                      4         4.4.       Class 44 —
                                                    – Convenience
                                                       Convenience Claims.
                                                                       Claims. Except to the extent that a Holder of an Allowed
                      5     Convenience Claim agrees to less favorable treatment, each Holder of an Allowed Convenience
                            Claim shall, in full and final satisfaction of such Allowed Convenience Claim be paid in 6 equal
                      6     monthly installments
                                     installments commencing
                                                   commencing on  on the
                                                                      the Initial
                                                                          Initial Distribution
                                                                                  Distribution Date,
                                                                                               Date, the
                                                                                                     the lesser
                                                                                                         lesser of (i) the Allowed
                            amount of such Claim, or (ii) Two Thousand (2,000.00) Dollars.
                      7
                                Class 4 is
                                Class    is impaired
                                             impaired under
                                                       under this
                                                             this Plan,
                                                                  Plan, and
                                                                        and the
                                                                             the Holders
                                                                                 Holders of
                                                                                         of Allowed
                                                                                            Allowed Convenience
                                                                                                    Convenience Claims are
                      8     entitled to vote on this Plan.
                      9        4.5.      Class 55 —
                                                  – General
                                                    General Unsecured
                                                            Unsecured Claims. Except
                                                                                  Except to the extent that a Holder of an
                    10      Allowed General Unsecured Claim agrees to less favorable treatment;

                    11                      Each Holder
                                    4.5.1. Each   Holder of an Allowed
                                                                 Allowed General
                                                                           General Unsecured    Claim, shall,
                                                                                   Unsecured Claim,     shall, in
                                                                                                               in full and final
                                                                                                                           final
                            satisfaction of such Claim, be paid in Cash its Pro Rata share of the Class 5 Distribution Amount.
                    12
                                   4.5.2. Deducted from the Class 5 Distribution Amount shall be (i) all costs and expenses
                    13             Disbursing Agent and the
                            of the Disbursing            the Disbursing
                                                             Disbursing Agent Account,
                                                                                Account, and (ii)
                                                                                              (ii) the
                                                                                                    the Allowed
                                                                                                        Allowed Professional
                                                                                                                Professional
                            Fees of the Creditor Committee approved after the Effective Date.
                    14
                                    4.5.3. On the Effective Date, provided that the Settlement and Restructuring Agreement
                    15
                            is approved and this Plan as confirmed is consistent with the relief provided for in the Settlement
                    16           Restructuring Agreement,
                            and Restructuring   Agreement, the
                                                            the Claims
                                                                Claims of
                                                                        of Woolley,
                                                                           Woolley, Kraus
                                                                                        Kraus and
                                                                                                and Jet Midwest
                                                                                                        Midwest and the KMWKMW
                                  payments shall
                            Cure payments             subordinated to the payment
                                             shall be subordinated        payment of all all other
                                                                                             other Allowed
                                                                                                   Allowed General
                                                                                                             General Unsecured
                                                                                                                      Unsecured
                    17      Claims and unclassified
                                         unclassified Allowed
                                                      Allowed Claims   andshall
                                                              Claims and   shallnot
                                                                                 not receive
                                                                                      receive any
                                                                                               any Distribution
                                                                                                   Distribution under this Plan.
                    18            Class 5 is
                                  Class    is Impaired
                                               Impaired under
                                                         under this
                                                                this Plan.   TheHolders
                                                                     Plan. The   Holders of
                                                                                          of the
                                                                                              theClass
                                                                                                  Class 55Allowed
                                                                                                           Allowed General
                                                                                                                   General
                            Unsecured Claims are entitled to vote on this Plan.
                    19
                                  4.6.               – Governmental
                                             Class 6 —  GovernmentalUnit
                                                                       UnitResidual
                                                                             ResidualClaims.
                                                                                           Claims... In accordance with the Class
                    20
                                and Class
                             2 and    Class 66Settlement
                                               Settlement Agreement,
                                                           Agreement, the Agencies
                                                                             Agencies shall shall receive
                                                                                                  receive in full
                                                                                                              full and
                                                                                                                    and complete
                                                                                                                         complete
                    21       satisfaction of
                             satisfaction          Allowed Governmental
                                          of their Allowed  Governmental Unit
                                                                            Unit Residual
                                                                                   Residual Claims
                                                                                               Claims the
                                                                                                       the sum     Eight Hundred
                                                                                                           sum of Eight  Hundred
                                                                                      st
                             Thousand (800,000.00)
                                        (800,000.00) Dollars
                                                      Dollars in
                                                              in Cash
                                                                 Cash on
                                                                      on the
                                                                         the first
                                                                             first (1
                                                                                    (1') ) Business                         (10th)
                                                                                           Business Day following the tenth (10th)
                    22       day after the Effective Date.
                    23                        Impaired under this Plan.
                                   Class 6 is Impaired             Plan. The
                                                                          The Holders
                                                                               Holders of
                                                                                       of the
                                                                                           the Class
                                                                                               Class 66 Allowed
                                                                                                        Allowed Governmental
                                                                                                                Governmental
                            Unit Residual Claims are entitled to vote on this plan.
                    24

                    25         4.7.        Class 77 —
                                                    – Equity
                                                      Equity Securities. On the Effective Date the Equity Securities of the
                            Debtor shall
                            Debtor  shall be  cancelled and
                                          be cancelled       Holders of
                                                         and Holders      Class 77 Equity
                                                                       of Class    Equity Securities
                                                                                          Securities shall
                                                                                                     shall not receive
                                                                                                                receive any
                                                                                                                        any
                    26      Distribution on account of such Equity Interests.

                    27              Class 7 is Impaired
                                    Class       Impaired under
                                                           under this
                                                                 this Plan. The Holders
                                                                      Plan. The Holders of
                                                                                         of Class
                                                                                            Class 77 Equity
                                                                                                     Equity Securities
                                                                                                            Securities are not
                            entitled to vote on this Plan and are deemed to have voted no on this Plan.
                    28
 Garman Turner
 Garman  Turner Gordon
                 Gordon
          LLP
          LLP
650 White
650 White Drive,
          Drive, Ste.
                 Ste. 100
                      100
  Las Vegas,
 Las  Vegas, NV
             NV 89119
                 89119
     725-777-3000
      725-777-3000                                                           15
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                      1     5.      MEANS FOR IMPLEMENTATION OF PLAN

                      2         5.1.       Plan Implementation Occurring on the Effective Date. On the Effective Date,
                            except as otherwise provided, without any further action by Debtor or Reorganized Debtor, all of
                      3     Debtor’s assets shall vest in
                            Debtor's                    in Reorganized
                                                           Reorganized Debtor
                                                                       Debtor and       following events
                                                                                and the following  events shall occur in the
                                                                                                          shall occur
                            following sequence:
                      4
                                    5.1.1. The
                                            TheSettlement
                                                Settlementand
                                                           andRestructuring
                                                              Restructuring Agreement
                                                                            Agreement shall
                                                                                      shall be executed.
                      5
                                   5.1.2. IfIfnot
                                   5.1.2.      notalready
                                                   alreadyexecuted,
                                                           executed, the
                                                                      the Class
                                                                          Class 22 and
                                                                                    andClass
                                                                                       Class 66Settlement
                                                                                                Settlement Agreement
                                                                                                           Agreement shall be
                      6
                             executed.
                      7
                                   5.1.3. The Exit Loan Documents shall be executed by the Reorganized
                                                                                                Reorganized Debtor and the
                      8      Exit Loan
                                  Loan Lender,
                                        Lender, as applicable,
                                                     applicable, and
                                                                 and the
                                                                      the Exit Loan Note
                                                                          Exit Loan Note shall be delivered
                                                                                                  delivered to the Exit
                                                                                                                   Exit Loan
                                                                                                                        Loan
                             Lender. The
                                     The initial
                                          initial funding
                                                  funding shall be funded.
                      9
                                    5.1.4. All Litigation Claims shall be assigned and transferred to Reorganized Debtor.
                    10
                                           Onthe
                                   5.1.5. On  theEffective
                                                  EffectiveDate
                                                            Datethe
                                                                  theClass
                                                                     Class55Distribution
                                                                             Distribution Amount
                                                                                          Amount shall
                                                                                                 shall be
                                                                                                       be transferred
                                                                                                          transferred to the
                    11
                             Disbursing Agent for deposit into the Disbursing Agent Account.
                    12
                                                additional Distributions
                                   5.1.6. Any additional   Distributions required
                                                                         required to
                                                                                   to be
                                                                                      be made by the Debtor
                                                                                                     Debtor or Reorganized
                                                                                                                Reorganized
                    13       Debtor, as applicable,
                             Debtor,     applicable, pursuant
                                                     pursuant to
                                                              to this          Holders of Allowed
                                                                 this Plan the Holders     Allowed Claims on the
                                                                                                               the Effective
                                                                                                                   Effective
                             Date shall be made.
                    14
                                            OneHundred
                                    5.1.7. One  Hundred(100)
                                                        (100)Percent
                                                              Percentof
                                                                      ofthe
                                                                         theEquity
                                                                             EquitySecurities
                                                                                    Securities of
                                                                                               of Reorganized
                                                                                                  Reorganized Debtor
                                                                                                              Debtor shall
                    15       be issued to Solitude.
                    16          5.2.       Reorganized Debtor. From and after the Effective Date shall continue to exist as
                    17      a separate entity in accordance
                                                 accordance with
                                                            with applicable
                                                                  applicable law.  Debtor’s existing
                                                                              law. Debtor's  existing articles
                                                                                                      articles of
                                                                                                                of organization,
                                                                                                                   organization,
                            by-laws, and operating agreements
                            by-laws,                 agreements (as amended,
                                                                    amended, supplemented,
                                                                                supplemented, or   modified) will
                                                                                                or modified)         continue in
                                                                                                               will continue
                    18      effect for Reorganized
                            effect     Reorganized Debtor
                                                      Debtor following
                                                             following the
                                                                        the Effective
                                                                            Effective Date,
                                                                                       Date, except
                                                                                              except toto the  extent that such
                                                                                                          the extent        such
                            documents are amended in conformance
                                                        conformance with
                                                                     with this Plan or by proper governance action after the
                    19      Effective Date.
                    20         5.3.        Articles of Organization,
                                           Articles     Organization, By-laws,
                                                                        By-laws, Operating
                                                                                  Operating Agreement.
                                                                                                Agreement. The        articles of
                                                                                                                The articles
                    21      organization, by-laws, and/or operating agreement, as applicable, of Debtor shall be amended as
                            necessary to
                            necessary     satisfy the
                                       to satisfy     provisions of
                                                  the provisions         Plan and
                                                                 of this Plan  and the
                                                                                    the Bankruptcy
                                                                                         Bankruptcy Code
                                                                                                       Code and
                                                                                                             and shall
                                                                                                                  shall include,
                                                                                                                         include,
                    22      among other
                            among          things, pursuant
                                    other things,  pursuant to Section
                                                                Section 1123(a)(6)
                                                                         1123(a)(6) of    the Bankruptcy
                                                                                      of the   Bankruptcy Code,
                                                                                                            Code, aa provision
                                                                                                                       provision
                            prohibiting the
                            prohibiting  the issuance
                                             issuance of  non-voting equity
                                                       of non-voting  equity securities,
                                                                             securities,butbut only
                                                                                               only to
                                                                                                     to the extent
                                                                                                            extent required
                                                                                                                    required by
                    23      Section 1123(a)(6) of the Bankruptcy Code
                    24          5.4.      Post-Effective Date Management of Reorganized Debtor. From and after the
                            Effective
                            Effective Date,
                                      Date, Reorganized
                                            Reorganized Debtor
                                                          Debtor will
                                                                  will continue
                                                                       continue to     managed by
                                                                                 to be managed    by Debtor's
                                                                                                      Debtor’s pre-petition
                                                                                                                pre-petition
                    25
                            managers, which
                            managers,  which management
                                              managementmay   may subsequently
                                                                   subsequentlybebemodified
                                                                                     modifiedtoto the  extent provided
                                                                                                  the extent  provided by
                    26      Reorganized Debtor’s
                            Reorganized                      organization, by-laws, and operating
                                        Debtor's articles of organization,              operating agreement
                                                                                                   agreement (as amended,
                                                                                                                  amended,
                            supplemented, or modified).
                    27

                    28
 Garman Turner
 Garman  Turner Gordon
                 Gordon
          LLP
          LLP
650 White
650 White Drive,
          Drive, Ste.
                 Ste. 100
                      100
  Las Vegas,
 Las  Vegas, NV
             NV 89119
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     725-777-3000
      725-777-3000                                                           16
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                                    Case 17-10814
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                      1         5.5.       Post-Effective Date Treatment of Taxes Due United States. From and after the
                            Effective Date:
                      2
                                    5.5.1. The   Reorganized Debtor
                                            The Reorganized       Debtor shall
                                                                          shall (i)
                                                                                 (i) segregate
                                                                                     segregate and
                                                                                                 and hold   separate and
                                                                                                     hold separate          apart all
                                                                                                                       and apart   all
                      3     moneys withheld from employees or collected from others for Taxes under any internal revenue
                            laws
                            laws of the United
                                         United States, (ii) deposit
                                                              deposit the moneys
                                                                           moneys so withheld
                                                                                        withheld or collected
                                                                                                      collected in a separate
                                                                                                                       separate bank
                      4
                            account in
                            account                   United States
                                     in trust for the United   States not later
                                                                           later than
                                                                                 than within
                                                                                       within the
                                                                                               the calendar
                                                                                                   calendar week next afterafter such
                                                                                                                                 such
                      5     collecting and
                            collecting  and withholding,
                                            withholding, (iii)
                                                           (iii) pay
                                                                 pay from
                                                                      from the separate
                                                                                separate bank account
                                                                                                 account to the
                                                                                                              the Internal
                                                                                                                   Internal Revenue
                                                                                                                            Revenue
                            Service
                            Service Insolvency
                                     Insolvency Manager
                                                   Manageror or aa delegate
                                                                   delegate as   identified in writing
                                                                              as identified     writing by the
                                                                                                             the Internal
                                                                                                                   Internal Revenue
                                                                                                                            Revenue
                      6     Service,
                            Service, the
                                      the proper
                                          proper amounts
                                                  amounts at        time and
                                                            at the time   and in
                                                                               in the
                                                                                   themanner
                                                                                       manner prescribed
                                                                                                prescribed byby applicable
                                                                                                                 applicable internal
                                                                                                                              internal
                            revenue laws; (iv) timely file all state and federal tax returns required of the Reorganized Debtor
                      7     under non-Bankruptcy Code law and regulations; and (v) not grant a Lien nor create a priority as
                            to payment in the moneys collected for Taxes due the United States.
                      8

                      9                    Any refunds
                                    5.5.2. Any   refunds or other
                                                              other credits
                                                                    credits to
                                                                             to which
                                                                                which the
                                                                                       theReorganized
                                                                                           Reorganized Debtor
                                                                                                         Debtor may
                                                                                                                 may become
                                                                                                                      become
                            entitled for
                            entitled for any reason
                                             reason before
                                                     before payment
                                                             payment inin full
                                                                          full of the Allowed
                                                                                      Allowed Priority
                                                                                              Priority Tax
                                                                                                        Tax Claims
                                                                                                            Claims to
                                                                                                                   to be paid
                    10      pursuant to Section 2.3 of this Plan may be credited or applied to the last payment required to be
                            made on the Allowed Priority Tax Claims.
                    11
                                    5.5.3. If
                                    5.5.3.  If the Reorganized Debtor fails to make any payment required pursuant to Section
                    12      2.3 of this Plan, fails to comply with Section 5.5.1(i), (ii), (iii) or (iv) of this Plan within 21 days
                                    due date
                            of the due   date for
                                              for such
                                                   such action,
                                                         action, or
                                                                 or ifif the
                                                                          theReorganized
                                                                              Reorganized Debtor
                                                                                           Debtor violates
                                                                                                    violates Section
                                                                                                             Section 5.5.1(v)
                                                                                                                       5.5.1(v) of this
                    13
                            Plan, then the IRS Insolvency Manager or delegate may, in his or her sole discretion, declare in
                    14      writing the Reorganized Debtor
                                                        Debtor in default of the provisions of Sections 2.3 and 5.5 of this Plan.
                            In the event that the Reorganized Debtor fails to cure the default within 21 days of receipt of the
                    15      writing, the IRS Insolvency
                            writing,           Insolvency Manager
                                                             Manager or      delegate may,
                                                                          or delegate may, in his or
                                                                                                   or her
                                                                                                      her sole
                                                                                                           sole discretion,
                                                                                                                 discretion, accelerate
                                                                                                                             accelerate
                                             immediately due and owing the remaining balance of the Allowed
                            and declare as immediately                                                          Allowed Priority Tax
                    16      Claim together with any unpaid post-Effective
                                                                 post-Effective Date Taxes. The Internal Revenue Service may
                            collect any amounts
                            collect       amounts due and and owing
                                                               owing through
                                                                          through the
                                                                                   the administrative
                                                                                        administrative collection
                                                                                                        collection provisions
                                                                                                                    provisions ofof the
                    17
                            Internal Revenue Code or by any other procedure authorized by law.
                    18
                                5.6.       Effectuation of Transactions. On and after the    the Effective
                                                                                                 Effective Date,
                                                                                                            Date, the
                                                                                                                  the appropriate
                                                                                                                      appropriate
                    19      managers or members of Debtor are authorized
                            managers                               authorized to issue,
                                                                                   issue, execute,
                                                                                          execute, deliver,
                                                                                                   deliver, and consummate
                                                                                                                 consummate the
                            transactions contemplated
                            transactions  contemplated  bybyorordescribed
                                                                 described  ininthis
                                                                                  thisPlan
                                                                                       Planininthe
                                                                                                the name
                                                                                                    name of of and
                                                                                                               and on   behalf of
                                                                                                                    on behalf
                    20      Reorganized Debtor
                            Reorganized   Debtor without
                                                  without further
                                                           further notice
                                                                   notice to
                                                                           to or
                                                                              or order
                                                                                 order of the Bankruptcy
                                                                                               Bankruptcy Court,
                                                                                                             Court, act or action
                                                                                                                           action
                            under applicable law, regulation, order, rule, or any requirements of further action, vote, or other
                    21
                            approval or authorization by any Person
                    22
                               5.7.        Notice of Effectiveness. When all of the steps contemplated by Section 8.2 have
                    23      been completed or waived, Reorganized
                                                          Reorganized Debtor
                                                                        Debtor shall
                                                                                shall file with the Bankruptcy Court and serve
                            upon all Creditors
                                     Creditors and all
                                                     all potential
                                                          potential Holders
                                                                    Holders of
                                                                             of Administrative
                                                                                Administrative Claims
                                                                                                  Claims known
                                                                                                          known to
                                                                                                                 to Reorganized
                                                                                                                    Reorganized
                    24      Debtor (whether
                            Debtor  (whether or
                                              or not
                                                 not disputed),
                                                     disputed), aa notice
                                                                    notice of
                                                                           of Effective
                                                                              Effective Date
                                                                                          Date of
                                                                                               of Plan.  The notice
                                                                                                   Plan. The notice of
                                                                                                                     of Effective
                                                                                                                        Effective
                            Date of Plan shall include notice of the Administrative Claim Bar Date
                    25
                                5.8.        No Governance Action Required. As of the EffectiveEffective Date:
                                                                                                         Date: (i)(i) the
                                                                                                                       the adoption,
                                                                                                                            adoption,
                    26
                            execution, delivery,
                            execution,   delivery, and  implementation or
                                                   and implementation        assignment of all
                                                                          or assignment      all contracts,
                                                                                                  contracts, leases,
                                                                                                              leases, instruments,
                                                                                                                        instruments,
                    27      releases, and other agreements related
                                                             related to or contemplated
                                                                           contemplated by this Plan; and (ii) the other matters
                            provided for
                            provided   for under
                                           under or in furtherance
                                                       furtherance of this Plan involving
                                                                                  involving corporate
                                                                                            corporate action
                                                                                                        action toto be   taken by or
                                                                                                                    be taken
                    28
 Garman Turner
 Garman  Turner Gordon
                 Gordon
          LLP
          LLP
650 White
650 White Drive,
          Drive, Ste.
                 Ste. 100
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                      11    required of Debtor
                            required     Debtor shall                     occurred and be effective
                                                shall be deemed to have occurred            effective as provided
                                                                                                          provided herein, and
                            shall be authorized and approved in all respects without further order of the Bankruptcy Court or
                      2     any requirement of further action by the members or managers of Debtor
                      3         5.9.       Filing with Virginia SOS. To the extent required by the Virginia Code, on or as
                            soon reasonably practical
                            soon  as reasonably  practical after
                                                           after the
                                                                  the Effective
                                                                      Effective Date,
                                                                                 Date, aa certified
                                                                                          certified copy
                                                                                                     copy ofof this Plan and the
                                                                                                               this Plan      the
                      4
                            Confirmation Order shall be filed with the Virginia SOS. Again, to the extent applicable, Debtor,
                      5     from the Confirmation Date until the Effective Date, is authorized and directed to take any action
                               carry out
                            or carry out any
                                         any proceeding
                                              proceeding necessary
                                                          necessary to effectuate
                                                                         effectuate this
                                                                                    this Plan
                                                                                         Plan pursuant
                                                                                                pursuant to
                                                                                                          to applicable
                                                                                                              applicable Virginia
                                                                                                                         Virginia
                      6     Code provisions.

                      7         5.10.                                     Effective Date the
                                          Creditor Committee. On the Effective            the Creditor
                                                                                              Creditor Committee
                                                                                                        Committee shall
                                                                                                                   shall be
                            disbanded and
                            disbanded          authorities granted
                                       and all authorities granted the Creditor
                                                                       Creditor Committee
                                                                                Committee pursuant
                                                                                            pursuant to  Sections 1102
                                                                                                      to Sections 1102 and
                      8     1103 of the Bankruptcy Code shall be terminated without further order of the Bankruptcy Court.
                      9
                            6.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                    10
                                6.1.        Executory Contracts. Except          Executory Contracts
                                                                      Except for Executory   Contracts and Unexpired
                                                                                                             Unexpired Leases
                                                                                                                         Leases
                    11      specifically addressed
                                         addressed in
                                                    in this Plan, assumed
                                                                  assumed pursuant
                                                                           pursuant to prior order of the Bankruptcy Court, or
                                forth on
                            set forth on the
                                          the schedule
                                               schedule of
                                                         of Rejected
                                                             Rejected Executed
                                                                       Executed Contracts
                                                                                Contracts and
                                                                                           and Unexpired
                                                                                                Unexpired Leases
                                                                                                            Leases attached
                                                                                                                    attached as
                    12      Schedule  6.1  hereto (which
                            Schedule 6.1 hereto (which     may  be supplemented  and  amended
                                                                   supplemented and amended up  up  to the date the Bankruptcy
                                                                                                                    Bankruptcy
                            Court enters the Confirmation Order), all Executory Contracts and Unexpired Leases that exist
                    13      on the Confirmation Date shall be deemed rejected by Debtor on the Effective Date.
                    14          6.2.        Approval of Assumption or Rejection. Entry of the Confirmation Order shall
                    15      constitute as of the Effective Date: (i) approval, pursuant to Bankruptcy Code Section 365, of the
                            rejection by Reorganized
                            rejection     Reorganized Debtor
                                                         Debtor of           Executory Contract
                                                                  of each Executory        Contract and Unexpired
                                                                                                           Unexpired Lease
                                                                                                                       Lease to which
                                                                                                                                which
                    16      Debtor is a party that is not listed
                                                           listed on
                                                                  on Schedule
                                                                      Schedule 6.1, not otherwise provided
                                                                                                        provided for in this Plan, and
                            neither assigned, assumed and assigned, nor rejected by separate order of the Bankruptcy Bankruptcy Court
                    17      prior to the
                            prior     the Effective
                                           Effective Date;
                                                      Date; and
                                                              and (ii)
                                                                   (ii) rejection
                                                                         rejection byby Debtor
                                                                                         Debtor of of each
                                                                                                       each Executory
                                                                                                              Executory Contract
                                                                                                                         Contract and
                                                                                                                                   and
                            Unexpired   Lease   to which   Debtor   is   a party  that  is  not listed  on   Schedule
                            Unexpired Lease to which Debtor is a party that is not listed on Schedule 6.1. Upon the    6.1.  Upon   the
                    18      Effective Date, each counter party to an assumed Executory Contract or Unexpired Lease listed
                    19      shall be deemed to have consented to an assumption contemplated by Section 365(c)(1)(B) of the
                            Bankruptcy Code,
                            Bankruptcy    Code, to
                                                 to the
                                                    the extent
                                                        extent such
                                                                such consent
                                                                       consent isis necessary
                                                                                    necessary for
                                                                                                for such
                                                                                                     such assumption.       the extent
                                                                                                            assumption. To the  extent
                    20      applicable, all
                            applicable,       Executory Contracts
                                         all Executory    Contracts or Unexpired
                                                                           Unexpired Leases
                                                                                         Leases of of Reorganized
                                                                                                       Reorganized Debtor
                                                                                                                      Debtor assumed
                                                                                                                              assumed
                            pursuant to this Article 6 shall
                            pursuant                    shall be
                                                               be deemed
                                                                  deemed modified
                                                                             modified such
                                                                                        such that
                                                                                              that the
                                                                                                    the transactions
                                                                                                         transactions contemplated
                                                                                                                      contemplated by
                    21                                “change of control,"
                            this Plan shall not be a "change       control,” regardless of how such term may be defined in the
                            relevant Executory
                            relevant  Executory Contract
                                                   Contract oror Unexpired
                                                                 Unexpired Lease
                                                                               Lease and
                                                                                       and any    required consent
                                                                                             any required     consent under       such
                                                                                                                       under any such
                    22
                            Executory Contract or Unexpired Lease shall be deemed satisfied by confirmation of this Plan.
                    23
                                6.3.                   Defaults. Reorganized
                                              Cure of Defaults.    Reorganized Debtor
                                                                                 Debtor shall Cure any defaults
                                                                                                           defaults respecting
                                                                                                                      respecting each
                    24      Executory
                            Executory Contract
                                          Contract or
                                                    or Unexpired
                                                       Unexpired Lease
                                                                  Lease assumed
                                                                         assumed pursuant
                                                                                   pursuant toto Section
                                                                                                 Section 6.1
                                                                                                          6.1 ofof this Plan upon the
                            latest of: (i) the Effective Date or as soon thereafter as practicable; (ii) such dates as may be fixed
                    25              Bankruptcy Court or agreed upon by Debtor,
                            by the Bankruptcy                                Debtor, and
                                                                                       and after
                                                                                           after the
                                                                                                  the Effective
                                                                                                      Effective Date,
                                                                                                                   Date, Reorganized
                                                                                                                         Reorganized
                                                             (14th) Business Day after the entry of a Final Order resolving any
                            Debtor; or (iii) the fourteenth (14th)
                    26      dispute regarding: (a) a Cure amount; (b) the ability of Debtor or Reorganized Debtor to provide
                    27      “adequate assurance
                            "adequate    assurance of future performance"
                                                              performance” under the Executory
                                                                                         Executory Contract or Unexpired
                                                                                                                     Unexpired Lease
                            assumed pursuant to this Plan in accordance with Section 365(b)(1) of the Bankruptcy Code; or
                    28          any matter
                            (c) any   matter pertaining
                                               pertaining to assumption,
                                                              assumption, assignment,
                                                                           assignment, or or the
                                                                                             the Cure of of aa particular
                                                                                                                particular Executory
                                                                                                                           Executory
 Garman Turner
 Garman  Turner Gordon
                 Gordon
          LLP
          LLP
650 White
650 White Drive,
          Drive, Ste.
                 Ste. 100
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                      1     Contract or an Unexpired Lease. Notwithstanding, the Cure of the KMW Leases shall be treated
                            in accordance with the Settlement and Restructuring Agreement.
                      2
                                6.4.         Objection to Cure Amounts. Any party to an Executory Contract or Unexpired
                      3     Lease who objects to the Cure amount determined
                                                                        determined by Debtor
                                                                                          Debtor to be due and owing must file and
                            serve
                            serve  an  objection
                                       objection  on  Debtor’s  counsel
                                                      Debtor's counsel    no later than   thirty (30)
                                                                             later than thirty    (30) days
                                                                                                         days after
                                                                                                              after the
                                                                                                                     the Effective
                                                                                                                         Effective Date.
                                                                                                                                    Date.
                      4
                            Failure to file and serve a timely objection shall be deemed consent to the Cure amounts paid by
                      5     Debtor in accordance with Section 6.3  6.3 of
                                                                       of this
                                                                          this Plan.  If there
                                                                               Plan. If  there is
                                                                                                is aa dispute
                                                                                                      dispute regarding: (i) the amount
                                                              ability of
                            of any Cure payment; (ii) the ability     of Reorganized
                                                                          Reorganized Debtor to provideprovide "adequate
                                                                                                                “adequate assurance of
                      6     future  performance” under
                            future performance"       under the
                                                             the Executory
                                                                 Executory Contract
                                                                               Contractor  or Unexpired
                                                                                              Unexpired Lease Lease toto be  assumed or
                                                                                                                         be assumed
                            assigned; or
                            assigned;            any other
                                        or (iii) any  other matter
                                                            matter pertaining
                                                                     pertaining to
                                                                                 to assumption,
                                                                                     assumption, the Cure Cure payments
                                                                                                                 payments required
                                                                                                                             required by
                      7     Section
                            Section 365(b)(1)
                                      365(b)(1) ofof the
                                                     the Bankruptcy
                                                         Bankruptcy Code
                                                                       Code will
                                                                              will be
                                                                                   be made
                                                                                       made following
                                                                                               following thethe entry
                                                                                                                entry of     Final Order
                                                                                                                        of a Final Order
                            resolving the dispute and approving the assumption.
                      8

                      9         6.5.        Confirmation
                                            Confirmation Order. The Confirmation
                                                                           Confirmation Order
                                                                                          Order will
                                                                                                 will constitute
                                                                                                      constitute an
                                                                                                                 an order
                                                                                                                     order of the
                            Bankruptcy Court approving the assumptions described in this Article 6 pursuant to Section 365
                    10      of the Bankruptcy Code as of the Effective
                                                                Effective Date.  Notwithstanding the forgoing, if, as of the date
                                                                          Date. Notwithstanding
                            the Bankruptcy
                                 Bankruptcy Court    enters
                                              Court enters  the Confirmation Order, there
                                                                Confirmation    Order, there is pending
                                                                                                pending before
                                                                                                         before the
                                                                                                                 the Bankruptcy
                                                                                                                     Bankruptcy
                    11      Court a dispute concerning the Cure amount or adequate assurance for any particular Executory
                            Contract or Unexpired
                            Contract     Unexpired Lease,
                                                      Lease, the assumption
                                                                 assumption of such Executory
                                                                                       Executory Contract or Unexpired
                                                                                                               Unexpired Lease
                    12      shall be effective as of the date the Bankruptcy Court enters an order resolving any such dispute
                    13      and authorizing assumption by Debtor.

                    14          6.6.        Bar Date. All proofs of Claims with respect to Claims arising from the rejection
                                               Contract or Unexpired
                            of any Executory Contract       Unexpired Lease
                                                                      Lease shall
                                                                             shall be filed no later than thirty
                                                                                                          thirty (30)
                                                                                                                 (30) calendar
                                                                                                                      calendar
                    15      days after the Effective Date. Any
                                                           Any Claim
                                                               Claim not
                                                                     not filed
                                                                         filed within
                                                                               within such
                                                                                      such time shall be forever barred.
                    16      7.      MANNER OF DISTRIBUTION OF PROPERTY UNDER THIS PLAN
                    17          7.1.                         Distributions to
                                            Distributions. Distributions     to Holders
                                                                                Holders of
                                                                                         of Class
                                                                                            Class 5 Allowed Claims
                                                                                                               Claims shall be the
                            responsibility of the Disbursing Agent, and Reorganized Debtor shall be responsible for making
                    18                       Distributions described
                            the balance of Distributions   described in
                                                                      in this
                                                                         this Plan.  Reorganized Debtor
                                                                              Plan. Reorganized    Debtor and
                                                                                                            and Disbursing
                                                                                                                 Disbursing Agent,
                    19         applicable, may
                            as applicable,         make such Distributions
                                             may make          Distributions before
                                                                                before the
                                                                                        the allowance
                                                                                            allowance of of each   Claim has been
                                                                                                            each Claim        been
                            resolved if
                            resolved     Reorganized Debtor
                                      if Reorganized    Debtor has
                                                                has aa good
                                                                       good faith belief that the
                                                                                                the Disputed
                                                                                                    Disputed Claims
                                                                                                                 Claims Reserve
                                                                                                                         Reserve is
                    20      sufficient for all Disputed Claims. Except
                                                                 Except asas otherwise
                                                                             otherwise provided
                                                                                        provided in this Plan or the Confirmation
                            Order, the Cash necessary for Reorganized DebtorDebtor to make payments
                                                                                             payments pursuant
                                                                                                         pursuant to this Plan may
                    21      be obtained from existing Cash balances or the Exit Loan, and the Cash necessary for Disbursing
                            Agent to make
                            Agent      make payments
                                               payments pursuant
                                                         pursuant to        Plan shall
                                                                   to this Plan   shall be
                                                                                        be obtained
                                                                                            obtained from
                                                                                                      from the
                                                                                                             the Disbursing
                                                                                                                  Disbursing Agent
                                                                                                                             Agent
                    22
                            Account.
                    23
                                7.2.                   Disbursing Agent
                                           Reserves. Disbursing     Agent shall  establish and maintain
                                                                           shall establish     maintain the Disputed
                                                                                                            Disputed Claim
                                                                                                                     Claim
                    24      Reserve with
                            Reserve        respect to Class
                                      with respect     Class 55 General
                                                                 General Unsecured
                                                                          Unsecured Claims,
                                                                                     Claims, and
                                                                                              and Reorganized
                                                                                                  Reorganized Debtor
                                                                                                               Debtor shall
                                                                                                                      shall
                            establish and maintain the Disputed Claim Reserve for the balance of the Claims.
                    25
                                7.3.                       Reorganized Debtor
                                           Statements. Reorganized        Debtorshall
                                                                                  shall maintain
                                                                                        maintainaa record
                                                                                                   record of       names and
                                                                                                           of the names    and
                    26      addresses of
                            addresses  of all Holders
                                              Holders of Allowed
                                                           Allowed Claims
                                                                    Claims as     the Effective
                                                                            as of the Effective Date for purposes
                                                                                                         purposes of mailing
                                                                                                                       mailing
                            Distributions to them, and shall provide a copy to the Disbursing Agent. Reorganized Debtor and
                    27
                                Disbursing Agent
                            the Disbursing  Agent may
                                                   may rely on the name and address set forth in Debtor's
                                                                                                   Debtor’s Schedules
                                                                                                            Schedules and/or
                    28      Proofs of Claim and the
                            Proofs                 the ledger
                                                        ledger and
                                                               and records
                                                                    records regarding
                                                                            regarding Holders
                                                                                       Holders of Equity
                                                                                                  Equity Securities
                                                                                                          Securities as
                                                                                                                     as of the
 Garman Turner
 Garman  Turner Gordon
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650 White Drive,
          Drive, Ste.
                 Ste. 100
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  Las Vegas,
 Las  Vegas, NV
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                      1     Record Date
                            Record   Date as   being true
                                           as being    true and
                                                              and correct
                                                                   correct unless
                                                                            unless and
                                                                                    and until
                                                                                          untilnotified
                                                                                                notified otherwise
                                                                                                          otherwise in
                                                                                                                     in writing.
                                                                                                                         writing.
                            Reorganized Debtor
                            Reorganized   Debtor shall
                                                 shall file all tax returns
                                                                    returns and other
                                                                                other filings
                                                                                      filings with
                                                                                               with governmental
                                                                                                    governmental authorities on
                      2     behalf of Reorganized Debtor and the Assets it holds. The Disbursing Agent shall be responsible
                            for any tax returns
                                        returns and other
                                                    other filings
                                                            filings with
                                                                    with governmental
                                                                         governmental authorities
                                                                                        authorities with
                                                                                                     with regard
                                                                                                          regard to
                                                                                                                 to the Assets it
                      3     holds.
                      4
                               7.4.        Further Authorization. Debtor and Reorganized Debtor shall be entitled to seek
                      5     such orders, judgments, injunctions, and rulings as it deems necessary to carry out the intentions
                            and purposes, and to give full effect to the provisions of this Plan.
                      6
                            8.      CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE
                      7             DATE

                      8        8.1.                       Confirmation. The Confirmation
                                           Conditions to Confirmation.         Confirmation Order
                                                                                            Order shall have been entered
                            and be in form and substance reasonable acceptable to Debtor.
                      9
                               8.2.        Conditions to Effectiveness.
                                           Conditions      Effectiveness.      The following are
                                                                               The following are conditions
                                                                                                 conditions precedent
                                                                                                            precedent to
                                                                                                                      to the
                    10      occurrence of the Effective Date:
                    11
                                    8.2.1. The Confirmation
                                               Confirmation Order
                                                             Order shall
                                                                    shall be
                                                                          be a Final Order, except that Debtor
                                                                                                        Debtor reserves the
                    12      right to cause
                            right    cause the
                                           the Effective
                                               Effective Date to
                                                              to occur
                                                                 occur notwithstanding
                                                                        notwithstanding the
                                                                                         the pendency
                                                                                             pendency ofof an appeal of the
                                                                                                           an appeal
                            Confirmation Order;
                    13
                                    8.2.2. All documents necessary to implement the transactions contemplated by this Plan
                    14      shall be in form and substance reasonable acceptable to Debtor;
                    15             8.2.3. The  Settlement and
                                          The Settlement        Restructuring Agreement
                                                            and Restructuring  Agreementshall
                                                                                           shall be
                                                                                                 be in form
                                                                                                       form and
                                                                                                             and substance
                                                                                                                  substance
                            reasonably acceptable to Solitude, Woolley and the Debtor, and the Settlement and Restructuring
                    16
                            Agreement shall have been executed;
                    17
                                   8.2.4. The Class 2 and Class 6 Settlement and Agreement shall be in form and substance
                    18      reasonably acceptable
                            reasonably  acceptabletotothe
                                                       theDOJ,
                                                          DOJ,Woolley
                                                                 Woolleyandandthe
                                                                               the Debtor,
                                                                                   Debtor,and
                                                                                           andthe
                                                                                                the Class
                                                                                                     Class 22 and Class 6
                                                                                                              and Class
                            Settlement Agreement shall have been executed;
                    19
                                  8.2.5. The Exit Loan Documents shall be in in form
                                                                                form and
                                                                                     and substance
                                                                                          substance reasonably
                                                                                                     reasonably acceptable
                                                                                                                acceptable
                    20      to Woolley and the Debtor, and the Exit Loan Documents shall have been executed;
                    21              8.2.6. The initial advance under the Exit Loan shall have been funded; and
                    22
                                   8.2.7. The Class 5 Distribution
                                                         Distribution Amount
                                                                      Amount shall have been distributed
                                                                                             distributed to the
                                                                                                            the Disbursing
                                                                                                                Disbursing
                    23      Agent for deposit into the Disbursing Agent Account.

                    24      9.      TITLE TO PROPERTY; DISCHARGE; INJUNCTION

                    25          9.1.        Vesting of Assets.
                                            Vesting      Assets. Subject
                                                                    Subject toto the provisions
                                                                                      provisions ofof this Plan and as permitted
                                                                                                      this Plan         permitted by
                            Section 1123(a)(5)(B)
                                     1123(a)(5)(B) ofof the Bankruptcy Code,
                                                                          Code, the Assets, including the Litigation Claims and
                    26      right, title,
                            right, title, and
                                          and interest
                                               interest being
                                                        being assumed
                                                                assumed by by Reorganized
                                                                                Reorganized Debtor
                                                                                                Debtor inin the
                                                                                                             the assumed
                                                                                                                  assumed Executory
                                                                                                                           Executory
                            Contracts, shall be transferred
                                                 transferred to
                                                             to Reorganized
                                                                 Reorganized Debtor
                                                                                Debtor onon the
                                                                                             the Effective
                                                                                                 Effective Date.
                                                                                                            Date. As of the Effective
                    27
                            Date, all such property shall be free and clear of all all Liens,
                                                                                       Liens, Claims,
                                                                                               Claims, and Equity Securities except
                    28      as otherwise provided herein.    On and
                                                     herein. On   and after
                                                                      after the
                                                                             the Effective
                                                                                 Effective Date,
                                                                                            Date, Reorganized
                                                                                                   Reorganized Debtor may operate
 Garman Turner
 Garman  Turner Gordon
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650 White Drive,
          Drive, Ste.
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  Las Vegas,
 Las  Vegas, NV
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                      1     its business and may use, acquire, and dispose of property and compromise or settle any Claim
                            without the
                            without       supervision of
                                      the supervision of or approval of
                                                         or approval  of the Bankruptcy Court
                                                                         the Bankruptcy   Court and
                                                                                                 and free
                                                                                                      free and
                                                                                                           and clear
                                                                                                                 clear of any
                                                                                                                       of any
                      2     restrictions of
                            restrictions of the Bankruptcy Code or the
                                                                    the Bankruptcy
                                                                        Bankruptcy Rules, other
                                                                                           other than
                                                                                                 than restrictions
                                                                                                       restrictions expressly
                                                                                                                    expressly
                            imposed by this Plan or the Confirmation Order.
                      3
                                9.2.       Preservation of Litigation Claims. In accordance with Section 1123(b)(3) of the
                      4
                            Bankruptcy Code, and except as otherwise expressly provided herein, all Litigation Claims shall
                      5         assigned and
                            be assigned   and transferred
                                               transferred to    Reorganized Debtor
                                                             to Reorganized   Debtor pursuant
                                                                                      pursuanttoto Section
                                                                                                   Section 5.1
                                                                                                             5.1 of this Plan.
                                                                                                                 of this Plan.
                            Reorganized Debtor, as the successor in interest to Debtor and the Estate, may and shall have the
                      6     exclusive right
                            exclusive  right to       on, settle,
                                             to sue on,    settle, or
                                                                    orcompromise
                                                                       compromise any
                                                                                  any and
                                                                                       and all
                                                                                            allLitigation
                                                                                                Litigation Claims,
                                                                                                            Claims, including
                                                                                                                     including
                            derivative actions existing against Debtor on the Effective
                            derivative                                         Effective Date.
                                                                                         Date. Notwithstanding,
                                                                                               Notwithstanding, however, all
                      7     Avoidance Actions are waived and extinguished as of the Effective Date.
                      8         9.3         Discharge. On the Effective Date, except as otherwise provided in this Plan, the
                      9     Debtor shall be discharged from any and all unclassified Claims and Claims in Classes 1, 2, 3, 4,
                            5, 6, and 7 to the fullest extent provided
                                                                provided in sections
                                                                              sections 524
                                                                                        524 and
                                                                                             and 1141
                                                                                                  1141 ofof the
                                                                                                             the Bankruptcy
                                                                                                                  BankruptcyCode.
                                                                                                                                Code. The
                    10      Discharge shall
                            Discharge    shall be   to the
                                                be to   the fullest
                                                              fullest extent
                                                                       extentprovided
                                                                               provided under
                                                                                          under section
                                                                                                   section 1141(d)(1)(A)
                                                                                                              1141(d)(1)(A) and and other
                                                                                                                                     other
                            applicable  provisions
                            applicable provisions of of  the Bankruptcy     Code,
                                                             Bankruptcy Code,      and,  except  as  otherwise
                                                                                                     otherwise     expressly provided   by
                    11      this Plan or the Confirmation Order, all consideration distributed
                                                                                          distributed under
                                                                                                        under this Plan and shall be in
                            exchange for,
                            exchange   for, and in complete
                                                     complete satisfaction,
                                                                 satisfaction, settlement,
                                                                               settlement, discharge,
                                                                                            discharge, andand release
                                                                                                                release of,
                                                                                                                        of, all
                                                                                                                            all Claims
                                                                                                                                Claims of
                    12      any kind or nature whatsoever against the Debtor or any of its assets or properties, and regardless
                    13      of whether any property shall have been distributed or retained pursuant to this Plan on account
                                               Except as
                            of such Claims. Except      as otherwise
                                                           otherwise expressly
                                                                       expressly provided
                                                                                  provided byby this
                                                                                                this Plan
                                                                                                      Plan oror the
                                                                                                                the Confirmation
                                                                                                                     Confirmation Order,
                    14      upon the Effective Date as to unclassified Claims and Claims in Classes 1, 2, 3, 4, 5, 6, and 7, the
                                                        discharged and released
                            Debtor shall be deemed discharged              released under and to the fullest
                                                                                                         fullest extent
                                                                                                                   extent provided
                                                                                                                          provided under
                    15      section 1141(d)(1)(A)
                            section  1141(d)(1)(A) of of the
                                                          the Bankruptcy
                                                               Bankruptcy Code
                                                                             Code from
                                                                                    from any
                                                                                          any and
                                                                                               and all
                                                                                                     all Claims
                                                                                                         Claims of any kind or nature
                                                                                                                                   nature
                            whatsoever,   including,    but   not   limited  to,  demands     and   liabilities   that
                            whatsoever, including, but not limited to, demands and liabilities that arose before the   arose   before  the
                    16
                            Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
                    17      Bankruptcy Code.
                            Bankruptcy    Code. Nothing
                                                  Nothing in  in this  Plan or Confirmation
                                                                  this Plan      Confirmation Order
                                                                                                 Order shall      operate to expand
                                                                                                          shall operate       expand the
                                                                                                                                       the
                            Debtor’s discharge
                            Debtor's  discharge as provided for in this this Section
                                                                             Section 9.3
                                                                                      9.3 beyond
                                                                                           beyond those allowed by the Bankruptcy
                                                                                                                              Bankruptcy
                    18      Code. Nothing
                            Code.   Nothing in         Plan or
                                              in this Plan   or Confirmation
                                                                 Confirmation Order
                                                                                 Order shall
                                                                                         shall discharge
                                                                                               discharge any       Claims of the United
                                                                                                             any Claims            United
                            States arising after the Confirmation Date.
                    19
                                9.4.        Compromise and Settlement. The allowance, classification, and treatment of all
                    20      Allowed Claims
                            Allowed    Claims and          respective Distributions
                                                and their respective    Distributions under
                                                                                         under this
                                                                                                  this Plan         into account
                                                                                                       Plan take into    account and/or
                                                                                                                                   and/or
                    21      conform to
                            conform           relative priority
                                      to the relative  priority and
                                                                and rights
                                                                     rights of the Claims in each Class in connection
                                                                                                                   connection with any
                            contractual, legal,
                            contractual,  legal, and   equitable subordination
                                                  and equitable   subordination rights       relating thereto
                                                                                     rights relating   thereto whether
                                                                                                                whether arising
                                                                                                                           arising under
                                                                                                                                    under
                    22      general principles
                            general  principles of    equitable subordination,
                                                   of equitable  subordination, section
                                                                                      section 510(c)
                                                                                               510(c) of   the Bankruptcy
                                                                                                        of the    Bankruptcy Code,
                                                                                                                                Code, or
                            otherwise. AsAs of
                                            of the
                                                the Effective
                                                    Effective Date,
                                                               Date, any
                                                                     any and
                                                                          and all
                                                                               all such
                                                                                    such rights
                                                                                          rights described
                                                                                                  described in
                                                                                                             in the
                                                                                                                 the preceding
                                                                                                                     preceding sentence
                    23                       compromised, and
                            will be settled, compromised,     and released
                                                                  released pursuant
                                                                            pursuant to to this
                                                                                            this Plan
                                                                                                 Plan and
                                                                                                       and any and all such Causes of
                            Action related thereto are settled, compromised, and released pursuant hereto.
                    24
                                9.5.       Injunction. From
                                                          From and             Effective Date,
                                                                 and after the Effective  Date, and except
                                                                                                     except as provided
                                                                                                                  provided in this
                    25
                            Plan and the Confirmation Order, all entities that have held, currently hold, or may hold a Claim
                    26                                               an Equity
                            or an Equity Security or other right of an   Equity Security
                                                                                 Security Holder that is terminated
                                                                                                          terminated pursuant to
                                          this Plan
                            the terms of this  Plan are
                                                    are permanently
                                                         permanently enjoined
                                                                       enjoined from
                                                                                 from taking
                                                                                       taking any of the
                                                                                                       the following
                                                                                                            following actions
                                                                                                                       actions on
                    27      account of
                            account      any such
                                     of any   such Claims
                                                    Claims oror terminated
                                                                 terminated Equity
                                                                             Equity Securities
                                                                                     Securities or rights:
                                                                                                    rights: (i)
                                                                                                             (i) commencing
                                                                                                                  commencing or
                            continuing in
                            continuing  in any manner
                                                manner any action
                                                              action or
                                                                      or other
                                                                         other proceeding
                                                                                proceeding against
                                                                                            against Reorganized
                                                                                                    Reorganized Debtor
                                                                                                                     Debtor or
                                                                                                                            or its
                    28
 Garman Turner
 Garman  Turner Gordon
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650 White Drive,
          Drive, Ste.
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  Las Vegas,
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                                    Case
                                    Case17-10814
                                         17-10814
                                         17-10814 Doc
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                                                  Doc 407 Filed
                                                           Filed12/15/17
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                      1     property; (ii) enforcing, attaching, collecting, or recovering in any manner any judgment, award,
                            decree, or
                            decree,      order against
                                     or order   against Reorganized
                                                          Reorganized Debtor
                                                                          Debtor or      its property;
                                                                                    or its    property; (iii)
                                                                                                          (iii) creating,
                                                                                                                 creating, perfecting,
                                                                                                                             perfecting, or
                       2    enforcing any Lien or encumbrance against Reorganized
                                                                               Reorganized Debtor
                                                                                               Debtor or its property; (iv) asserting a
                            right of subrogation
                            right    subrogation of any kind kind against
                                                                   against any
                                                                            any debt,
                                                                                  debt, liability,
                                                                                         liability, or
                                                                                                     or obligation
                                                                                                        obligation duedue toto Reorganized
                                                                                                                               Reorganized
                       3    Debtor
                            Debtor  or  its property;
                                            property;   and  (v) commencing      or  continuing     any
                                                                 commencing or continuing any action, in action,   in any   manner or any
                                                                                                                            manner
                      4
                            place, that
                            place,       does not
                                   that does   not comply
                                                     comply with        is inconsistent
                                                               with or is   inconsistent withwith the   provisions of
                                                                                                   the provisions      of this
                                                                                                                           this Plan     the
                                                                                                                                Plan or the
                            Bankruptcy Code.
                            Bankruptcy              Nothing in this
                                            Code. Nothing         this Plan
                                                                       Plan oror the
                                                                                  theConfirmation
                                                                                        Confirmation Order
                                                                                                         Order willwill enjoin,
                                                                                                                         enjoin, impair
                                                                                                                                  impair or
                       5    otherwise preclude
                            otherwise   preclude the
                                                   the United
                                                        United States
                                                                 States (1)
                                                                        (1) from
                                                                             from pursuing
                                                                                    pursuing anyany criminal
                                                                                                      criminal action
                                                                                                                  action or
                                                                                                                          or any police
                                                                                                                                   police or
                            regulatory action;
                            regulatory  action; (ii)
                                                (ii) from
                                                      from pursuing
                                                            pursuing any
                                                                       any liability
                                                                            liability to
                                                                                       to the
                                                                                           the United
                                                                                               United States
                                                                                                        States that
                                                                                                                 that is
                                                                                                                      is not a Claim; (iii)
                       6    from exercising
                            from               any rights
                                  exercising any     rights of
                                                            of setoff
                                                               setoff or recoupment;
                                                                          recoupment; and   and (iv)
                                                                                                 (iv) from
                                                                                                      from pursuing
                                                                                                             pursuing any any claim
                                                                                                                               claim of the
                            United States arising after the Confirmation Date.
                       7
                                9.6.         Releases by Debtor. Pursuant
                                                                      Pursuant to to section
                                                                                     section 1123(b)
                                                                                              1123(b) of the Bankruptcy Code, for
                       8
                                                   consideration, including
                            good and valuable consideration,         including thethe release
                                                                                       release of
                                                                                                of Claims
                                                                                                    Claims by and treatment
                                                                                                                        treatment of the
                       9    KMW Leases, the Released Parties’Parties' facilitation of the expeditious reorganization of Debtor
                            and the implementation
                                      implementation of   of the restructuring
                                                                  restructuring contemplated
                                                                                    contemplated by    by this
                                                                                                           this Plan,
                                                                                                                Plan, onon and after the
                    10      Effective  Date,
                            Effective Date,    the  Released   Parties
                                                    Released Parties     are  deemed     released
                                                                                         released    and  discharged by Debtor, the
                                                                                                           discharged
                            Reorganized Debtor,
                            Reorganized      Debtor, andand the
                                                            the Estate
                                                                 Estate from
                                                                          from any and  and all
                                                                                              all claims,
                                                                                                   claims, obligations,
                                                                                                              obligations, rights,
                                                                                                                            rights, suits,
                                                                                                                                    suits,
                    11      damages, Causes
                            damages,                 Action, remedies
                                        Causes of Action,     remedies andand liabilities
                                                                                liabilities whatsoever,
                                                                                             whatsoever, including any derivative
                                                                                                                               derivative
                            claims asserted
                            claims   asserted oror which
                                                    which could
                                                           could be asserted
                                                                       asserted on     behalf of the
                                                                                   on behalf         the Debtor,
                                                                                                         Debtor, whether
                                                                                                                     whether known
                                                                                                                               known or
                    12
                            unknown,      foreseen or
                            unknown, foreseen         or unforeseen,
                                                          unforeseen,existing
                                                                          existingor  or hereinafter
                                                                                          hereinafterarising,
                                                                                                          arising,in  in law,
                                                                                                                         law, equity
                                                                                                                               equity or
                    13      otherwise, that
                            otherwise,   that the   Debtor, the Reorganized
                                               the Debtor,         Reorganized Debtor,
                                                                                    Debtor, or or and
                                                                                                   and the Estate would have been
                            legally entitled to assert in their own rightright (whether
                                                                                (whether individually or collectively), based on
                    14      or relating    to, or in
                                relating to,       in any
                                                       any manner
                                                            manner arising
                                                                       arising from,
                                                                                 from, in in whole
                                                                                              whole or or in
                                                                                                           in part,
                                                                                                               part, Debtor,
                                                                                                                       Debtor, Debtor's
                                                                                                                                 Debtor’s
                            restructuring, Debtor’s
                                             Debtor's Chapter 11 Case, the purchase, sale or rescission of the purchase or
                    15      sale of any security of the Debtor or the Reorganized Debtor, the subject matter of, or the
                            transactions or
                            transactions    or events
                                               events giving
                                                        giving rise
                                                                rise to,
                                                                     to, any Claim
                                                                               Claim or Equity Security
                                                                                                      Security that
                                                                                                                  that is treated
                                                                                                                          treated in this
                    16
                                                      contractual arrangements
                            Plan, the business or contractual        arrangements between
                                                                                        between Debtor
                                                                                                   Debtor and any Released
                                                                                                                         Released Party,
                    17           restructuring of Claims
                            the restructuring        Claims and Equity Securities
                                                                             Securities before
                                                                                           before or during the Chapter 11 Case,
                                 negotiation, formulation
                            the negotiation,     formulation or  or preparation
                                                                    preparation of    of this  Plan, the
                                                                                         this Plan,    the Disclosure
                                                                                                              Disclosure Statement
                                                                                                                           Statement or
                    18      related agreements,
                            related   agreements,instruments
                                                       instrumentsororotherother documents,
                                                                                   documents,or      or any
                                                                                                        any other      act or
                                                                                                               other act    or omission,
                                                                                                                                omission,
                            transaction, agreement, event or other occurrence relating to the Debtor taking place on or
                    19      before the Confirmation
                                        Confirmation Date Date of this Plan, other than claimsclaims or liabilities
                                                                                                            liabilities arising
                                                                                                                        arising out of or
                    20      relating to any act or omission of a Released Party.

                    21          9.7.        Exculpation. Except
                                                            Except as provided
                                                                        provided forfor in this Plan, from
                                                                                                       from and
                                                                                                             and after
                                                                                                                  after the
                                                                                                                         the Effective
                                                                                                                              Effective
                            Date, neither
                            Date,  neither the Debtor,
                                                 Debtor, Reorganized
                                                         Reorganized Debtor,
                                                                         Debtor, Creditor
                                                                                    Creditor Committee,
                                                                                                Committee,KMW,KMW,Solitude,
                                                                                                                       Solitude, the the
                    22      professionals  employed   on  behalf of  the   Estate
                            professionals employed on behalf of the Estate or      or  the  Creditor  Committee,    nor   any
                                                                                            Creditor Committee, nor any their  of  their
                            respective present
                            respective               former members,
                                         present or former    members, directors,
                                                                          directors, officers,
                                                                                        officers, managers,
                                                                                                  managers, employees,
                                                                                                              employees, advisors,
                                                                                                                              advisors,
                    23      attorneys, or agents, shall have or incur any liability,
                                                                             liability, including
                                                                                        including derivative claims, but excluding
                            direct claims, to any Holder of a Claim or Equity Security or any other party-in-interest,
                                                                                                            party-in-interest, or any
                    24
                            of their respective agents, employees, representatives, financial advisors, attorneys, or Affiliates,
                    25                                                                omission in connection
                            or any of their successors or assigns, for any act or omission          connection with, relating to, or
                            arising out
                            arising         (from the
                                     out of (from  the Petition
                                                       Petition Date
                                                                Date through
                                                                       through the Effective
                                                                                       Effective Date),
                                                                                                  Date), the Chapter
                                                                                                              Chapter 11 Case,
                                                                                                                             Case, the
                    26      pursuit of
                            pursuit      confirmation of
                                      of confirmation   of this Plan, or the
                                                           this Plan,       the consummation
                                                                                 consummation of       this Plan,
                                                                                                   of this  Plan, except
                                                                                                                   except forfor gross
                                                                                                                                  gross
                            negligence and
                            negligence   and willful
                                             willful misconduct,
                                                     misconduct, and
                                                                  and inin all respects shall be entitled to reasonably
                                                                                                               reasonably rely upon
                    27      the advice of counsel with respect
                                                         respect to their duties and responsibilities
                                                                                          responsibilities under
                                                                                                           under this
                                                                                                                  this Plan
                                                                                                                       Plan oror in the
                    28      context of the Chapter 11 Case.
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  Las
  Las Vegas, NV 89119
      Vegas, NV  89119
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                      1     10.     RETENTION OF JURISDICTION

                      2         10.1.                      Notwithstanding the
                                           Jurisdiction. Notwithstanding     the entry
                                                                                 entry of      Confirmation Order
                                                                                        of the Confirmation     Order and    the
                                                                                                                        and the
                            occurrence of
                            occurrence                             Bankruptcy Court
                                        of the Effective Date, the Bankruptcy                             jurisdiction over the
                                                                               Court shall retain such jurisdiction
                      3     Chapter 11
                            Chapter             and Reorganized
                                      11 Case and    Reorganized Debtor
                                                                 Debtor after      Effective Date as
                                                                        after the Effective       as isis legally
                                                                                                           legally permissible,
                                                                                                                    permissible,
                            including jurisdiction to:
                      4
                                    10.1.1. Allow, disallow, determine,
                                                             determine, liquidate,
                                                                        liquidate, classify,
                                                                                   classify, estimate,
                                                                                             estimate, or establish
                                                                                                          establish the priority
                      5
                            or secured or unsecured status of any Claim or Disputed Claim, including the resolution
                                                                                                              resolution of any
                      6     request for payment of any Administrative Claim
                                                                        Claim and the resolution
                                                                                        resolution of any and all objections to
                            the allowance or priority of Claims or Disputed Claims;
                      7
                                                               applications for allowance
                                    10.1.2. Grant or deny any applications      allowance of compensation
                                                                                              compensation or reimbursement
                                                                                                               reimbursement
                      8                  authorized pursuant
                            of expenses authorized   pursuant to
                                                              to the
                                                                 the Bankruptcy
                                                                     Bankruptcy Code
                                                                                   Code or
                                                                                        or this
                                                                                           this Plan
                                                                                                Plan for periods ending
                                                                                                                 ending on or
                            before the Effective Date;
                      9
                                            Resolve any matters
                                    10.1.3. Resolve      matters related
                                                                 related to the assumption,
                                                                                assumption, assignment,
                                                                                             assignment, or  rejection of any
                                                                                                          or rejection
                    10
                            Executory Contract or Unexpired Lease to which Debtor or Reorganized Debtor are party and to
                    11      hear, determine,
                            hear, determine, and,
                                              and, if necessary,
                                                      necessary, liquidate
                                                                 liquidate any  Claims arising
                                                                           any Claims  arising there  from or Cure
                                                                                                there from     Cure amounts
                                                                                                                     amounts
                            related thereto;
                    12
                                    10.1.4. Insure
                                            Insure that Distributions
                                                        Distributions to
                                                                      to Holders
                                                                         Holders of Allowed Claims,
                                                                                              Claims, or if applicable,
                                                                                                            applicable, Equity
                    13      Securities are accomplished pursuant to the provisions of this Plan;
                    14                     Decide or resolve
                                   10.1.5. Decide       resolve any
                                                                any motions,
                                                                     motions, adversary
                                                                               adversary proceedings,
                                                                                          proceedings, contested
                                                                                                       contested or litigated
                                                                                                                     litigated
                            matters, and any other matters and grant or deny any applications or motions involving Debtor or
                    15
                            Reorganized Debtor
                            Reorganized   Debtor that
                                                   that may
                                                        may be   pending on the
                                                             be pending     the Effective
                                                                                 Effective Date
                                                                                           Date or
                                                                                                or commenced
                                                                                                    commenced thereafter
                                                                                                                thereafter as
                    16      provided for by this Plan;

                    17            10.1.6. Enter  such orders
                                           Enter such   orders as
                                                                as may
                                                                    may be
                                                                         be necessary
                                                                              necessary oror appropriate
                                                                                               appropriate to
                                                                                                            to implement
                                                                                                                implement or
                                                                                                                           or
                            consummate the
                            consummate    the provisions
                                              provisions of
                                                          of this      and all
                                                             this Plan and  all contracts,
                                                                                 contracts, instruments,
                                                                                             instruments, releases,
                                                                                                          releases, and other
                                                                                                                        other
                    18      agreements or documents created in connection with this Plan or the Disclosure Statement or the
                            Confirmation Order, except as otherwise provided herein;
                    19
                                           Decide or resolve
                                   10.1.7. Decide    resolve any cases, controversies,
                                                                         controversies, suits,
                                                                                        suits, or
                                                                                               or disputes
                                                                                                  disputes that
                                                                                                           that may arise in
                                                                                                                may arise
                    20
                            connection with the consummation, interpretation,
                                                               interpretation, or enforcement
                                                                                  enforcement of any Final Order, this Plan,
                    21      the Confirmation Order, or any Person’s
                                                           Person's obligations incurred in connection with this Plan or the
                            Confirmation Order;
                    22
                                    10.1.8. Modify this Plan before or after the Effective Date pursuant to Section 1127 of the
                    23      Bankruptcy Code
                            Bankruptcy   Code and
                                               and Section
                                                   Section 11.1
                                                            11.1 of this Plan oror modify
                                                                                    modify any
                                                                                            any contract,
                                                                                                  contract, instrument,
                                                                                                             instrument, release or
                            other agreement or document created in connection with this Plan, the Disclosure Statement, or
                    24
                            the Confirmation
                            the Confirmation Order
                                                Order or  the Reorganized
                                                       or the  Reorganized Debtor;
                                                                              Debtor; oror remedy
                                                                                           remedy any      defect or omission
                                                                                                     any defect       omission or
                    25      reconcile  any inconsistency
                            reconcile any   inconsistencyinin any
                                                              any Final
                                                                    Final Order,
                                                                          Order, this
                                                                                   this Plan,
                                                                                        Plan, the
                                                                                               the Confirmation     Order, or
                                                                                                    Confirmation Order,     or any
                                                                                                                               any
                            contract, instrument,
                            contract, instrument, release
                                                  release or
                                                           or other  agreement or
                                                              other agreement        document created
                                                                                 or document     created in connection
                                                                                                              connection with this
                    26      Plan, the Disclosure Statement, or the Confirmation Order,
                                                                                    Order, in such manner as may be necessary
                            or appropriate to consummate this Plan, to the extent authorized by the Bankruptcy Code;
                    27

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                      1             10.1.9. Issue injunctions, enter and implement
                                                                          implement other orders,
                                                                                             orders, or take such other actions as
                                     necessary or
                            may be necessary     or appropriate
                                                     appropriate to
                                                                 to restrain
                                                                     restrain interference
                                                                               interference by
                                                                                            by any
                                                                                                any person
                                                                                                     person with
                                                                                                             with consummation,
                                                                                                                   consummation,
                       2    implementation, or enforcement of any Final Order, this Plan, or the Confirmation Order, except
                            as otherwise provided herein;
                       3
                                    10.1.10. Enter and implement such orders as are necessary or appropriate if a Final Order
                      4
                            or the Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;
                       5
                                             Determine any
                                    10.1.11. Determine  any other
                                                             other matters
                                                                   matters that
                                                                           that may
                                                                                may arise
                                                                                     arise in connection
                                                                                              connection with
                                                                                                          with or relate
                                                                                                                  relate to this
                       6    Plan, any Final
                            Plan,      Final Order,
                                              Order, the
                                                      the Disclosure
                                                           Disclosure Statement,
                                                                      Statement, the
                                                                                  the Confirmation
                                                                                       Confirmation Order,
                                                                                                      Order, or any
                                                                                                                 any contract,
                                                                                                                       contract,
                            instrument, release,
                            instrument,  release, or
                                                  or other
                                                     other agreement
                                                           agreement or  document created
                                                                      or document   created in  connection with
                                                                                             in connection  with this Plan, the
                       7    Disclosure Statement,
                            Disclosure  Statement, any
                                                     any Final Order, or Confirmation
                                                         Final Order,     Confirmation Order, except as as otherwise
                                                                                                           otherwise provided
                                                                                                                      provided
                            herein;
                       8
                                    10.1.12. Enter an order closing the Chapter 11 Case;
                       9

                    10              10.1.13. Hear
                                    10.1.13. Hearand
                                                  and decide
                                                      decide Litigation
                                                               Litigation Claims
                                                                          Claims and
                                                                                  and continue
                                                                                       continue to
                                                                                                 to hear     decide pending
                                                                                                    hear and decide pending
                            Litigation Claims and any other claim or cause of action of Debtor and Reorganized Debtor; and
                    11
                                   10.1.14. Decide or resolve any matter
                                   10.1.14.Decide                 matter over
                                                                         over which
                                                                              which the
                                                                                    the Bankruptcy
                                                                                        Bankruptcy Court has jurisdiction
                                                                                                             jurisdiction
                    12      pursuant to Section 505 of the Bankruptcy Code

                    13              Nothing contained in this Article 10 shall constitute a waiver by any Person of the right to
                            assert that the Bankruptcy Court lacks jurisdiction over any matter set forth in this Article 10.
                    14
                            11.
                            11.     MODIFICATION AND AMENDMENT OF PLAN
                    15
                                11.1.       Modification and Amendment. Prior to Confirmation, Debtor may alter, amend,
                    16
                               modify this
                            or modify         Plan under
                                         this Plan  under Section
                                                            Section 1127(a)
                                                                    1127(a)of of the
                                                                                  the Bankruptcy
                                                                                      BankruptcyCode Codeatatany
                                                                                                               anytime.     After the
                                                                                                                     time. After  the
                    17      Confirmation Date
                            Confirmation     Date and
                                                  and prior
                                                        prior to substantial
                                                                 substantial consummation
                                                                             consummationof    of this
                                                                                                   this Plan
                                                                                                        Plan as defined
                                                                                                                defined in Section
                                                                                                                              Section
                            1101(2) of
                            1101(2)            Bankruptcy Code,
                                      of the Bankruptcy      Code, Debtor
                                                                    Debtor may,
                                                                             may, under
                                                                                    under Section
                                                                                           Section 1127(b),
                                                                                                      1127(b),(c),
                                                                                                                (c), and
                                                                                                                      and (d)
                                                                                                                           (d) of the
                                                                                                                               of the
                    18      Bankruptcy Code,
                            Bankruptcy    Code, alter,
                                                 alter, amend,
                                                        amend, or modify this Plan or institute
                                                                                         institute proceedings in the Bankruptcy
                                                                                                                          Bankruptcy
                            Court to remedy
                            Court      remedy any defect
                                                      defect or
                                                              or omission
                                                                  omission or
                                                                            or reconcile
                                                                                reconcile any
                                                                                           any inconsistencies
                                                                                                inconsistencies in     this Plan,
                                                                                                                   in this  Plan, the
                                                                                                                                   the
                    19      Disclosure    Statement,   or  the  Confirmation    Order,  to  make     appropriate
                            Disclosure Statement, or the Confirmation Order, make appropriate adjustments and      adjustments    and
                            modifications toto this
                            modifications       this Plan
                                                     Plan or       Confirmation Order
                                                           or the Confirmation     Order as
                                                                                          as may
                                                                                             may be     necessary to
                                                                                                    be necessary        carry out the
                                                                                                                    to carry       the
                    20
                            purposes and effects of this Plan so long as such
                                                                            such proceedings
                                                                                   proceedings do not
                                                                                                    not materially
                                                                                                         materially adversely affect
                    21      the treatment of Holders of Claims under this Plan.

                    22      12.
                            12.     MISCELLANEOUS

                    23          12.1.       Filing of Objections to Claims.
                                                                      Claims. After the Effective Date, objections to Claims
                            shall be made and objections to Claims made previous thereto shall be pursued by Reorganized
                    24      Debtor or any other party properly entitled
                                                                 entitled to
                                                                          to do
                                                                             do so
                                                                                so under
                                                                                   under the
                                                                                         the Bankruptcy
                                                                                             Bankruptcy Code.
                                                                                                         Code. Any objections
                            to Claims made after the Effective Date shall be filed and served not later than the first Business
                    25
                            Day that is thirty (30) calendar days after the Effective Date; provided, however, that such period
                    26      may be extended by order of the Bankruptcy Court.

                    27             12.1.1. Resolution
                                           Resolution of Objections After Effective Date. From
                                                      of Objections                       From and after the
                                                                                                          the Effective
                                                                                                              Effective
                            Date, Reorganized   Debtor  may litigate to judgment, propose settlements of, or  withdraw
                            Date, Reorganized Debtor may litigate judgment, propose settlements of, or withdraw
                    28
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                      1     objections to, all pending or filed Disputed Claims and may settle or compromise
                                                                                                  compromise any Disputed
                            Claim without notice and a hearing and without approval of the Bankruptcy Court.
                      2
                                    12.1.2. Distributions and Disputed Claims Reserve. In order to facilitate Distributions
                      3                              Claims, and
                            to Holders of Allowed Claims,     and if and to thethe extent
                                                                                    extent there
                                                                                            there are
                                                                                                  are Disputed
                                                                                                      Disputed Claims
                                                                                                                  Claims or Disputed
                                                                                                                              Disputed
                            Equity Securities in any Class, Reorganized Debtor or the Disbursing Agent, as applicable, shall
                      4
                                aside in
                            set aside  in aadesignated
                                             designated reserve
                                                         reserve account
                                                                   account the
                                                                            the payments
                                                                                   payments or or Distributions
                                                                                                   Distributions applicable
                                                                                                                  applicable to such
                                                                                                                                  such
                      5     Disputed Claims
                            Disputed   Claims as if such
                                                    such Disputed
                                                          Disputed Claims
                                                                      Claims were
                                                                                were Allowed
                                                                                      Allowed Claims, pending the allowance or
                            disallowance of
                            disallowance    of such
                                               such Disputed
                                                    Disputed Claims.
                                                               Claims. In In the
                                                                              the event
                                                                                    event Reorganized
                                                                                           Reorganized Debtor
                                                                                                          Debtor or or the
                                                                                                                        the Disbursing
                                                                                                                            Disbursing
                      6     Agent, as applicable, wishes to deposit or hold a lesser amount than required herein and is unable
                            to reach an agreement with the Holder of the Disputed Claim on the amount to be deposited or
                      7     held, the Bankruptcy Court shall
                                                         shall fix
                                                               fix the
                                                                    the amount
                                                                        amount after
                                                                                  after notice
                                                                                        notice and
                                                                                                and hearing.
                                                                                                    hearing. Upon Final Order with
                            respect to
                            respect        Disputed Claim,
                                     to a Disputed   Claim, the   Holder of
                                                             the Holder         such Disputed
                                                                           of such    Disputed Claim,
                                                                                                  Claim, toto the  extent it has
                                                                                                              the extent      has been
                                                                                                                                  been
                      8
                            determined to be an Allowed Claim, shall receive as soon as reasonably practical that payment or
                      9     Distribution to which it would have been entitled if the portion of the Claim so allowed had been
                            allowed as of the Effective Date.
                    10
                                    12.1.3. Late-Filed Claims. No Proof of Claim filed after the Bar Date or, as applicable,
                    11          Administrative Claim
                            the Administrative   Claim Bar
                                                         Bar Date,
                                                              Date, shall
                                                                    shall be allowed,
                                                                               allowed, and
                                                                                        and all such Proofs of Claims are hereby
                            disallowed in full. After
                                                 After the
                                                        the Bar
                                                            Bar Date
                                                                Date or
                                                                      or the
                                                                          the Administrative
                                                                              Administrative Bar
                                                                                               Bar Date,
                                                                                                    Date, as applicable,
                                                                                                              applicable, no Creditor
                    12      shall be permitted to amend any Claim or Proof of Claim to increase the claimed amount and any
                    13      such amendment
                            such  amendment shall
                                                shall be
                                                      be disallowed
                                                           disallowed toto the   extent of the
                                                                            the extent      the late-filed
                                                                                                 late-filed increase
                                                                                                            increase in the
                                                                                                                         the claimed
                                                                                                                              claimed
                                      Notwithstanding the
                            amount. Notwithstanding      the above,
                                                             above, the
                                                                    the United
                                                                         United States reserves the right to amend or file a Proof
                    14      of Claim after the applicable Bar Date consistent with applicable law and the Class 2 and Class 6
                            Settlement Agreement.
                    15
                                12.2.      Effectuating Documents;
                                           Effectuating     Documents; Further
                                                                            Further Transactions;
                                                                                        Transactions; Timing.
                                                                                                            Timing.      Debtor and
                                                                                                                         Debtor   and
                    16      Reorganized   Debtor   are  each  authorized   to  execute,  deliver,   file, or  record
                            Reorganized Debtor are each authorized to execute, deliver, file, record such contracts,  such  contracts,
                            instruments, releases,
                            instruments,  releases, and
                                                    and other
                                                          other agreements
                                                                agreements or or documents
                                                                                  documentsandand toto take
                                                                                                       take such
                                                                                                             such actions
                                                                                                                  actions as
                                                                                                                           as may be
                    17
                            necessary or appropriate to effectuate and further evidence the terms and conditions of this Plan
                    18      and any securities issued, transferred,
                                                        transferred, or
                                                                     or canceled
                                                                        canceled pursuant
                                                                                   pursuant to
                                                                                             to this
                                                                                                 this Plan.
                                                                                                      Plan. All transactions that are
                            required to
                            required  to occur
                                         occur on      Effective Date
                                               on the Effective    Date under
                                                                         under the
                                                                                 the terms
                                                                                     terms of this Plan shall be deemed
                                                                                                                     deemed to have
                                                                                                                                 have
                    19      occurred simultaneously.    Debtor and
                                      simultaneously. Debtor     and Reorganized
                                                                     Reorganized Debtor
                                                                                    Debtor are authorized and directed to do such
                            acts and execute such documents as are necessary to implement this Plan.
                    20
                                12.3.        Exemption from Transfer Taxes. Pursuant to Section 1146             1146 of the Bankruptcy
                    21
                            Code: (i) the
                            Code:      the issuance,
                                            issuance, distribution,
                                                        distribution, transfer,
                                                                        transfer, or exchange
                                                                                      exchange of Estate property;
                                                                                                              property; (ii) the creation,
                                                                                                                                  creation,
                    22      modification, consolidation,
                            modification,     consolidation,ororrecording
                                                                    recordingofofany
                                                                                   any deed
                                                                                        deed ofof trust      other security
                                                                                                  trust or other    security interest,
                                                                                                                              interest, the
                            securing of
                            securing      additional indebtedness
                                      of additional     indebtednessby    bysuch
                                                                             such means
                                                                                   means or or by  other means
                                                                                               by other    means in furtherance
                                                                                                                       furtherance of,
                                                                                                                                     of, or
                    23      connection with this Plan or the Confirmation Order; (iii) the making, assignment, modification,
                            or recording of any lease or sublease; or (iv) the making, delivery, or recording of a deed or other
                    24      instrument of
                            instrument      transfer under,
                                         of transfer  under, in furtherance
                                                                   furtherance of, or inin connection
                                                                                           connection with,
                                                                                                          with, this
                                                                                                                 this Plan,
                                                                                                                      Plan, Confirmation
                                                                                                                             Confirmation
                                             transaction contemplated
                            Order, or any transaction      contemplated above,
                                                                            above, or any transactions
                                                                                            transactions arising out of, contemplated
                                                                                                                             contemplated
                    25
                                   in any
                            by, or in any way
                                            way related
                                                  related to
                                                           to the
                                                               the foregoing
                                                                    foregoing shall
                                                                               shall not
                                                                                      not be
                                                                                          be subject
                                                                                              subject to
                                                                                                       to any
                                                                                                           any document
                                                                                                                document recording
                                                                                                                            recording tax,
                    26      stamp tax, conveyance
                            stamp        conveyance fee, fee, intangibles
                                                              intangibles or or similar
                                                                                similar tax,
                                                                                         tax, mortgage
                                                                                              mortgage tax,tax, stamp
                                                                                                                stamp act
                                                                                                                        act or real estate
                                                                                                                                     estate
                            transfer tax, mortgage
                            transfer       mortgage recording
                                                       recording tax,tax, or other similar tax oror governmental
                                                                                                    governmental assessment
                                                                                                                      assessment and the
                    27      appropriate state
                            appropriate   state of  local government
                                                 of local  government officials
                                                                           officials or
                                                                                     or agents
                                                                                        agents shall
                                                                                                shall be,                      directed to
                                                                                                        be, and hereby are, directed
                    28
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 Garman  Turner Gordon
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650 White Drive,
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                      11    forego the collection of any such tax or assessment and to accept for filing or recordation any of
                            the foregoing instruments or other documents without the payment of any such tax or assessment
                      2
                                12.4.       Revocation or Withdrawal of this Plan. Debtor reserves
                                                                                                 reserves the right to revoke or
                      3     withdraw this Plan at any time prior to its
                                                                    its substantial
                                                                        substantial consummation.
                                                                                    consummation. If this Plan is withdrawn or
                            revoked, then
                            revoked,   then this
                                            this Plan
                                                 Plan shall be deemed
                                                               deemed null andand void
                                                                                   void and
                                                                                        and nothing
                                                                                             nothing contained
                                                                                                      contained herein shall be
                      4
                            deemed to constitute a waiver or release of any Claims by or against Debtor or any other Person
                      5     nor shall the withdrawal or revocation of this Plan prejudice in any manner the rights of Debtor
                            or any Person in any further proceedings
                                                           proceedings involving
                                                                        involving Debtor.      the event
                                                                                    Debtor. In the event this
                                                                                                         this Plan
                                                                                                              Plan is
                                                                                                                   is withdrawn
                                                                                                                      withdrawn
                      6     or revoked, nothing set forth herein shall be deemed an admission
                                                                                       admission of any sort and this Plan and
                            any transaction contemplated thereby shall be inadmissible into evidence in any proceeding
                      7
                                12.5.      Binding Effect. This Plan shall be binding upon, and shall inure to the benefit of
                      8     Debtor, Reorganized
                            Debtor,   Reorganized Debtor,
                                                   Debtor,and
                                                            and the
                                                                 the Holders
                                                                     Holders of     Claims and
                                                                             of all Claims and Equity
                                                                                               Equity Securities
                                                                                                        Securities and their
                                                                                                                        their
                      9     respective successors and assigns.

                    10          12.6.        Governing Law. Except to the extent that the Bankruptcy Code or other federal
                            law is applicable or as provided in any
                                                                 any contract,
                                                                      contract, instrument, release, or other agreement entered
                    11      into in connection with this Plan or in any
                                                                     any document
                                                                          document which remains unaltered by this Plan, the
                            rights, duties, and obligations of Debtor, Reorganized Debtor, and any other Person arising under
                    12      this Plan shall be governed by, and construed and enforced in accordance with, the internal laws
                            of the State of North Carolina without giving effect to North Carolina’s
                                                                                           Carolina's choice of law provisions.
                    13

                    14         12.7.      Modification
                                          Modification of Payment
                                                            Payment Terms.
                                                                       Terms. Reorganized
                                                                                Reorganized Debtor
                                                                                              Debtor reserves
                                                                                                       reserves the
                                                                                                                 the right
                                                                                                                     right to
                            modify the treatment
                                       treatment of any Allowed
                                                        Allowed Claim
                                                                  Claim in any manner adverse
                                                                                       adverse only to the Holder of such
                    15      Allowed Claim at any time after the Effective Date upon the prior written consent of the Holder
                            whose Allowed Claim treatment is being adversely affected.
                    16
                                12.8.       Providing
                                            Providing for Claims
                                                             Claims Payments.
                                                                     Payments. Distributions
                                                                                   Distributions to Holders of Allowed
                                                                                                                     Allowed Claims
                                                                                                                               Claims
                    17      shall be made by Reorganized Debtor or the Disbursing Agent, as applicable,: (i) at the addresses
                    18                        proofs of Claim
                            set forth on the proofs      Claim filed by such
                                                                         such Holders
                                                                               Holders (or at thethe last
                                                                                                      last known
                                                                                                            known addresses
                                                                                                                    addresses of such
                            Holders if no proof of Claim is filed or if Debtor has been notified of a change of address); (ii) at
                    19      the addresses set forth in any written notices of address changes delivered to Reorganized Debtor
                            after the date of any related proof of Claim; or (iii) at the addresses reflected in the Schedules if
                    20      no proof of Claim has been filed and Reorganized Debtor has not received a written notice of a
                            change of
                            change       address. IfIfany
                                     of address.        anyHolder's
                                                             Holder’sDistribution
                                                                        Distribution isisreturned
                                                                                           returned asasundeliverable,
                                                                                                           undeliverable, no
                                                                                                                           no further
                                                                                                                               further
                    21      Distributions toto such
                            Distributions      such Holder
                                                      Holder shall
                                                               shall be  made unless
                                                                     be made    unless andand until
                                                                                                until Reorganized
                                                                                                       Reorganized Debtor
                                                                                                                       Debtor or   the
                                                                                                                                or the
                    22      Disbursing Agent, as applicable, is notified of such Holder’s
                                                                                    Holder's then-current address, at which time
                                        Distributions shall
                            all missed Distributions   shall be
                                                             be made
                                                                made toto such
                                                                          such Holder
                                                                               Holder without
                                                                                         without interest.
                                                                                                    interest. Amounts in respect
                                                                                                                            respect of
                    23      undeliverable Distributions
                            undeliverable   Distributionsmade
                                                            made through
                                                                  through Reorganized
                                                                            ReorganizedDebtorDebtoror  or the  Disbursing Agent,
                                                                                                          the Disbursing    Agent, as
                            applicable, shall be paid to the Clerk of the Bankruptcy Court pursuant to Bankruptcy Rule 3011,
                    24                                                   Nothing contained
                            as in the case of a Chapter 7 liquidation. Nothing     contained inin this
                                                                                                   this Plan
                                                                                                        Plan shall
                                                                                                              shall require
                                                                                                                    require Debtor or
                            Reorganized Debtor to attempt to locate any Holder of an Allowed Claim.
                    25
                                12.9.       Set Offs. Debtor and Reorganized
                                                                  Reorganized Debtor
                                                                                Debtor may,
                                                                                        may, but
                                                                                              but shall
                                                                                                  shall not be required to, set
                    26
                            off or recoup against any Claim and the payments or other Distributions to be made pursuant to
                    27      this Plan in respect of such Claim (before any Distribution is made on account of such Claim or
                            Equity
                            Equity Security),
                                    Security), claims
                                               claims of any nature
                                                              nature whatsoever
                                                                     whatsoever that the
                                                                                      the applicable
                                                                                           applicable Debtor
                                                                                                       Debtor or
                                                                                                               or Reorganized
                                                                                                                  Reorganized
                    28
 Garman Turner
 Garman  Turner Gordon
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650 White
650 White Drive,
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                                    Case 17-10814
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                      11    Debtor may have against
                                              against the Holder
                                                           Holder of such
                                                                      such Claim
                                                                            Claim to the extent such Claims
                                                                                                      Claims may be set off or
                            recouped under
                            recouped  under applicable
                                             applicable law,
                                                         law, but
                                                              but neither
                                                                  neither the
                                                                          the failure
                                                                              failure to
                                                                                      to do so nor the allowance of any Claim
                      2     hereunder shall
                            hereunder  shall constitute
                                             constitute aa waiver
                                                           waiver or  release by Debtor or Reorganized
                                                                   or release                Reorganized Debtor
                                                                                                           Debtor of     such
                                                                                                                  of any such
                            Claim that it may have against such Holder.
                      3
                                12.10.     Notices. Any notice required or permitted to be provided under this Plan shall be
                      4
                                                       either: (i)
                            in writing and served by either:   (i) certified
                                                                   certified mail,
                                                                             mail, return
                                                                                   return receipt
                                                                                          receipt requested,
                                                                                                   requested, postage prepaid; (ii)
                      5     hand delivery;
                            hand  delivery; or (iii) reputable
                                                     reputable overnight
                                                                overnight courier
                                                                            courier service,
                                                                                     service, freight
                                                                                              freight prepaid,
                                                                                                      prepaid, to    addressed as
                                                                                                               to be addressed
                            follows:
                      6
                            If to Debtor:                             Dynamic International Airways, LLC
                      7                                               Attn: Raymond Lawlor
                                                                      4310 Regency Drive, Suite 100
                      8                                               High Point,
                                                                            Point, NC
                                                                                   NC 27265
                      9                                               Tel: (262) 521-1100
                                                                      Email: rlawlor@flydya.com
                                                                              rlawlor@flydya.com
                    10
                            With a copy to:                           Garman Turner Gordon
                    11                                                      Gerald M.
                                                                      Attn: Gerald M. Gordon,
                                                                                      Gordon, Esq.
                                                                      650 White Drive, Suite 100
                    12                                                Las Vegas,
                                                                          Vegas, NV
                                                                                 NV 89119
                    13                                                Tel: (725)
                                                                      Tel:   (725)777-3000
                                                                                   777-3000
                                                                              ggordon@gtg.legal
                                                                      Email: ggordon@gtg.legal
                    14
                                                                      and
                    15
                                                                      Bell, Davis & Pitt,
                    16                                                Attn: Walter
                                                                             Walter Pitt,
                                                                                    Pitt, Esq.
                                                                      PO Box 21029
                    17                                                Winston-Salem, NC 27120-1029
                                                                      Tel: (336)
                                                                            (336)714-4110
                                                                                  714-4110
                    18                                                Email: WPitt@belldavispitt.com
                                                                              WPitt@belldavispitt.com
                    19                                                and
                    20
                                                                      Northen Blue, LLP
                    21                                                Attn: John A. Northen, Esq.
                                                                      1414 Raleigh Road, Suite 435
                    22                                                Chapel Hill, NC 27517
                                                                      Tel: (919)
                                                                            (919) 968-4441
                                                                                  968-4441
                    23                                                Email: jan@nbfirm.com
                                                                              jan@nbfirm.com
                    24
                                12.11.      Severability. If any provision of this Plan is determined by the Bankruptcy Court
                    25      to be invalid, illegal, or unenforceable or this Plan is determined to be not confirmable
                                                                                                             confirmable pursuant
                            to Section 1129 of thethe Bankruptcy
                                                      Bankruptcy Code, the Bankruptcy
                                                                              Bankruptcy Court,
                                                                                            Court,  at the request of Debtor
                                                                                                                      Debtor shall
                    26      have the power to alter and interpret such term to make it valid or enforceable
                                                                                                     enforceable to the maximum
                            extent practicable,
                            extent  practicable, consistent
                                                   consistentwith
                                                              withthe
                                                                   the original
                                                                       originalpurpose
                                                                                 purposeofofthethe term
                                                                                                    term or  provision held
                                                                                                          or provision held to
                                                                                                                             to be
                    27      invalid, void, or unenforceable,
                                               unenforceable, and such term or provision shall then be applicable as altered or
                    28                   Notwithstanding any
                            interpreted. Notwithstanding    any such
                                                                such holding,
                                                                     holding, alteration,
                                                                               alteration, or interpretation,
                                                                                              interpretation, the remainder of the
 Garman Turner
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                      1     terms  and provisions
                            terms and  provisions ofof this
                                                       this Plan
                                                             Plan shall
                                                                  shall remain
                                                                        remain in
                                                                                in full
                                                                                    full force
                                                                                         force and
                                                                                                 and effect
                                                                                                      effect and
                                                                                                             and will
                                                                                                                  will in
                                                                                                                       in no way be
                            affected, impaired,
                            affected, impaired, or     invalidated by such
                                                   or invalidated         such holding,
                                                                                holding, alteration,
                                                                                             alteration, or
                                                                                                          orinterpretation.
                                                                                                               interpretation. The
                       2    Confirmation Order shall constitute a judicial determination and shall provide that each term and
                            provision of
                            provision  of this  Plan, as itit may
                                           this Plan,         may have
                                                                   have been
                                                                          been altered
                                                                                altered ororinterpreted
                                                                                              interpreted in
                                                                                                           in accordance
                                                                                                               accordance with
                                                                                                                             with the
                                                                                                                                  the
                       3    foregoing, is valid and enforceable pursuant to its terms.
                      4
                                12.12.       Withholding and Reporting Requirements. In connection with this Plan and all
                       5    instruments and securities issued in connection therewith and Distributions thereon, Reorganized
                            Debtor shall comply with all  all withholding
                                                              withholding and reporting
                                                                                 reporting requirements
                                                                                             requirements imposed
                                                                                                            imposed by any federal,
                                                                                                                              federal,
                       6                      foreign taxing authority
                            state, local, or foreign          authority and all Distributions
                                                                                  Distributions hereunder
                                                                                                  hereunder shall
                                                                                                              shall be
                                                                                                                    be subject
                                                                                                                       subject to
                                                                                                                               to any
                                   withholding and
                            such withholding      and reporting
                                                      reporting requirements.     Reorganized Debtor
                                                                 requirements. Reorganized       Debtor shall      authorized to take
                                                                                                         shall be authorized
                       7    any and all
                            any        all action
                                            action that
                                                    that may
                                                         may bebenecessary
                                                                   necessary totocomply
                                                                                  comply with
                                                                                            withsuch
                                                                                                   suchwithholding
                                                                                                        withholding andand recording
                                                                                                                            recording
                            requirements. Notwithstanding
                            requirements.     Notwithstanding anyany other
                                                                      other provision
                                                                            provision ofof this  Plan, each Holder
                                                                                            this Plan,        Holder of an
                                                                                                                         an Allowed
                                                                                                                             Allowed
                       8
                            Claim that
                            Claim               received a Distribution
                                    that has received       Distribution pursuant
                                                                          pursuant to    this Plan
                                                                                     to this   Plan shall
                                                                                                     shall have
                                                                                                           have sole
                                                                                                                 sole and
                                                                                                                       and exclusive
                                                                                                                            exclusive
                       9    responsibility for the satisfaction or payment of any tax obligation imposed by any governmental
                            unit, including income, withholding, and other tax obligation on account of such Distribution.
                    10
                                12.13.     Post-Confirmation Reporting. Until  Until the entry of thethe final
                                                                                                          final decree
                                                                                                                decree closing
                                                                                                                        closing the
                    11      Chapter 11 Case, Reorganized Debtor shall comply with the Bankruptcy Code and Bankruptcy
                            Rules
                            Rules post-confirmation    reporting requirements.
                                   post-confirmation reporting    requirements. Additionally,
                                                                                  Additionally, Reorganized       Debtor shall
                                                                                                 Reorganized Debtor       shall file
                    12      post-confirmation quarterly
                            post-confirmation  quarterly operating
                                                          operating reports
                                                                     reports detailing
                                                                             detailing receipts
                                                                                       receipts and disbursements
                                                                                                       disbursements (along with
                    13      ending cash
                            ending        balance) for each calendar
                                    cash balance)            calendar quarter from the date
                                                                                          date of
                                                                                                of confirmation
                                                                                                    confirmation until
                                                                                                                   until dismissal,
                                                                                                                         dismissal,
                            conversion, or entry of a final decree closing the case no later than 20 days after the expiration of
                    14      the reported quarter.

                    15          12.14.       Cramdown. In the event that any Impaired Class is determined to have rejected
                                       in accordance
                            this Plan in   accordance with Section
                                                           Section 1126 of thethe Bankruptcy
                                                                                   Bankruptcy Code,
                                                                                               Code, Debtor
                                                                                                       Debtor may invoke
                                                                                                                     invoke the
                                                                                                                              the
                    16      provisions   of  Section  1129(b)  of  the  Bankruptcy    Code  to  satisfy  the
                            provisions of Section 1129(b) of the Bankruptcy Code satisfy the requirements for requirements    for
                    17      confirmation of this Plan.  Debtor reserves
                                                  Plan. Debtor reserves the
                                                                        the right
                                                                            right to
                                                                                  to modify
                                                                                     modify this Plan to the extent, if any, that
                            Confirmation pursuant to Section 1129(b) of the Bankruptcy Code requires modification.
                    18
                            ...
                            •   • •



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                            ...
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                    25      ...
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 Garman Turner
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      Vegas, NV  89119
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                       1       12.15.      Quarterly Fees. Prior to the Effective Date, Debtor, and after the Effective Date,
                            Reorganized Debtor, shall pay all quarterly fees payable to the Office of the Bankruptcy
                       2    Administrator consistent with the sliding scale set forth in 28 U.S.C. § 1930(a)(6), and the
                            applicable provisions of the Bankruptcy Code and Bankruptcy Rules.
                       3
                                              DATED this 14th day of December, 2017.
                       4

                       5                                                DYNAMIC INTERNATIONAL AIRWAYS, LLC
                                                                        A Virginia limited liability company,
                       6

                       7

                       8

                       9

                     10

                     11                                                 By: Ray Lawlor
                                                                                  Lawlor
                                                                        Its: Chief Executive Officer
                     12

                     13
                            Prepared and Submitted:
                     14
                            GARMAN TURNER GORDON
                     15

                     16     By.
                                  GERALD M. GORDON, ESQ
                     17           NV Bar No. 229
                                  TERESA PILATOWICZ, ESQ
                     18           NV Bar No.
                                  650 White Drive, Suite 100
                     19           Las Vegas, NV 89119

                     20           and

                     21           BELL, DAVIS & PITT, PA
                                  WALTER PITT, ESQ.
                     22           NC Bar No. 3467
                                  DANIEL C. BRUTON, ESQ.
                    23            NC Bar No. 22440
                                  PO Box 21029
                     24           Winston-Salem, NC 27120-1029
                                  Telephone 336-714-4110
                    25

                    26

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  Las Vegas, NV 89119
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                      1                                     SCHEDULE 1.1.68
                                                      TO PLAN OF REORGANIZATION
                       2                     CERTAIN PRESERVED POTENTIAL CAUSES OF ACTION
                       3              All defined
                                      All  defined terms
                                                     terms used
                                                             used herein
                                                                  hereinshall
                                                                           shallhave
                                                                                 havethethe meanings
                                                                                            meaningsset  setforth
                                                                                                             forthininthe
                                                                                                                       thePlan.    The
                                                                                                                           Plan. The
                      4
                            following is a non-exhaustive list of potential
                                                                       potential parties against whom Debtor and/or Reorganized
                            Debtor may hold a claim or cause of action. Debtor  Debtor and
                                                                                        and Reorganized
                                                                                             Reorganized Debtor
                                                                                                           Debtor reserve
                                                                                                                    reserve their right
                       5    to modify this list to amend or add parties or causes of action, but disclaim any obligation to do
                            so. InInaddition
                                      additionto
                                               tothe
                                                  thepossible
                                                      possible causes
                                                                causes of
                                                                       of action
                                                                          action and
                                                                                  and claims
                                                                                      claims listed
                                                                                              listed below,
                                                                                                     below, Debtor and Reorganized
                       6    Debtor have or may have, in the ordinary course of their business, numerous causes of action and
                                                 against contractors,
                            Claims or rights against      contractors, subcontractors,
                                                                       subcontractors, vendors,
                                                                                         vendors, suppliers,
                                                                                                   suppliers, and others with whom
                       7                                   course of their business
                            they deal in the ordinary course               business (the
                                                                                     (the “Ordinary
                                                                                          "Ordinary Course
                                                                                                       Course Claims”).
                                                                                                               Claims"). Debtor and
                       8    Reorganized Debtor reserve their right to enforce, sue on, settle, or compromise (or decline to do
                                          foregoing) the Ordinary
                            any of the foregoing)           Ordinary Course
                                                                      Course Claims,
                                                                               Claims, as
                                                                                        as well
                                                                                           well as the claims and causes of action
                                                                                                                                action
                       9    listed
                            listed below
                                     below and
                                             and all other
                                                      other claims
                                                            claims and   causes of action.
                                                                    and causes      action. Debtor
                                                                                              Debtor and
                                                                                                       andReorganized
                                                                                                           Reorganized Debtor
                                                                                                                          Debtor also
                                                                                                                                   also
                            have, or may have, and are retaining, various claims or causes of action arising under or pursuant
                    10          its insurance
                            to its   insurance policies,
                                                policies, and      rights arising
                                                           and all rights  arising under,
                                                                                   under, relating
                                                                                           relating to, or in
                                                                                                            in connection
                                                                                                                connection with such
                                                                                                                                  such
                            policies are expressly reserved and retained.
                    11
                                     1.
                                     1.      Litigation Claims arising out of or in connection with Debtor’s
                                                                                                    Debtor's business, property,
                    12                       or operations, including the pending actions against Air India Limited before the
                                             United States
                                             United   States District
                                                             District Court
                                                                      Court for                 New York,
                                                                            for the District of New  York, The
                                                                                                           The Second
                                                                                                                Second Circuit
                                                                                                                         Circuit
                    13                       Court of Appeals and the High Court of Delhi.
                    14               2.
                                     2.      Litigation
                                             Litigation Claims
                                                        Claims arising
                                                               arising out of transactions involving, concerning,
                                                                                                      concerning, or related to
                                             Debtor; and
                    15
                                     3.
                                     3.      All other
                                             All other rights,
                                                        rights, privileges,
                                                                 privileges, claims,
                                                                              claims, actions,
                                                                                       actions, or
                                                                                                or remedies
                                                                                                     remedies of
                                                                                                               of Debtor
                                                                                                                   Debtor and/or
                                                                                                                            and/or
                    16                       Reorganized Debtor
                                             Reorganized   Debtor existing
                                                                    existing on
                                                                             on the
                                                                                 the Effective
                                                                                     Effective Date,
                                                                                               Date, whether
                                                                                                      whether arising
                                                                                                              arising at
                                                                                                                      at law
                                                                                                                         law or in
                                             equity.
                    17
                                    There
                                    There may also be  be other
                                                            other Litigation
                                                                   Litigation Claims
                                                                               Claims which
                                                                                        which currently
                                                                                               currently exist oror may
                                                                                                                    may subsequently
                                                                                                                          subsequently
                    18
                                           not set
                            arise that are not  set forth
                                                     forth herein
                                                            herein because
                                                                    because the
                                                                              the facts
                                                                                   facts underlying
                                                                                         underlying such
                                                                                                     such Litigation
                                                                                                           Litigation Claims
                                                                                                                        Claims are not
                    19      currently known
                            currently  knownor   or sufficiently
                                                    sufficientlyknown
                                                                    knownby  byDebtor.      The failure
                                                                                  Debtor. The    failure to list
                                                                                                             list any
                                                                                                                   any such
                                                                                                                        such unknown
                                                                                                                              unknown
                            Litigation
                            Litigation Claim
                                        Claim herein
                                               herein isis not intended
                                                                intended to limit the rights of Reorganized Debtor
                                                                                                                 Debtor to pursue any
                    20      unknown Litigation
                            unknown    Litigation Claim
                                                   Claim to         extent the
                                                             to the extent  the facts
                                                                                 facts underlying
                                                                                        underlying such
                                                                                                    such unknown
                                                                                                          unknown Litigation
                                                                                                                      Litigation Claim
                                                                                                                                 Claim
                            become more fully known in the future.
                    21
                                            Unless Litigation
                                            Unless   Litigation Claims
                                                                Claims against
                                                                         against any individual
                                                                                     individual or entity areare expressly
                                                                                                                 expressly waived,
                                                                                                                            waived,
                    22
                            relinquished, released, compromised,
                                                     compromised, or settled by the Plan or any Final Order, Debtor expressly
                    23      reserves for its benefit, and the benefit
                                                               benefit of
                                                                       of Reorganized
                                                                          Reorganized Debtor,
                                                                                         Debtor, all Litigation
                                                                                                     Litigation Claims,
                                                                                                                 Claims, including,
                            without limitation,
                            without   limitation, all  unknown Litigation
                                                   all unknown    Litigation Claims
                                                                              Claims for          adjudication and
                                                                                        for later adjudication    and therefore
                                                                                                                       therefore no
                    24      preclusion doctrine
                            preclusion    doctrine (including,
                                                   (including, without
                                                                without limitation,
                                                                          limitation, the   doctrines of res judicata,
                                                                                       the doctrines            judicata, collateral
                            estoppel, issue
                            estoppel,         preclusion, claim
                                        issue preclusion,  claim preclusion,
                                                                  preclusion, estoppel
                                                                               estoppel (judicial,
                                                                                          (judicial, equitable,
                                                                                                     equitable, or   otherwise), or
                                                                                                                  or otherwise),
                    25      laches) shall apply to such Litigation Claims after the confirmation or consummation of the Plan.
                            In addition, Debtor expressly reserves for its benefit and the benefit of Reorganized Debtor, the
                    26
                            right to pursue or adopt any claims alleged in any lawsuit in which Debtor is a defendant or an
                    27      interested party,
                            interested  party, against any individual or entity, including plaintiffs and co-defendants
                                                                                                             co-defendants in such
                            lawsuits.
                    28
 Garman Turner
 Garman  Turner Gordon
                 Gordon
          LLP
           LLP
650 White
650 White Drive,
          Drive, Ste.
                 Ste. 100
                      100
  Las
  Las Vegas, NV 89119
      Vegas, NV  89119
      725-777-3000
      725-777-3000                                                              30
                            4836-5613-2945 v25
                                    Case
                                    Case17-10814
                                    Case 17-10814
                                         17-10814 Doc
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                                                                                  of
                                                                                  of101
                                                                                     36


                      1                                   SCHEDULE 6.1
                                                              TO
                      2                             PLAN OF REORGANIZATION
                                       ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                      3
                      4     1.      The leased Boeing 767 aircraft from KMW, being;
                      5
                                 (i)    Boeing 767-23B
                                        Boeing  767-23B bearing
                                                        bearing serial number 23974
                                                                serial number 23974 and
                                                                                    and U.S.
                                                                                        U.S. Registration
                                                                                              Registration Mark
                                                                                                           Mark
                      6     N253MY leased from KMW Leasing IV,
                                                            W, LLC;

                      7          (ii)    Boeing 767-246
                                         Boeing 767-246 bearing
                                                        bearing serial number 23213
                                                                serial number 23213 and
                                                                                    and U.S.
                                                                                        U.S. Registration
                                                                                              Registration Mark
                                                                                                           Mark
                            N767DA leased from KMW Leasing IX, LLC;
                      8
                                        Boeing 767-336
                                 (iii) Boeing   767-336 bearing
                                                        bearing serial number 24339
                                                                serial number 24339 and
                                                                                    and U.S.
                                                                                        U.S. Registration
                                                                                              Registration Mark
                                                                                                           Mark
                      9     N796MY leased from KMW Leasing N796JM, LLC;

                    10                  Boeing 767-336
                                 (iv) Boeing    767-336 bearing
                                                        bearing serial number 25443
                                                                serial number 25443 and
                                                                                    and U.S.
                                                                                        U.S. Registration
                                                                                              Registration Mark
                                                                                                           Mark
                            N254MY leased from KMW Leasing VII, LLC;
                    11
                                 (v)     Boeing 767-336
                                         Boeing 767-336 bearing
                                                        bearing serial number 24343
                                                                serial number 24343 and
                                                                                    and U.S.
                                                                                        U.S. Registration
                                                                                              Registration Mark
                                                                                                           Mark
                    12      N740JM leased from KMW Leasing X, LLC; and

                    13           (vi)     Boeing
                                          Boeing 767-300ER bearing serial
                                                 767-300ER bearing serial number
                                                                          number 24342
                                                                                 24342 and U.S.
                                                                                           U.S. Registration
                                                                                                Registration Mark
                                                                                                             Mark
                            N793JM leased from KMW Leasing X, LLC.
                    14

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                    27

                    28
 Garman Turner
 Garman  Turner Gordon
                 Gordon
          LLP
          LLP
650 White
650 White Drive,
          Drive, Ste.
                 Ste. 100
                      100
  Las Vegas,
 Las  Vegas, NV
             NV 89119
                 89119
     725-777-3000
      725-777-3000                                                      31
                            4836-5613-2945 v25
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                EXHIBIT 2




                EXHIBIT 2
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                                                           Chapter 7 Liquidation Analysis*

Current Assets                                                                                                                   % Recovery


           Cash
           Miscellaneous Airplane Inventory                                                                 $150,000.00
           Litigation Claims (See Note 1)                                                                $5,000,000.00
           Accounts Receivable (est.)                                                                      $500,000.00
      Total Estimated Value of Assets                                                                  $ 5,650,000.00




      Secured Claim Recovery

           Class 2 -Secured Claims (Note 2)                                           $150,000.00            $150,000.00                   100%



      Net Liquidation Value After Distribution of Value to Secured Claims                                  $5,500,000.00

Payment of Claims                                                                 Est. Claim
    Administrative Claims
         Theoretical Chapter 7 Trustee Fees (Est.)                                    $195,750.00            $197,750.00                   100%
         Theoretical Chapter 7 Professional Fees and Expenses (Est.)                  $750,000.00            $750,000.00                   100%
         DIP Loan Claim (Note 3)                                                    $6,308,369.00            $346,960.30                  5.50%
         Chapter 11 Professional Fees and Expenses (Est.)                           $1,150,000.00          $1,150,000.00                   100%
                                                                                    $8,404,119.00          $2,444,710.30

      Net Liquidation Value After Distribution to Administrative Claims                                    $3,055,289.70

      Unsecured Claims
         Priority Tax and Interest (Est.)                                     $     7,930,287.00           $3,055,289.70                    39%
         Class 3 - Priority Unsecured Claims (Est.)                                  $100,000.00                   $0.00                     0%
           Class 4/5 - Convenience and General Unsecured Claims (Est.)
           (Note 4)                                                                $66,000,000.00                   $0.00                     0%
           Class 6 - Residual Government Claims (Est.)                              $4,250,000.00                   $0.00                     0%


      Equity Interests
         Class 7 - Equity Securities                                                                   $              -                      N/A

* For purposes of this Chapter 7 Liquidation Analysis, it is assumed hypothetically that the Plan could not ultimately be confirmed at the Confirmation
Hearing and, on or about March 1, 2018 (the "Conversion Date"), the Chapter 11 Case is converted to a proceeding under Chapter 7 of the Bankruptcy
Code (the "Chapter 7 Case"). In connection with the hypothetical commencement of the Chapter 7 Case, it is assumed that on or about the Conversion
Date, a Chapter 7 trustee is appointed to, among other things, manage the liquidation process, complete a claims analysis, defend against causes of
action and/or claims asserted against Debtor, and distribute liquidation proceeds and other assets ultimately realized in accordance with the priorities
established by the Bankruptcy Code. This Chapter 7 Liquidation Analysis should be read in conjunction with the Disclosure Statement and all
undefined, capitalized terms shall have the meaning ascribed to them in the Disclosure Statement and Plan.




Note 1 - The Litigation Claims consist of the $8,000,000 claim against Air India (the "Air India Claim") and the claims asserted by the Creditor
Committee against the Insiders (the "Committee Claims"). It is anticipated that, given the costs associatied with pursuing the Litigation Claims and the
limited likelihood of recovery, the Litigation Claims are not likley to be pursued and generate any recovery for creditors. However, for purposes of this
liquidaton analysis, Debtor has estimated a potential recovery, as set forth by the Committee, of $5,000,000 for the Committee Claims.

Note 2 - The Secured Claims include only those secured claims of the United States Department of Agriculture - Animal and Plant Health Inspection
Services ("APHIS"). While APHIS has asserTed a claim of approximately $325,000, the only available security is believed to be the Miscellaneous
Airplane Inventory, valued at approximately $150,000, and thus the remainder of the APHIS claim will be in Class 5. The Secured Claims do not
include the $26,000,000+ secured claims held by Kenneth Woolley (the "Woolley Secured Claims"). For purposes of this liquidation analysis, it is
assumed that, using the maximum proposed recovery set forth by the Committee for the Committee Claims, the Committee Claims will result in the
Woolley Secured Claims being deemed unsecured and treated in Class 5. If the Committee analysis regarding the Committee Claims is incorrect, there
will be no recovery beyond secured claims.

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                                                         Chapter 7 Liquidation Analysis*




Note 3 - The DIP Loan was approved as an administrative expenses claim. However, the DIP Loan may not be repaid from recovery from the
Committee Claims and therefore, only the accounts recievables may be utilized.



Note 4 - In the event of a liquidation, the Insider Subordinated claims of approximately $29,000,000 would not be subordinated and would share
equally with all unsecured creditors. No adjustment has been made with regard to reducing this Insider Subordinated Claims for any recoveries
referenced in Note 2 above.




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      EXHIBIT 3




      EXHIBIT 3
                                                                                                                              Case 17-10814                         Doc 411                Filed 12/15/17                      Page 100 of 101
DYNAMIC INTERNATIONAL AIRWAYS-DIP
DYNAMIC INTERNATIONAL AIRWAYS-DIP                                      STATEMENT OF
                                                                       STATEMENT OF CASH
                                                                                    CASH FLOWS

 Time Period
 Time                                                                        Mar-18
                                                                             Mar-18               Apr-18
                                                                                                  Apr-18               May-18
                                                                                                                       May-18                Jun-18
                                                                                                                                             Jun-18                Jul-18
                                                                                                                                                                   Jul-18              Aug-18
                                                                                                                                                                                       Aug-18                Sep-18
                                                                                                                                                                                                             Sep-18               Oct-18
                                                                                                                                                                                                                                  Oct-18               Nov-18
                                                                                                                                                                                                                                                       Nov-18                Dec-18
                                                                                                                                                                                                                                                                             Dec-18               Jan-19
                                                                                                                                                                                                                                                                                                  Jan-19            Feb-19
                                                                                                                                                                                                                                                                                                                    Feb-19        Mar-19
                                                                                                                                                                                                                                                                                                                                  Mar-19        Apr-19
                                                                                                                                                                                                                                                                                                                                                Apr-19
 Cash Inflows
 Cash  Inflows from
                from Operations
                     Operations
        ACMI // Charter
        ACMI    Charter                                                        4,231,000
                                                                               4,231,000            4,203,500
                                                                                                    4,203,500             4,231,000
                                                                                                                          4,231,000            4,399,000
                                                                                                                                               4,399,000            4,399,000
                                                                                                                                                                    4,399,000             4,399,000
                                                                                                                                                                                          4,399,000            4,203,500
                                                                                                                                                                                                               4,203,500            4,231,000
                                                                                                                                                                                                                                    4,231,000             4,203,500
                                                                                                                                                                                                                                                          4,203,500            4,231,000
                                                                                                                                                                                                                                                                               4,231,000            3,875,000
                                                                                                                                                                                                                                                                                                    3,875,000        3,875,000
                                                                                                                                                                                                                                                                                                                     3,875,000     3,875,000
                                                                                                                                                                                                                                                                                                                                   3,875,000     3,875,000
                                                                                                                                                                                                                                                                                                                                                 3,875,000
        Ticket Sales
        Ticket Sales                                                                   -                    -                     -                      --                   --                    --                 -                    -                       --                   --                 --               -             -             -
        Deposits
        Deposits                                                                       -                    -                     -                      -                    -                     -                  -                    -                       -                    -            180,233
                                                                                                                                                                                                                                                                                                      180,233                -             -             -
 Total Cash
 Total Cash Inflows
             Inflows from
                     from Operations
                          Operations                                           4,231,000
                                                                               4,231,000            4,203,500
                                                                                                    4,203,500             4,231,000
                                                                                                                          4,231,000            4,399,000
                                                                                                                                               4,399,000            4,399,000
                                                                                                                                                                    4,399,000             4,399,000
                                                                                                                                                                                          4,399,000            4,203,500
                                                                                                                                                                                                               4,203,500            4,231,000
                                                                                                                                                                                                                                    4,231,000             4,203,500
                                                                                                                                                                                                                                                          4,203,500            4,231,000
                                                                                                                                                                                                                                                                               4,231,000            4,055,233
                                                                                                                                                                                                                                                                                                    4,055,233        3,875,000
                                                                                                                                                                                                                                                                                                                     3,875,000     3,875,000
                                                                                                                                                                                                                                                                                                                                   3,875,000     3,875,000
                                                                                                                                                                                                                                                                                                                                                 3,875,000


 Cash Outflows
 Cash Outflows from
               from Operations
                    Operations
        Aircraft Rents
        Aircraft Rents                                                           524,700
                                                                                 524,700              523,600
                                                                                                      523,600               524,700
                                                                                                                            524,700              540,100
                                                                                                                                                 540,100              540,100
                                                                                                                                                                      540,100               540,100
                                                                                                                                                                                            540,100              523,600
                                                                                                                                                                                                                 523,600              524,700
                                                                                                                                                                                                                                      524,700               523,600
                                                                                                                                                                                                                                                            523,600              524,700
                                                                                                                                                                                                                                                                                 524,700              687,500
                                                                                                                                                                                                                                                                                                      687,500          687,500
                                                                                                                                                                                                                                                                                                                       687,500       687,500
                                                                                                                                                                                                                                                                                                                                     687,500       687,500
                                                                                                                                                                                                                                                                                                                                                   687,500
        Aircraft Reserves
        Aircraft Reserves                                                        509,080
                                                                                 509,080              508,040
                                                                                                      508,040               509,080
                                                                                                                            509,080              523,640
                                                                                                                                                 523,640              523,640
                                                                                                                                                                      523,640               523,640
                                                                                                                                                                                            523,640              508,040
                                                                                                                                                                                                                 508,040              509,080
                                                                                                                                                                                                                                      509,080               508,040
                                                                                                                                                                                                                                                            508,040              509,080
                                                                                                                                                                                                                                                                                 509,080              663,000
                                                                                                                                                                                                                                                                                                      663,000          663,000
                                                                                                                                                                                                                                                                                                                       663,000       663,000
                                                                                                                                                                                                                                                                                                                                     663,000       663,000
                                                                                                                                                                                                                                                                                                                                                   663,000
        Crew
        Crew                                                                     559,267
                                                                                 559,267              559,267
                                                                                                      559,267               559,267
                                                                                                                            559,267              579,571
                                                                                                                                                 579,571              579,571
                                                                                                                                                                      579,571               579,571
                                                                                                                                                                                            579,571              559,267
                                                                                                                                                                                                                 559,267              559,267
                                                                                                                                                                                                                                      559,267               559,267
                                                                                                                                                                                                                                                            559,267              559,267
                                                                                                                                                                                                                                                                                 559,267              694,711
                                                                                                                                                                                                                                                                                                      694,711          694,711
                                                                                                                                                                                                                                                                                                                       694,711       694,711
                                                                                                                                                                                                                                                                                                                                     694,711       694,711
                                                                                                                                                                                                                                                                                                                                                   694,711
        Fuel
        Fuel                                                                     393,525
                                                                                 393,525              386,100
                                                                                                      386,100               393,525
                                                                                                                            393,525              393,525
                                                                                                                                                 393,525              393,525
                                                                                                                                                                      393,525               393,525
                                                                                                                                                                                            393,525              386,100
                                                                                                                                                                                                                 386,100              393,525
                                                                                                                                                                                                                                      393,525               386,100
                                                                                                                                                                                                                                                            386,100              393,525
                                                                                                                                                                                                                                                                                 393,525                    --               --            --            --
        Ground Operations
        Ground Operations && Fees
                             Fees                                                630,992
                                                                                 630,992              620,258
                                                                                                      620,258               630,992
                                                                                                                            630,992              630,992
                                                                                                                                                 630,992              630,992
                                                                                                                                                                      630,992               595,992
                                                                                                                                                                                            595,992              594,258
                                                                                                                                                                                                                 594,258              604,492
                                                                                                                                                                                                                                      604,492               594,258
                                                                                                                                                                                                                                                            594,258              604,492
                                                                                                                                                                                                                                                                                 604,492               62,125           62,125        62,125        62,125
        Hotel and Travel
        Hotel and Travel Expense
                         Expense                                                  60,000
                                                                                  60,000               60,000
                                                                                                       60,000                60,000
                                                                                                                             60,000               60,000
                                                                                                                                                  60,000               60,000
                                                                                                                                                                       60,000                60,000
                                                                                                                                                                                             60,000               60,000
                                                                                                                                                                                                                  60,000               60,000
                                                                                                                                                                                                                                       60,000                60,000
                                                                                                                                                                                                                                                             60,000               60,000
                                                                                                                                                                                                                                                                                  60,000               60,000
                                                                                                                                                                                                                                                                                                       60,000           60,000
                                                                                                                                                                                                                                                                                                                        60,000        60,000
                                                                                                                                                                                                                                                                                                                                      60,000        60,000
                                                                                                                                                                                                                                                                                                                                                    60,000
        Sales and
        Sales andMarketing
                  Marketing                                                       10,000
                                                                                  10,000               10,000
                                                                                                       10,000                10,000
                                                                                                                             10,000               10,000
                                                                                                                                                  10,000               10,000
                                                                                                                                                                       10,000                10,000
                                                                                                                                                                                             10,000               10,000
                                                                                                                                                                                                                  10,000               10,000
                                                                                                                                                                                                                                       10,000                10,000
                                                                                                                                                                                                                                                             10,000               10,000
                                                                                                                                                                                                                                                                                  10,000               10,200
                                                                                                                                                                                                                                                                                                       10,200           10,200
                                                                                                                                                                                                                                                                                                                        10,200        10,200
                                                                                                                                                                                                                                                                                                                                      10,200        10,200
                                                                                                                                                                                                                                                                                                                                                    10,200
        Maintenance                                                              661,541
                                                                                 661,541              660,521
                                                                                                      660,521               805,541
                                                                                                                            805,541              676,303              676,303               676,303              660,521
                                                                                                                                                                                                                 660,521              661,541
                                                                                                                                                                                                                                      661,541               660,521
                                                                                                                                                                                                                                                            660,521              661,541
                                                                                                                                                                                                                                                                                 661,541              856,354          856,354       856,354       856,354
        Flight Operations
        Flight Operations Expenses
                          Expenses                                                52,392
                                                                                  52,392               52,392
                                                                                                       52,392                55,392
                                                                                                                             55,392               52,392
                                                                                                                                                  52,392               52,392
                                                                                                                                                                       52,392                55,392
                                                                                                                                                                                             55,392               52,392
                                                                                                                                                                                                                  52,392              159,504
                                                                                                                                                                                                                                      159,504                55,392
                                                                                                                                                                                                                                                             55,392               52,392
                                                                                                                                                                                                                                                                                  52,392               53,440
                                                                                                                                                                                                                                                                                                       53,440           56,500
                                                                                                                                                                                                                                                                                                                        56,500        53,440
                                                                                                                                                                                                                                                                                                                                      53,440        53,440
                                                                                                                                                                                                                                                                                                                                                    53,440
        Wages & Professional Fees
        Wages                Fees--Admin,
                                   Admin, Ops
                                          Ops&& Maintenance
                                                Maintenance                      292,665              348,832               348,832              331,021
                                                                                                                                                 331,021              314,355               314,355              329,021
                                                                                                                                                                                                                 329,021              395,573               418,073
                                                                                                                                                                                                                                                            418,073              418,073
                                                                                                                                                                                                                                                                                 418,073              300,242          300,242       300,242       300,242
        General Facilities
        General                                                                   12,150               12,150                12,150               12,150               12,150                12,150               12,150               12,150                12,150               12,150               12,393
                                                                                                                                                                                                                                                                                                       12,393           12,393
                                                                                                                                                                                                                                                                                                                        12,393        12,393
                                                                                                                                                                                                                                                                                                                                      12,393        12,393
                                                                                                                                                                                                                                                                                                                                                    12,393
        Insurance
        Insurance                                                                177,123
                                                                                 177,123              256,963
                                                                                                      256,963               177,123
                                                                                                                            177,123              177,123
                                                                                                                                                 177,123              256,963
                                                                                                                                                                      256,963               177,123
                                                                                                                                                                                            177,123              177,123
                                                                                                                                                                                                                 177,123              256,963
                                                                                                                                                                                                                                      256,963               177,123
                                                                                                                                                                                                                                                            177,123              177,123
                                                                                                                                                                                                                                                                                 177,123              296,086
                                                                                                                                                                                                                                                                                                      296,086          214,664
                                                                                                                                                                                                                                                                                                                       214,664       214,664
                                                                                                                                                                                                                                                                                                                                     214,664       296,086
                                                                                                                                                                                                                                                                                                                                                   296,086
 Total Cash
 Total Cash Outflows
             Outflows from
                      from Operations                                          3,883,435            3,998,123             4,086,602
                                                                                                                          4,086,602            3,986,817            4,049,990
                                                                                                                                                                    4,049,990             3,938,150            3,872,473            4,146,794
                                                                                                                                                                                                                                    4,146,794             3,964,524            3,982,343            3,696,051
                                                                                                                                                                                                                                                                                                    3,696,051        3,617,689     3,614,629     3,696,051
                                                                                                                                                                                                                                                                                                                                                 3,696,051
 Net Cash
 Net Cash Flow
          Flow from
               from Operations                                                   347,565              205,377               144,398              412,183
                                                                                                                                                 412,183              349,010               460,850
                                                                                                                                                                                            460,850              331,027               84,206
                                                                                                                                                                                                                                       84,206               238,976              248,657              359,181
                                                                                                                                                                                                                                                                                                      359,181          257,311
                                                                                                                                                                                                                                                                                                                       257,311       260,371
                                                                                                                                                                                                                                                                                                                                     260,371       178,949

 Cash Flows
 Cash Flows from
             from Investing
                  Investing Activities
        New Hire Crew Training                                                    (24,510)
                                                                                  (24,510)             (29,510)
                                                                                                       (29,510)             (29,510)
                                                                                                                            (29,510)                     -                    -                     -                    -            (122,550)
                                                                                                                                                                                                                                      (122,550)            (147,550)
                                                                                                                                                                                                                                                           (147,550)            (147,550)
                                                                                                                                                                                                                                                                                (147,550)                     -              -             -             -
 Net Cash
 Net Cash Flow from Investing
                    Investing Activities                                          (24,510)             (29,510)             (29,510)                     -                    -                     -                    -            (122,550)
                                                                                                                                                                                                                                      (122,550)            (147,550)
                                                                                                                                                                                                                                                           (147,550)            (147,550)
                                                                                                                                                                                                                                                                                (147,550)                     -              -             -             -

 Cash Flows
 Cash Flows from
             from Financing Activities
       DIP Loan
       DIP  Loan Invested
                  Invested                                                               -                    -                     -                    -                    -                     -                    -                    -                     -                    -                    -              -             -             -
 Net Cash
 Net Cash Flow from Financing
                      Financing Activities                                               -                    -                     -                    -                    -                     -                    -                    -                     -                    -                    -              -             -             -

 NET CASH
 NET CASH FLOW BEFORE
               BEFOREREORGANIZTION
                      REORGANIZTION &
                                    & PLAN PAYMENTS                              323,055              175,867               114,888              412,183
                                                                                                                                                 412,183              349,010               460,850
                                                                                                                                                                                            460,850              331,027               (38,344)
                                                                                                                                                                                                                                       (38,344)              91,426
                                                                                                                                                                                                                                                             91,426              101,107              359,181
                                                                                                                                                                                                                                                                                                      359,181          257,311
                                                                                                                                                                                                                                                                                                                       257,311       260,371
                                                                                                                                                                                                                                                                                                                                     260,371       178,949

 Cash Flows
 Cash Flowsfrom
            from Reorganization
                 Reorganization & Plan Payments
        Additional Contributed
        Additional Contributed Capital
                               Capital                                         3,401,000                      -                   -                     -                     -                    -                   -                     -                    -                    -                     -               -             -             -
        US
        US Bankruptcy
           BankruptcyAdministrator
                       Administrator                                                   -               (13,000)
                                                                                                       (13,000)                   -                     -              (13,000)
                                                                                                                                                                       (13,000)                    -                   -                     -                    -                    -                     -               -             -             -
        Debtor Professional
        Debtor   Professional Fees
                               Fees                                             (488,000)
                                                                                (488,000)                    -                    -                     -                     -                    -                   -                     -                    -                    -                     -               -             -             -
        Committee Professional
        Committee     Professional Fees'
                                   Fees1                                               -                     -                    -                     -                     -                    -                   -                     -                    -                    -                     -               -             -             -
        Priority IRS
        Priority  IRS Payments
                      Payments'2                                                (151,740)
                                                                                (151,740)             (151,740)
                                                                                                      (151,740)            (151,740)
                                                                                                                           (151,740)            (151,740)
                                                                                                                                                (151,740)             (151,740)
                                                                                                                                                                      (151,740)            (151,740)
                                                                                                                                                                                           (151,740)            (151,740)
                                                                                                                                                                                                                (151,740)             (151,740)
                                                                                                                                                                                                                                      (151,740)            (151,740)
                                                                                                                                                                                                                                                           (151,740)            (151,740)
                                                                                                                                                                                                                                                                                (151,740)             (151,740)
                                                                                                                                                                                                                                                                                                      (151,740)       (151,740)
                                                                                                                                                                                                                                                                                                                      (151,740)     (151,740)
                                                                                                                                                                                                                                                                                                                                    (151,740)     (151,740)
                                                                                                                                                                                                                                                                                                                                                  (151,740)
        Class 2:
        Class 2:US
                 USDepartment
                    Department of
                               of Agriculture Payments
                                  Agriculture Payments                          (150,000)
                                                                                (150,000)                    -                    -                     -                     -                    -                   -                     -                    -                    -                     -               -             -             -
        Class 3:
        Class 3: Priority
                 Priority Unsecured Payments                                    (100,000)
                                                                                (100,000)                    -                    -                    -                     -                    -                    -                     -                    -                    -                     -               -             -             -
        Class 4:
        Class 4: Convenience  Class Payments
                 Convenience Class  Payments                                           -               (71,667)
                                                                                                       (71,667)             (71,667)
                                                                                                                            (71,667)             (71,667)
                                                                                                                                                 (71,667)              (71,667)
                                                                                                                                                                       (71,667)             (71,667)
                                                                                                                                                                                            (71,667)             (71,667)
                                                                                                                                                                                                                 (71,667)                    -                    -                    -                     -               -             -             -
        Class 5:
        Class 5: General
                 General Unsecured Class
                                   Class Payments
                                         Payments                             (2,451,000)
                                                                              (2,451,000)                    -                    -                    --                    --                   --                   -                     -                    -                    -                     -               -             -             -
        Class 6:
        Class 6: Residual
                 ResidualGovernment
                          Government Unit
                                      Unit Payments                             (800,000)
                                                                                (800,000)                    -                    -                     -                     -                    -                   -                     -                    -                    -                     -               -             -             -
 Total Cash
       Cash Flow
            Flow from
                 from Reorganization and Plan Payments                          (739,740)             (236,407)            (223,407)            (223,407)             (236,407)            (223,407)            (223,407)             (151,740)            (151,740)            (151,740)             (151,740)       (151,740)     (151,740)     (151,740)

 NET INCREASE/(DECREASE)
 NET                     IN CASH
     INCREASE/(DECREASE)IN  CASH                                                (416,685)             (60,540)             (108,518)
                                                                                                                           (108,518)             188,777              112,604               237,444              107,621
                                                                                                                                                                                                                 107,621              (190,084)
                                                                                                                                                                                                                                      (190,084)             (60,314)
                                                                                                                                                                                                                                                            (60,314)              (50,633)
                                                                                                                                                                                                                                                                                  (50,633)            207,441
                                                                                                                                                                                                                                                                                                      207,441          105,571
                                                                                                                                                                                                                                                                                                                       105,571       108,631
                                                                                                                                                                                                                                                                                                                                     108,631        27,209
 Beginning Cash
 Beginning Cash                                                                1,384,582              967,897               907,358              798,840              987,617             1,100,220            1,337,664
                                                                                                                                                                                                               1,337,664            1,445,285
                                                                                                                                                                                                                                    1,445,285             1,255,201
                                                                                                                                                                                                                                                          1,255,201            1,194,886
                                                                                                                                                                                                                                                                               1,194,886            1,144,254
                                                                                                                                                                                                                                                                                                    1,144,254        1,351,695
                                                                                                                                                                                                                                                                                                                     1,351,695     1,457,266
                                                                                                                                                                                                                                                                                                                                   1,457,266     1,565,897
                                                                                                                                                                                                                                                                                                                                                 1,565,897
 ENDING CASH
 ENDING CASH AFTER
             AFTERADMIN
                   ADMIN                                                         967,897
                                                                                 967,897              907,358
                                                                                                      907,358               798,840              987,617
                                                                                                                                                 987,617            1,100,220             1,337,664            1,445,285            1,255,201
                                                                                                                                                                                                                                    1,255,201             1,194,886            1,144,254            1,351,695        1,457,266     1,565,897     1,593,106

 1. This
 1. This amount reflects
                reflects the
                         the $2,670,000
                             $2,670,000 Class
                                        Class 55Distribution
                                                Distribution Fund lessless previously
                                                                           previously approved
                                                                                      approved and
                                                                                                 and paid
                                                                                                     paid Committee
                                                                                                           Committee Professional
                                                                                                                       Professional Fees
                                                                                                                                    Feesininthe
                                                                                                                                              theamount
                                                                                                                                                  amount of
                                                                                                                                                         of $219,000.  Any further
                                                                                                                                                            $219,000. Any           CommitteeProfessional
                                                                                                                                                                           further Committee      Professional Fees
                                                                                                                                                                                                                Fees will be
                                                                                                                                                                                                                          be paid
                                                                                                                                                                                                                              paid by
                                                                                                                                                                                                                                   by the
                                                                                                                                                                                                                                      the Disbursing
                                                                                                                                                                                                                                           Disbursing Agent from     the Class
                                                                                                                                                                                                                                                               from the  Class 55 Distribution  Fund.
                                                                                                                                                                                                                                                                                  Distribution Fund.
 2. IRS
    IRS payments
         paymentsare
                  arebased
                      basedon onDynamic
                                 Dynamicestimates
                                         estimatesofofIRS liability
                                                        IRS          calculated
                                                             liability          11/8/17.
                                                                       calculated 11/8/17.The
                                                                                           Theinterest
                                                                                                interestrate
                                                                                                         ratethrough
                                                                                                              throughthe
                                                                                                                      thepayment
                                                                                                                          paymentperiod
                                                                                                                                    period is
                                                                                                                                            isassumed
                                                                                                                                               assumedtotobe
                                                                                                                                                           be4.00%.
                                                                                                                                                              4.00%.This
                                                                                                                                                                      Thiscalculation
                                                                                                                                                                           calculationisisfor
                                                                                                                                                                                           forthe
                                                                                                                                                                                               thepurposes
                                                                                                                                                                                                   purposesofofthis
                                                                                                                                                                                                                 thisforecast
                                                                                                                                                                                                                      forecastonly,
                                                                                                                                                                                                                               only,will
                                                                                                                                                                                                                                     willbe
                                                                                                                                                                                                                                          bemodified
                                                                                                                                                                                                                                             modifiedto
                                                                                                                                                                                                                                                      to reflect
                                                                                                                                                                                                                                                          reflect actual
                                                                                                                                                                                                                                                                  actual rate
                                                                                                                                                                                                                                                                          rate and
                                                                                                                                                                                                                                                                               and liability
                                                                                                                                                                                                                                                                                    liability amount agreed
                                                                                                                                                                                                                                                                                                     agreed upon.
 Note: Costs
       Costs have
             have been
                  beenadjusted
                       adjusted for
                                 for 2%
                                     2%inflation
                                        inflation in 2019.
                                                                                                                        Case 17-10814                        Doc 411               Filed 12/15/17                     Page 101 of 101
DYNAMIC INTERNATIONAL AIRWAYS-DIP
DYNAMIC INTERNATIONAL AIRWAYS-DIP                                   STATEMENT OF
                                                                    STATEMENT OF CASH
                                                                                 CASH FLOWS

 Time Period
 Time Period                                                             May-19
                                                                         May-19               Jun-19
                                                                                              Jun-19               Jul-19
                                                                                                                   Jul-19              Aug-19
                                                                                                                                       Aug-19              Sep-19
                                                                                                                                                           Sep-19               Oct-19
                                                                                                                                                                                Oct-19              Nov-19
                                                                                                                                                                                                    Nov-19               Dec-19
                                                                                                                                                                                                                         Dec-19
 Cash
 Cash Inflows
       Inflows from
               from Operations
                     Operations
        ACMI // Charter
        ACMI    Charter                                                     3,875,000
                                                                            3,875,000           3,875,000
                                                                                                3,875,000            3,875,000
                                                                                                                     3,875,000           3,875,000
                                                                                                                                         3,875,000           3,875,000
                                                                                                                                                             3,875,000            3,875,000
                                                                                                                                                                                  3,875,000           3,875,000
                                                                                                                                                                                                      3,875,000            3,875,000
                                                                                                                                                                                                                           3,875,000
        Ticket Sales
        Ticket Sales                                                                -                   -                    -                   --                  --                   --                  -                    -
        Deposits
        Deposits                                                                    -                   -                    -                    -                   -                    -                  -                    -
 Total Cash
 Total Cash Inflows
             Inflows from
                     from Operations
                          Operations                                        3,875,000
                                                                            3,875,000           3,875,000
                                                                                                3,875,000            3,875,000
                                                                                                                     3,875,000           3,875,000
                                                                                                                                         3,875,000           3,875,000
                                                                                                                                                             3,875,000            3,875,000
                                                                                                                                                                                  3,875,000           3,875,000
                                                                                                                                                                                                      3,875,000            3,875,000
                                                                                                                                                                                                                           3,875,000


 Cash
 Cash Outflows
       Outflows from
                  from Operations
                        Operations
        Aircraft Rents
        Aircraft Rents                                                        687,500
                                                                              687,500             687,500
                                                                                                  687,500              687,500
                                                                                                                       687,500             687,500
                                                                                                                                           687,500             687,500
                                                                                                                                                               687,500              687,500
                                                                                                                                                                                    687,500             687,500
                                                                                                                                                                                                        687,500              687,500
                                                                                                                                                                                                                             687,500
        Aircraft Reserves
        Aircraft Reserves                                                     663,000
                                                                              663,000             663,000
                                                                                                  663,000              663,000
                                                                                                                       663,000             663,000
                                                                                                                                           663,000             663,000
                                                                                                                                                               663,000              663,000
                                                                                                                                                                                    663,000             663,000
                                                                                                                                                                                                        663,000              663,000
                                                                                                                                                                                                                             663,000
        Crew
        Crew                                                                  694,711
                                                                              694,711             694,711
                                                                                                  694,711              694,711
                                                                                                                       694,711             694,711
                                                                                                                                           694,711             694,711
                                                                                                                                                               694,711              694,711
                                                                                                                                                                                    694,711             694,711
                                                                                                                                                                                                        694,711              694,711
                                                                                                                                                                                                                             694,711
        Fuel
        Fuel                                                                        --                  --                   --                  --                  --                   --                  --                   --
        Ground Operations
        Ground   Operations && Fees
                                Fees                                           62,125              62,125               62,125              62,125              62,125               62,125              62,125               62,125
        Hotel  and Travel
        Hotel and   Travel Expense
                           Expense                                             60,000
                                                                               60,000              60,000
                                                                                                   60,000               60,000
                                                                                                                        60,000              60,000
                                                                                                                                            60,000              60,000
                                                                                                                                                                60,000               60,000
                                                                                                                                                                                     60,000              60,000
                                                                                                                                                                                                         60,000               60,000
                                                                                                                                                                                                                              60,000
        Sales and
        Sales  andMarketing
                    Marketing                                                  10,200
                                                                               10,200              10,200
                                                                                                   10,200               10,200
                                                                                                                        10,200              10,200
                                                                                                                                            10,200              10,200
                                                                                                                                                                10,200               10,200
                                                                                                                                                                                     10,200              10,200
                                                                                                                                                                                                         10,200               10,200
                                                                                                                                                                                                                              10,200
        Maintenance                                                         1,003,234             856,354              856,354             856,354             856,354              856,354             856,354              856,354
        Flight Operations
        Flight Operations Expenses
                            Expenses                                           56,500
                                                                               56,500              53,440
                                                                                                   53,440               53,440
                                                                                                                        53,440              56,500
                                                                                                                                            56,500              53,440
                                                                                                                                                                53,440              160,908
                                                                                                                                                                                    160,908              56,500
                                                                                                                                                                                                         56,500               53,440
                                                                                                                                                                                                                              53,440
        Wages & Professional Fees
        Wages                   Fees--Admin,
                                      Admin, Ops
                                             Ops&& Maintenance
                                                   Maintenance                300,242             300,242              300,242             300,242             300,242              300,242             300,242              300,242
        General Facilities
        General                                                                12,393              12,393               12,393              12,393
                                                                                                                                            12,393              12,393
                                                                                                                                                                12,393               12,393
                                                                                                                                                                                     12,393              12,393
                                                                                                                                                                                                         12,393               12,393
                                                                                                                                                                                                                              12,393
        Insurance
        Insurance                                                             214,664
                                                                              214,664             214,664
                                                                                                  214,664              296,086
                                                                                                                       296,086             214,664
                                                                                                                                           214,664             214,664
                                                                                                                                                               214,664              296,086
                                                                                                                                                                                    296,086             214,664
                                                                                                                                                                                                        214,664              214,664
                                                                                                                                                                                                                             214,664
 Total Cash
 Total Cash Outflows
             Outflows from
                        from Operations
                              Operations                                    3,764,569           3,614,629            3,696,051
                                                                                                                     3,696,051           3,617,689           3,614,629            3,803,520           3,617,689            3,614,629
 Net Cash Flow
 Net Cash   Flow from
                  from Operations
                       Operations                                             110,431
                                                                              110,431             260,371
                                                                                                  260,371              178,949
                                                                                                                       178,949             257,311
                                                                                                                                           257,311             260,371
                                                                                                                                                               260,371               71,480
                                                                                                                                                                                     71,480             257,311
                                                                                                                                                                                                        257,311              260,371
                                                                                                                                                                                                                             260,371


 Cash
 Cash Flows
      Flows from
             from Investing
                  Investing Activities
                            Activities
        New Hire Crew Training                                                       -                    -                   -                    -                   -                   -                    -                   -
 Net Cash Flow
 Net Cash Flow from
                from Investing
                     Investing Activities
                               Activities                                            -                    -                   -                    -                   -                   -                    -                   -

 Cash
 Cash Flows
      Flows from
             from Financing
                   Financing Activities
                             Activities
        DIP Loan
        DIP Loan Invested
                  Invested                                                           -                    -                   -                    -                   -                   -                    -                   -
 Net Cash Flow
 Net Cash Flow from
                from Financing
                      Financing Activities
                                Activities                                           -                    -                   -                    -                   -                   -                    -                   -

 NET
 NET CASH
     CASH FLOW
          FLOW BEFORE
               BEFORE REORGANIZTION
                      REORGANIZTION &
                                    & PLAN
                                      PLAN PAYMENTS
                                           PAYMENTS                           110,431
                                                                              110,431             260,371
                                                                                                  260,371              178,949
                                                                                                                       178,949             257,311
                                                                                                                                           257,311             260,371
                                                                                                                                                               260,371               71,480
                                                                                                                                                                                     71,480             257,311
                                                                                                                                                                                                        257,311              260,371
                                                                                                                                                                                                                             260,371

 Cash
 Cash Flows
       Flows from
              from Reorganization
                     Reorganization &  & Plan
                                          Plan Payments
                                               Payments
        Additional Contributed
        Additional   Contributed Capital
                                   Capital                                          -                   -                    -                   -                   -                    -                   -                    -
        US
        US Bankruptcy
            BankruptcyAdministrator
                            Administrator                                           -                   -                    -                   -                   -                    -                   -                    -
        Debtor Professional
        Debtor   Professional Fees
                               Fees                                                 -                   -                    -                   -                   -                    -                   -                    -
        Committee Professional
        Committee     Professional Fees'
                                    Fees1                                           -                   -                    -                   -                   -                    -                   -                    -
        Priority IRS
        Priority  IRS Payments
                      Payments'2                                             (151,740)
                                                                             (151,740)           (151,740)
                                                                                                 (151,740)            (151,740)
                                                                                                                      (151,740)           (151,740)
                                                                                                                                          (151,740)           (151,740)
                                                                                                                                                              (151,740)            (151,740)
                                                                                                                                                                                   (151,740)           (151,740)
                                                                                                                                                                                                       (151,740)            (151,740)
                                                                                                                                                                                                                            (151,740)
        Class 2:
        Class  2:USUSDepartment
                       Department ofof Agriculture Payments
                                       Agriculture Payments                         -                   -                    -                   -                   -                    -                   -                    -
        Class 3:
        Class  3: Priority
                   Priority Unsecured Payments                                      -                   -                    -                   -                   -                    -                   -                    -
        Class 4:
        Class  4: Convenience   Class Payments
                   Convenience Class    Payments                                    -                   -                    -                   -                   -                    -                   -                    -
        Class 5:
        Class  5: General
                   General Unsecured Class
                                        Class Payments
                                              Payments                              -                   -                    -                   -                   -                    -                   -                    -
        Class 6:
        Class  6: Residual
                   ResidualGovernment
                             Government Unit
                                           Unit Payments                            -                   -                    -                   -                   -                    -                   -                    -
 Total Cash
 Total Cash Flow
             Flow from
                    from Reorganization
                           Reorganization and
                                            and Plan
                                                 Plan Payments
                                                      Payments               (151,740)
                                                                             (151,740)           (151,740)
                                                                                                 (151,740)            (151,740)
                                                                                                                      (151,740)           (151,740)
                                                                                                                                          (151,740)           (151,740)
                                                                                                                                                              (151,740)            (151,740)
                                                                                                                                                                                   (151,740)           (151,740)
                                                                                                                                                                                                       (151,740)            (151,740)
                                                                                                                                                                                                                            (151,740)

 NET
 NET INCREASE/(DECREASE) IN CASH
     INCREASE/(DECREASE)IN  CASH                                              (41,309)
                                                                              (41,309)            108,631
                                                                                                  108,631               27,209
                                                                                                                        27,209             105,571
                                                                                                                                           105,571             108,631
                                                                                                                                                               108,631              (80,260)
                                                                                                                                                                                    (80,260)            105,571
                                                                                                                                                                                                        105,571              108,631
                                                                                                                                                                                                                             108,631
 Beginning Cash
           Cash                                                             1,593,106           1,551,797            1,660,428           1,687,636
                                                                                                                                         1,687,636           1,793,207
                                                                                                                                                             1,793,207            1,901,839
                                                                                                                                                                                  1,901,839           1,821,579
                                                                                                                                                                                                      1,821,579            1,927,150
                                                                                                                                                                                                                           1,927,150
 ENDING  CASH AFTER
 ENDING CASH  AFTER ADMIN
                    ADMIN                                                   1,551,797
                                                                            1,551,797           1,660,428
                                                                                                1,660,428            1,687,636
                                                                                                                     1,687,636           1,793,207
                                                                                                                                         1,793,207           1,901,839
                                                                                                                                                             1,901,839            1,821,579
                                                                                                                                                                                  1,821,579           1,927,150
                                                                                                                                                                                                      1,927,150            2,035,781
                                                                                                                                                                                                                           2,035,781

 1. This
 1. This amount reflects
                reflects the
                         the $2,670,000
                             $2,670,000 Class
                                        Class 55 Distribution   Fund less previously approved and paid Committee Professional Fees in the amount of $219,000. Any further Committee Professional Fees will be paid by the Disbursing Agent from the Class 5 Distribution Fund.
                                                 Distribution Fund
 2. IRS
    IRS payments
         payments are
                  are based
                      based on
                             on Dynamic
                                Dynamic estimates ofof IRS
                                                       IRS liability  calculated 11/8/17. The interest rate through the payment period is assumed to be 4.00%. This calculation is for the purposes of this forecast only, will be modified to reflect actual rate and liability amount agreed upon.
                                                            liability c.
 Note: Costs
       Costs have
             have been
                  beenadjusted
                       adjusted for
                                 for 2%
                                     2%inflation
                                        inflation in 2019.
